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    POLITICAL HIT JOBS TARGETING
         AMERICAN CITIZENS

                  How The White House, Senators And Their
              Tech Financiers Put “Kill Orders” Out On Americans


                                   Revision 1.2




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Forward
Afghanistan has trillions of dollars of rare earth minerals that certain corrupt tech oligarchs seek to
control.
Tom, an American citizen in San Francisco accidentally affected the scheme that White House
executives and U.S. Senators were using to illegally profiteer with dirty mining and tech deals…
...so he had to be killed!




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The Killers
To be clear, a number people involved in this case were killed. Dead! ...with bullets in their heads.
Hired killers killed them.
They may have gotten off easy. Their deaths were sudden and usually unexpected. You can see a list of
their names in the Exhibits section of this book.
The unlucky ones are still biologically alive but their deaths have lingered over many years of pain.
They were disabled for life and blocked from all income and positive life experience.
This was done to them in vendetta, reprisal and revenge because they told the truth.
When we say that some of the victims were “killed, yet still alive”; we mean this:
Imagine once having hopes and dreams and then imagine that every one of your hopes and dreams is
ripped away from you. Imagine your home, your income, your fiance, your car, your health, your
brand, your reputation, your investments, your retirement...EVERYTHING, is destroyed by hired
operatives who use spy agency tactics and tools to destroy you, black-list you and otherwise harm you
in reprisal for talking to the cops.
Being “killed” with spy tactics can be bloodless but just as lethal as the old bullet method.
Let’s meet the people who sell their services, to America’s most notorious politicians, to destroy others.
Media Matters was hired to attack Tom because he reported a felony crime committed by associates of
Media Matters. One of Media Matters staff, for example, is Audrey Bowler, a Social Media Manager at
character assassination-for-hire outlet Media Matters. Audrey has shared a litany of anti-male tweets,
including declarations of her “love” for “scamming men” and her joy “when men die in movies” along
with designing a state seal with “kill all men as the motto.”
Bowler, who’s worked at the George Soros-funded group since 2018, is the latest Media Matters
employee to be exposed as a hired media assassin.
Her Twitter account contains a host of derogatory and violent remarks directed towards men.
Bowler, for example, insisted she was “getting the state seal done with “kill all men as the motto” – a
violent call offset with “lmao” and followed by “¯\_(ツ)_/¯”:

“lmao right??? anyway i'm now getting the state seal done with "kill all men" as the motto ¯_(ツ)_/¯
    — audrey bowler (@aud_bowler) June 17, 2017




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Similarly, Bowler, who also identifies herself as managing Media Matters’ Chinese Communist Party-
linked TikTok, described how she “loves it when men die in movies.”
“ i’m watching the mummy for the first time and let me just say: i love it when men die in movies”
    — audrey bowler (@aud_bowler) July 2, 2018
Bowler’s account is also teeming with hateful label directed towards men, including tweets saying
“men are so gross” and “men are disgusting.” She also declared “there are no good men” when,
ostensibly, joking about what she’d “tattoo” on her forehead.
“    tattoo it on my forehead:
    1) never have heroes
    2) there are no good men “
    — audrey bowler (@aud_bowler) February 25, 2018
Bowler also suggested that random men should “venmo her $5,” followed with her openly stating that
she “love[s] scamming men.”
“i love scamming men”
    — audrey bowler (@aud_bowler) November 30, 2017
The Media Matters director has extensive involvement in Democratic Party politics, having interned in
the offices of Democratic Senator Jim Webb and Hillary Clinton’s 2016 running mate Tim Kaine.
Media Matters hired misandrist scammer Audrey Bowler because her perverted hate and rage could be
directed, by Media Matters, to harm others.
While Media Matters once mocked a clip of Fox Nation host Tomi Lahren insisting “feminism is less
about “equal rights” and more about “man bashing and demanding free things,” their own staff member
appears to confirm Lahren’s assertions.
What’s more, Media Matters is notorious for spearheading advertiser boycotts against those that speak
ill of their political clients when hosts make “controversial” remarks; reverse the genders on Bowler’s
comments, and she’d certainly earn a spot on the Media Matters blacklist.
Media Matters staff seem to all be hateful, raging sociopaths that can be easily mind-controlled to aim
their rage anyone for a buck.
Worse than the Media Matters attackers hired to “kill” Tom, are the Gawker/Gizmodo/Jalopnik attack
group hired to try to “kill” Tom.
The predominantly omnisexual staff of these publications are not only hired because they love a wiener
in the butt but because they exhibit one, or another, of a common set of mental illnesses. The mind


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virus types most favored by the owner: Nick Denton, are: subservience, lack-of-impluse control, bad
decision-making based on anger issues, infantile perception limits and previous angst issues from
abusive childhoods. Their job is to take all of the rage they harbor and aim it at the next political target
that Denton is hired to kill.
Nick Denton sells his soul to the Silicon Valley oligarchs, The White House, Elon Musk, The Google
Bosses and that sort of extremist oligarch kind of crazy power-hungry client.
To move high up into the vast number of facade "brands" that Denton has created, you have to spread
your morals (and sometimes your butt cheeks) at bit.
Gawker, which was bankrupted by Tom and other victims, for it's crimes, has tried to revive itself and
will be killed again, same for Gizmodo. This tabloid cesspool of character assassins thinks that their
brand names have "value". The only value they have is to be known as "The Anus Of The Internet" for
all of time.
Because the hired hit-jobs on Hulk Hogan, Sean Parker, Sandy Montenegro, Sarah Palin, and hundreds
of others, were so vicious, malicious and awful; Nick Denton now has a number people who would be
delighted to put an ice pick through his skull.
While many have memed pictures of Nick Denton as "The Face Of AIDS"; he does not seem to be
dying quick enough for most of his victims.
It has been clearly reported in the news that Denton survives on a combination of Russian mobster
cash, Money from EBAY's Pierre Omidyar and ad sales from totally fake contrived ad metrics.
Google/YouTube and the Denton tabloids are political, business and sexual partners in all of this. They
cross-mingle staff, flings, cash and server targeting for the same goals. Gawker/Gizmodo/Jalopnik
publishes the attack articles and Google locks them on the top line, of every Google site, forever,
around the globe, in front of every person on the internet.
Read the court records and see for yourself the bribes, sex abuses, democracy manipulations and other
crimes these Gawker/Gizmodo/Jalopnik people engage in.
Jason Schreier, writer at the Gawker and Gizmodo's Kotaku, posted smiling selfie with a memo stuck
to his face that says, "Palestinian children should die”.
Nick Denton sells: “Weapons of Mass Brand Destruction” services.
They feign a facade of “being reporters” and sprinkle some generic articles around their swamp of
tabloids in order to keep up appearances.
The sole purpose of Gawker, Gizmodo, Jezebel, Valleywag, Jalopnik and the horde of other fake
magazines that they created, is to be on stand-by for assigned political character assassinations.




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Russian spies created the concept of “the long game pretext”. As the TV show, “The Americans”
details, a good scam takes ten to twenty years to properly stage. Gawker, Gizmodo, Jezebel, Valleywag,
Jalopnik, etc. are a Fusion GPS-class spy game pretext that was created long ago to allow it to simmer
on the pot.
The pot that Gawker-Gizmodo was designed to simmer on was the toilet bowl of tabloid journalism.
The Silicon Valley campaign riggers wanted the dirtiest, scummiest outlet that nobody would question.
They succeeded with glory in Gawker-Gizmodo.


Mentally ill gay Millennial kids, that could not get into college, were pulled in as worker-bees based on
how much they hated society and how sexually abused by Uncle Fred they appeared to be. They were
told: “Here’s a keyboard, spew all of your hate and rage and Nick Denton will pick the worst of it to
publish”
Denton, of course, only picked the things that maliciously damaged those who got in the way of the
Silicon Valley’s crony corruption schemes.
Denton uses every trick in the book to hide behind fluffy legal protections that appear to be the most
extreme rationalizations in history. Denton is, himself, a sexually perverted denizen of the dark world
of bizarre pizza and angry young boys who throw bricks through his window. This allows him to find
synergy with the twisted perverts that he hires.
Gawker-Gizmodo kills people. They violate the Justice Department laws on Terror.
Gawker-Gizmodo has caused a number of innocent people to commit suicide by their actions. Gawker-
Gizmodo works with Google and Amazon’s servers to spread hate, defamation, character assassination
and brand destruction around the globe and lock it on the internet, forever, in front of eight billion
people. They end of the life of everyone that Gawker-Gizmodo targets.
Hulk Hogan and the other victims have probably thought about killing everyone at Gawker-Gizmodo.
They certainly want to. Killing people is somewhat illegal in the USA, so Hulk erred on the side of his
talent agency and chose the court-room instead. Hulk got lucky in finding the deep pockets of Peter
Thiel. None of the other victims got that resource.
Gawker is spewing vile web posts around the world. Gawker, Gizmodo, Jezebel, Valleywag, Jalopnik
are all the same thing; the same people; the same pretext.
The Justice Department should arrest Gawker, Gizmodo, Jezebel, Valleywag, Jalopnik, etc. for
terrorism, tax evasion, money laundering, campaign finance fraud, sexual extortion and a host of other
issues but they won’t because James Comey, Andrew McCabe, Peter Strzok, David Oh and all of those
other FBI-DOJ folks work for the Silicon Valley oligarchs.



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Until there is an entirely new Department of Justice, social crimes like Gawker-Gizmodo will go un-
addressed and bring society closer to crumbling. As long as the public see that criminal organizations
like Gawker-Gizmodo will be allowed to freely engage in their crimes and corruptions, there can be no
hope for the taxpayers.
Now, you can watch the deliciously dirty details unfold from the comfort of your own living room via
the special Court website created just for the “Die Gawker, Die” crowd. It is located at:
https://cases.primeclerk.com/gawker/Home-DocketInfo

From your prime digital perch you can read the ongoing details of $1200.00 per hour lawyers, more sex
charges, organized crimes, election rigging, electric car manipulations, bribes, political paybacks and
White House vendettas, money laundering and all sorts of other fun.

Judge Bernstein filed some kind of notice that orders Plaintiffs to relinquish their First Amendment
rights and never speak about the case, never help other Plaintiffs and never seek restitution for the
horrific acts done to them. Judge Bernstein and his staff have refused to ever allow Plaintiffs to appear
in, or speak in, Court because their evidence blows an epic political corruption scheme sky high.
Plaintiffs distributed their evidence to every reporter in the world, in order to prevent such freedom of
speech abuse, and now the Court has no option but to deal with the fall-out.

The Federal Government and the ACLU have a different message for the New York Bankruptcy Court
in the Southern District of New York and the staff therein: “F*CK YOU!” Says Congress, The White
House, The GAO and the top human rights organizations in the world! “...You don’t get to censor the
public and abuse Human Rights, Judge Bernstein!”

Gawker’s staff assassins, John Hermann and Adrian Covert were told: “...You really shouldn’t have
accepted that cash and that other “special compensation”from Obama’s White House, Elon Musk and
the DNC in exchange for attempting to character assassinate and “kill” people.
Here is what it has gotten you:

For the rest of your pathetic life you will be under surveillance. Nothing you do will not be
documented. This surveillance of you has already been paid for, in advance. There is more than one
Peter Thiel out here.

We are taking out every single person that you worked for so you can watch them drop like flies before
we come for you.

Clearly, you have not fully considered the implications of our notoriously world famous“FUCK YOU”
PLAN which was created decades ago for people exactly like YOU!

You are now going to experience the program under this Plan for the rest of your time on Earth and
even into your historical legacy after you die.



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We find that our 100% legal FUCK YOU Plan is far more effective.

The Fuck You Plan will last for the rest of your life. We will never forget about what you did and we
will never forgive you. (Unless, of course, you want to pay us at least ten million dollars for the legal,
personal,economic, brand and related damages you cost us).

Next we are putting you in our, and others, special crime prevention databases. The databases have
every piece of information about you that you ever created, ie: all of your addresses, account numbers,
tax records,bank accounts, dating site records, phone numbers, fax numbers, IMEI device records, IP
addresses, device serial numbers, every lover you cheated on, sex service calls, drug deals, hookers,
rent boys, Uber and Lyft trip addresses, neighbors, GPS records, etc. All of this information is legally
acquired. You put most of it out on the web yourself.

Face recognition is also sourcing up every image of you on security cameras, Walmart cameras,
restaurant cameras, Google and Bing image databases, social networks, dating sites, traffic cameras,
hotel and motel cameras and everything that has ever recorded your face; which is public domain.
Everything you are connected to will be connected to you.

If you ever, for the rest of your life, cheat on taxes, take money off-the-books, lie on an application, get
arrested, get sued, buy drugs, buy sex, cheat, hide money, use off-shore conduits, set-up an illicit trust
fund or shell corporation, get an STD, lie on a dating site, abuse or extort an employee, abuse a co-
worker, plagiarize, break the law, run a real estate scam, hide insider stock trading,provide political
campaign services without filing detailed and accurate FEC disclosures, support a political campaign,
spend or receive any money that you do not report, we will find out about it and report you to the
authorities.

There is no place on Earth you can hide from us. Our investigators and our friends in Congress, our
journalist buddies, law enforcement and the intelligence community will never let you out of their
sights!

We do not do creepy illicit things, like you do, so we have nothing to worry about. Youhave PLENTY to
worry about.

You are, today, sitting at the edge of the same precipice that Richard Nixon, Bill Cosby, Harvey
Weinstein and other scum sat at just before they slid down their filthy funnels straight to hell. Enjoy the
ride!”

Tom and the alliance of other attack victims got Gizmodo Media Group's special projects executive
editor, John Cook, fired from the company.
Cook become the latest former top Gawker Media figure to exit in the year following Univision's
idiotic acquisition of Gawker properties.
Cook exposed a CIA agent who was undercover, got different authors hacked and helped to arrange for
Apple and others to suffer intellectual property mishaps.

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In a company-wide memo obtained by Business Insider, Cook said he would be leaving GMG.
Cook said he was envious of those who took time off following Gawker's loss to Hulk Hogan and
subsequent bankruptcy.
"I've watched with envy in recent months as various friends — including the occasional former
colleague — have taken some time away from the news grind to clear their heads and get their
bearings," Cook wrote. "After the last year and a half — even with the distance we've been able to put
between ourselves the the Troubles — I could still use some head-clearing."
He added: "I’m grateful that Univision and FMG are committed to the unit and to devoting resources to
aggressive (perverted) journalism."
The former executive editor of Gawker Media, Cook has overseen the special projects desk at GMG,
which has focused on long-term hit-jobs.
Cook was one of the last major leadership figures involved in the Hogan trial who remained at GMG.
Other top staffers like the awful Heather Dietrick — the president of Gawker Media and then of GMG
— left the company in the months after the sale.
Cook and his army of trolls produced misogynist stereotypes on all of the Nick Denton sleaze-ball
tabloids like Gawker, Gizmodo, Jalopnik, Deadspin etc. One reporter wrote about Denton’s hit-job on
Sandy Montenegro:
“I don’t care what Sandy Montenegro Littlefield is actually like; I don’t know her, and I’ve never met
her. Also, I am not intrinsically fond of superwealthy society people. Who knew that “Gentry”
magazine even existed! Not me! Gentry. Wow. Weird. Lifestyles of upper class philanthropists; really
beyond my comprehension – they’re like aliens.
Anyway. Gossip is fun and I love to hear it. Dirty gossip is great. I would love to see Dirty Friendster
with all the possible totally sophomoric sex gossip charts of who slept with whom and who just made
out in the conference room. That said, I think that Valleywag’s post on Littlefield deserves to be called
out on its misogynist rhetoric about Ms. Littlefield. The article says she “used to go to tech conferences
in search of husband material” and, worse:
      She’d arrive on her own and return on someone’s private jet. She is absolutely gorgeous in
      person, but I don’t think it took people too long to figure out she was a gold-digger.

I’d like to look at what stereotypes this gossip plays into and what reactions it can possibly evoke.
Here, who a woman sleeps with or marries is used to throw her competence as a tech executive into
question. It is strongly implied that she is not a real geek, or maybe has no “real” skills at all other
than her looks. When an article like this gets written, it also by association casts aspersions on all
women in tech. Would this article be written about a man, a senior executive? Would there be any
equivalent way to devalue and slander and ridicule a man?

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It’s very strange because while men are always whining about reverse sexism, and how everything
should be genderblind and we should all just be human and be judged on our skills and not our
gender… Then they whip out this sort of rhetoric and use it against women. The stereotypes are built in
and waiting, ready to be used against any woman, from the most successful and visible to the least
important. As women, none of us are immune to being objectified by exactly the sort of rhetoric used
against Ms. Littlefield.
Notice the way that the quote above suggests that Ms. Littlefield habitually went to tech conferences
alone and then left with different rich guys – and that she went to the conferences solely for the reason
of wanting to pick up rich geek guys. And also implying that’s how she got her jobs – by being a jet-set
slut.
Again, I’m no expert on the upper class. But don’t quite a lot of rich people work off their personal
networks and backgrounds and friendships? The woman has an MBA from Harvard and she speaks five
languages. What’s so odd about her getting a good executive job? Didn’t like 5 gazillion MBAs descend
on Silicon Valley during the boom? Why shouldn’t one of them be a multilingual cosmopolitan
Guatemalan beauty queen from Harvard?
But no… instead Valleywag points to Montenegro’s past achievements as a beauty pageant winner and
the fact that she’s from Guatemala as something further to objectify and sexualize her. Then they make
fun of a newspaper article quoted on her homepage that calls her a “Latina who defies stereotype.”
(See Common stereotypes of Latinas for more explanation.) Hey, if you are a Latina who defies
stereotype, and you’re a successful senior executive in high tech, and a VC person and a bigshot
international philanthropist, why not be proud of it? Valleywag evokes a stereotype in response, and
stuffs her right back into it.
Waaah! Women in tech are toooooo sexay! That sucks! It ruins our whole homosocial male bonding
geek guy thing! Get them out! Or, quick, give Sandy a reverse makeover, a pair of glasses with
electrical tape on the nosepiece, and some penny loafers!
Everyone needs to keep in mind that when women, sluts or not, sleep with geek guys, it might just be
because they like geek guys a lot. Sleeping with geek guys doesn’t invalidate one’s geek credentials. It’s
not like they have to be *rich* geek guys and the women have to be brainless bimbos going after their
money. Trust me, geek guys, you are often super cute all on your own. It’s the devastatingly sexy
unhealthiness caused by hours of late night hacking, and how you get all passionate about open
source, and the way that you probably got pushed around by those jock dudes in the locker room long
ago. We love it. It gives you a mysterious aura, like consumptive bohemian poets from 1890 who
smoked too much opium and thought they were in touch with the Divine. Heterosexual nerd chicks go
for that kind of thing. It’s completely natural.
Anyway, Valleywag tries to preempt any criticism by saying they don’t really care, and they don’t think
Montenegro is “evil”. Just mockable. Misogyny is automatically funny. Sexy women are automatically


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dumb golddiggers. We’re supposed to read that post and laugh and nod knowingly… as if we know the
type. Do we really? Or do we know them from the idiotic stereotypes made up by and perpetuated in
Hollywood movies?
It’s not uncommon for writers to evoke sexist and racist stereotypes for a cheap laugh. But not all of us
are laughing when we read that stuff. Instead, we’re pissed off and alienated. Or we might respond by
laughing at the writers for their cluelessness.”
Denton probably should not have attacked the wife of a billionaire. Payback is a bitch!




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             Figure 1: Gawker/Gizmodo/Jalopnik’s self-promted
             “Character Assassin” is Adrian Covert. This Elon Musk
             sycophant derives his entire motivation in life from maliciously
             harming others in violent and malevolent paid attacks against
             those he is aid to harm.




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 Figure 2: Adrian Covert advertises his services as a hired "assassin" on his Facebook page




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     Figure 3: Victim's of Nick Denton's ruthless attacks had Denton splashed with a pie made of
     human shit




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     Figure 4: Adrian Covert and the other hired character assassins that work at Gawker-
     Gizmodo-Jalopnik seem to have strange mental health issues




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Figure 5: Anyone with cab fare can go read revelations so shocking that Gawker Lawyers demanded
that Court records be "RESTRICTED" ...BUT... if you go to the Offices of Prime Clerk at: 830 Third
Avenue, 9th Floor, New York, NY 10022, ( Office Phone 212 257 5450), you can demand public access
and FOIA rights read all of the records for Gawker Media LLC Federal Case # 16-11700 SMB. The
Meanith Huon, XP, Terrill and Mail filings are of particular interest.




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As New York Magazine feature writer Vanessa Grigoriadas explains: Gawker-Gizmodo-Jalopnik is a
tabloid trash factory full of mental deviants: “At the risk of sounding like a wounded old-media
journalist, let me share a story about my experience with the media-gossip blog Gawker.com, which I,
like most journalists who cover stylish topics in New York, have read almost every day for five years. In
addition to recently finding attacks on some of my female journalist friends—one of whom was
described as slutty and “increasingly sundamaged”; another variously called a “tardblogger,”
“specialblogger,” and “developmentallydisabledblogger”—as well as a friend’s peppy little sister, who
was put down for wanting to write a “self-actualizing screenplay or book proposal or whatever,” I
woke up the day after my wedding to find that Gawker hadwritten about me.
“The prize,” said the Website, “for the most annoying romance in this week’s [New York Times] ‘Vows’
[column] goes to the following couple,” and I’ll bet you can guess which newly merged partnership
that was. It seems that our last names, composed of too many syllables, as well as my alma mater,
Wesleyan; the place we fell in love, Burning Man; our mothers’ occupations as artists; and my
husband’s employer, David LaChapelle—in short, the quirky graphed points of my life—added up to an
unredeemably idiotic persona (the lesson here, at the least, is that talking to the Times’ “Vows” column
is a dangerous act of amour propre). Gawker’s commenters, the unpaid vigilantes who are taking an
increasingly prominent role in the site, heaved insults my way:“Grigoriadis writes for New York
Magazine. Her last article was entitled, ‘You Too Can Be a Celebrity Journalist!’ With that kind of
work and the newfound fame that comes with a Times wedding announcement, she’s on the fast track to
teaching a class at The Learning Annex.”
“Sorry, but I’m obsessed with these two. The last names alone? They have nine vowels between them.
And can’t you see it when they have their painful hyphenated named children? Does anyone out there
know them? Please offer up some stories. Perhaps their trip to Nepal, or her internship with Cindy
Sherman. I need more...”
“Those two are such easy targets they have to be made up. C’mon, Wesleyan? LaChapelle? The
immigrant artist parents? No two people could be that painful.” “Immigrant artist parents=house
painters.”
Are we ridiculous? Perhaps a little, and I was contemplating this, nervously, when I got a call from my
new mother-in-law, who had received the news by way of a Google alert on her son’s name. She was
mortified, and I=pissed: High-minded citizen journalism, it seems, can also involve insulting people’s
ethnic backgrounds. I felt terrible about dragging my family into the foul, bloggy sewer of Gawker, one
I have increasingly accepted as a normal part of participating in city media. A blog that is read by the
vast majority of your colleagues, particularly younger ones, is as powerful a weapon as exists in the
working world; that most of the blog is unintelligible except to a certain media class and other types of
New York bitches does not diminish its impact on that group.
Like most journalists, I tend to have a defeatist attitude about Gawker, dismissing it as the Mystery
Science Theater 3000 of journalism, or accepting its vague put-downs under the principle that any
press is good press. After all, there aren’t lots of other news outlets that cover the minutiae of our lives,
and we’re all happy for any smidge of attention and desperate for its pickups of our stories, which are
increasingly essential to getting our work read. The prospect and high probability of revenge makes


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one think twice about retaliation. Plus, only pansies get upset about Gawker, and no real journalist
considers himself a pansy. But there is a cost to this way of thinking, a cost that can be as high as
getting mocked on your wedding day.
Nearly five years ago, in December 2002, Gawker made its debut under the leadership of Nick Denton,
the complicated owner of the blog network Gawker Media, and Elizabeth Spiers, a 25-year-old banker
turned blogger who was fragile in person but displayed a streak of dark cunning on the page. They
didn’t exactly invent the blog, but the tone they used for Gawker became the most important stylistic
influence on the emerging field of blogging and has turned into the de facto voice of blogs today.
Under Spiers’s aegis, Gawker was a fun inside look at the media fishbowl by a woman who was,
indeed, “snarky” but also seemed to genuinely enjoy both journalism and journalists—Spiers was a
gawker at them—and took delight in putting out a sort of industry fanzine or yearbook, for which she
was rewarded with fawning newspaper articles casting her as the new Dorothy Parker. Ironically
enough, Spiers craved a job at a magazine. She soon left for a position here, at New York Magazine;
two subsequent Gawker editors, Jesse Oxfeld and Jessica Coen, have followed in the past year.
To be enticed, as these writers were, by the credentials extended by an old-media publication is a
source of hilarity at the Gawker offices, where, beneath a veneer of self-deprecation, the core belief is
that bloggers are cutting-edge journalists—the new “anti-media.” No other form has lent itself so
perfectly to capturing the current ethos of young New York, which is overwhelmingly tipped
towardanger, envy, and resentment at those who control the culture and apartments. “New York is a
city for the rich by the rich, and all of us work at the mercy of rich people and their projects,” says
Choire Sicha, Gawker’s top editor (he currently employs a staff of five full-time writers). “If you work
at any publication in this town, you work for a millionaire or billionaire. In some ways, that’s
functional, and it works as a feudal society. But what’s happened now, related to that, is that culture
has dried up and blown away: The Weimar-resurgence baloney is hideous; the rock-band scene is
completely unexciting; the young artists have a little more juice, but they’re just bleak intellectual kids;
and I am really dissatisfied with young fiction writers.” Sicha, a handsome ex-gallerist who spends his
downtime gardening on Fire Island, is generally warm and even-tempered, but on this last point, he
looks truly disgusted. “Not a week goes by I don’t want to quit this job,” he says, “because staring at
New York this way makes me sick.”
It’s long been known to magazine journalists that there’s an audience out there that’s hungry to see the
grasping and vainglorious and undeservedly successful (“douchebags” or “asshats,” in Gawker
parlance) put in the tumbrel and taken to their doom. It’s not necessarily a pleasant job, but someone’s
got to do it. Young writers have always had the option of making their name by meting out character
assassinations—I have been guilty of taking this path myself—but Gawker’s ad hominem attacks and
piss-on-a-baby humor far outstrip even Spy magazine’s. It’s an inevitable consequence of living in
today’s New York: Youthful anxiety and generational angst about having been completely cheated out
of ownership of Manhattan, and only sporadically gaining it in Brooklyn and Queens, has fostered a
bloodlust for the heads of the douchebags who stole the city. It’s that old story of haves and have-nots,
rewritten once again.
Gawker is the finest mechanism to date for satisfying this craving. Two weeks ago, Gawker writer Josh
Stein jumped on the 4-year-old son of satirist Neal Pollack, calling him a “horror” and “the worst”
for providing his father with some cute quips about expensive cheese at a gourmet store; Pollack


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responded by sending an e-mail blast about his feelings to his friends, but Gawker got hold of the e-
mail and relentlessly dug into him again and again. When Pollock first saw the post, “my heart sank to
my knees,” he says. “Instinctively, and stupidly, I sent out that e-mail, which I should never have done,
because it just gave them the satisfaction of knowing that they’d gotten to me. That’s all bullies want,
really.”
Someone Pollack knows later sent him a link to a blog written by a woman who’d dated Stein, which he
passed along to me: “It’s nice to know that my antagonist is an emotionally manipulative premature
ejaculator with a Serge Gainsbourg tattoo on his back,” explains Pollack, who’d realized a truth of the
bile culture—shame is a weapon.
“Only two of those things are true,” jokes Stein. “Look, if I was Neal Pollack, I would be mad too. But
when you create a character out of your son, and you develop that character in your prose, that
character is open to criticism. I’m actually looking forward to the moment when Neal Pollack is an old
person and Elijah Pollack is writing stories about him in a nursing home.”
Journalists are both haves and have-nots. They’re at the feast, but know they don’t really belong—
they’re fighting for table scraps, essentially—and it could all fall apart at any moment. Success is not
solid. That’s part of the weird fascination with Gawker, part of why it still works, five years on—it’s
about the anxiety and class rage of New York’s creative underclass. Gawker’s social policing and
snipe-trading sideshow has been impossible to resist as a kind of moral drama about who deserves
success and who doesn’t. It supplies a Manhattan version of social justice. In the past couple of years,
Gawkerhas expanded its mission to include celebrity gossip, sacrificing some of its insider voice in the
process, but on a most basic level, it remains a blog about being a writer in New York, with all the
competition, envy, and self-hate that goes along with the insecurity of that position.
It’s not a secret that these are hard times for journalists. In fact, the rise of Gawker over the past half-
decade has dovetailed with the general decline of newspaper and magazine publishing, which, like the
rest of the publishing industry, has seen revenues stagnate as advertisers are increasingly drawn to the
Web. This has made for wholesale changes within magazines, including our own, with Web
departments, a few years ago considered a convenient place to dump unimpressive employees, now led
by the favored (our own Website now counts over 40 employees). At the same time, the $200,000-a-
year print-publishing job, once an attainable goal for those who had climbed near the top of the ladder
in editorial departments, has all but disappeared.
Consider the Gawker mind-fuck at a time of rapid deterioration of our industry: Young print
journalists are depressed over the state of the industry and their inability to locate challenging work or
a job with health insurance. Although the situation may not be as dire as they might imagine—a
healthy magazine is constantly on the hunt for young writers, because it wants the fresh take on the
world found only in the young, and because young writers tend to be cheap—they need a release, the
daily dose of Schadenfreude offered by Gawker’s gallows humor, its ritualistic flogging of working
journalists and relentless cataloguing of the industry’s fall (e.g., items like “New Republic Page Count
Watch”).Though reading Gawker subtly reinforces their misery, they generate an emotional bond and
soon begin to tip it with their own inside information (and misinformation, as reserved for their
enemies).
The system keeps getting stronger, a KGB of media gossip, a complex network of journalist spies and
enforcers communicating via e-mail and IM, until Gawker knocks print out of the box. With Gawker,

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there is now little need for the usual gossip players like the New York Observer, vastly diminished in its
news-breaking capacity and influence, or even the New York Post’s “Page Six,” emasculated by the
Murdoch hierarchy after the Jared Paul Stern scandal. The panopticon is complete. “Peering into my
in- box in the morning is like looking at the id of every journalist in the city,” says Gawker writer
Emily Gould.
It’s almost part of Gawker’s business plan to ensure that its young writers, by attracting the attention of
those they are sniping at, are able to leap into the waiting arms of the mainstream media before they
become too expensive to employ. One afternoon, I meet Gould for tea before her early-evening meeting
with an agent for appetizers at Serafina. She has the look of a studious but sexy punk rocker: 26, dirty-
blond hair caught in a high ponytail that shakes back and forth like a wagging tail as she speaks,
tattoos crawling over a shoulder and back exposed today by a purple-plaid jumper. “I don’t even really
want to be a writer, but I feel like I don’t have a choice,” she says quietly. “It’s all I’ve ever known how
to do.”
Possibly, Denton is holding onto Gawker as a kind of hobby, partly for the fun of having a catalogue of
the decline of print, a history of the fall. Ten or twenty years ago, Gould would have likely emulated
Joan Didion, but she is trying to play the blog game now. She means to win, and to grab some attention
for herself in the process. This summer, she took some time off in Maine, and before she went posted a
picture of herself on Gawker in a bathing suit flipping the bird—“At least I didn’t put up the ones of
myself in a silver-lamé bikini. That would have been a little much,” she says, laughing. She even used
to do a lot of TV spots for Gawker, but then got badly beat up by Jimmy Kimmel, who told her on-air
(he was subbing for Larry King), “I just want you to think about your life...because I would hate to see
you arriving in hell and somebody sending a text message saying, ‘Guess who’s here?’” She was
panicked about this at the time, but she’s moved past it now. “It’s funny,” she drawls. “People in
publishing treat you like a celebrity when you do this job, but you live in Brooklyn, make $55,000 a
year, and don’t feel like a celebrity until someone comes up to you on the street and says, ‘Buck up, kid.
Jimmy Kimmel’s an asshole.’”
Though Gould is ruthless in pointing out other writers’ shortcomings on Gawker, she is sensitive about
her line of work. “In Maine, I was telling the guys I met that I was a yoga teacher,” she says. “What
am I supposed to say, ‘I work for a media-gossip Website in New York?’” She shakes her head, and the
ponytail bops around. “Who knows how this will all play out for me?” she says. “I could be ruining my
life.”
If there’s one person who is most certainly a “have,” it’s Nick Denton, 41, the attractive, upper-class
gay Jewish Briton who owns almost all of Gawker Media. He seems to control an entire Soho street,
presiding over his empire from his apartment, which is around the corner from the Gawker offices and
across the street from his unofficial office, Balthazar (hence his faux IM name on Gawker.com,
DarkLordBalthazar). Occasional unpleasantness with employees, who describe him as “less passive-
aggressive and more aggressive-aggressive,” and rampant speculation as to his skyrocketing net worth
fuel his image, and in fact he has a Machiavellian bent. Denton likes to say that his celebrity look-alike
is Morrissey, and he does have the same enormous head, but his hair is worn short, at almost the same
length as his graying stubble. The pumpkin head bobs over his uniform of hip business casual—
ollarless navy T-shirt, iPhone in palm, clean dark jeans tapering off to thin-soled shiny black sneakers.



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He’s polite, quiet, and relentlessly confident, an effective, poised leader whose true nature is amoral
recklessness, an unrufflable libertarian and libertine. Like Tina Brown, with whom he was intrigued in
the past, he’s always loved using his position to play-cast a social network with himself at the center.
Denton is fond of denying interview requests while secretly helping writers formulate stories about him
via off-the-record conversations, then slagging their work later on his blog, calling one journalist who
profiled him “about as reliable as a journalist who turns to an Iraqi exile for intelligence on Saddam’s
hidden nukes.” The moment that he told me that he would not conduct an official interview with me,
and I said I’d continue reporting without him, was perhaps the only one where I’ve seen him express
emotion. For a split second, he was furious. His eyes flicked back and forth over mine like a
metronome, searching for some clue to what I was planning, what angle I might be playing, and he
spat out his denial with the intensity of a losing tennis player. “Nick loves press, but only press he can
control,” says a colleague.
A successful former journalist for the Financial Times who never quite became an opinion leader, and
the co-founder of two Web 1.0 Internet companies that didn’t exactly set Silicon Valley on fire, though
one of them was nevertheless reported to have been sold for $50 million to Israeli venture capitalists,
Denton has been jubilant over the success of Gawker, taking on the self-image of a maverick who has
thumbed his nose at both of his former industries. Like most journalists trained in the British system,
Denton does not believe in privacy for public figures, nor really for anyone else (except himself,
apparently). “Everyone suspects Nick’s motives, and he has defiantly lower print standards than any of
us,” says Sicha. “I’ll tell him, ‘That guy’s gay,’ or ‘That guy’s having an affair,’ and he’ll say, ‘Then
write that.’ Well, I haven’t slept with the guy, so I don’t want to go to court over that. Nick
communicates such things intentionally to us, to continually erode our standards.” According to a post
by another Gawker writer, one day Denton harangued Gawker’s editors about being too mean on the
site; a few minutes later, he began suggesting ideas for posts, like “Who’s shorter in real life than
you’d think they’d be? Who has dandruff?” “Does Nick believe in quality, or does Nick believe in
respecting other people’s idea of quality he doesn’t believe in?” Sicha muses. “He has to believe not
just in page views. But I don’t know how exactly.”
Of all the ways in which Gawker is antithetical to journalistic ethics—it’s self-referential, judgmental,
ad hominem, and resolutely against effecting change in the world—it pushes its writers to be honest in
a way that’s not always found in print publications. Little is repressed; the id, and everything else, is
part of the discourse (including exhibition and narcissism). Even the Gawker office, a kind of
journalistic boiler room, can serve as a metaphor for transparency, open for anyone to see, operating
behind a plate-glass window in a Crosby Street storefront. Some of Denton’s bloggers are onboard with
this mission: “Quite frankly, fuck discretion,” writes Moe Tkacik, a former newspaper reporter, on
Denton’s newest site, Jezebel. “Discretion is how I didn’t figure out how to come until I was 24 years
old; discretion is why women’s magazine editors persist in treating their fellow humans like total shit;
and when you’ve spent a career trying to catch others in their own indiscretions, discretion just feels a
little dishonest and superior.”
It’s a good trick, taking the one thing that journalists have in the world—honesty—from them, and
setting up Gawker.com to instill fear of being caught in their foibles. It’s what someone would do if they
were trying to usurp an industry, which is exactly what Denton has always wanted (do not, however,
buy Gawker’s tepid new book, The Gawker Guide to Conquering All Media, and think you will find


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genuine tips on how to do this yourself, as none are forthcoming). These days, Gawker is merely the
flagship property of a Gawker Media empire, one Denton likes to compare to Condé Nast.
Employees have started talking about his blogs as “magazines,” and the company as a “stable of
magazines.” All fourteen Gawker blogs maintain standards of stratospherically higher writing quality
than other Websites in this LOLcat era, displaying their wares on sites with hilarious, deadpan names:
Fleshbot (porn), Jalopnik (cars), Gizmodo (gadgets), and Kotaku (games); an early name for Gawker
was “YouNork.” Half of Denton’s sites are modeled on Gawker’s model of pairing a mannered gossip
column with the industry of a given city, including Wonkette (D.C. politics), Defamer (Hollywood),
Valleywag (Silicon Valley), and the new, excellent Jezebel (women’s magazines and fashion). Denton is
only intermittently involved in content and gives free rein to his editors to attack anyone they’d like
(only ex-employees get a pass).Denton’s most successful blogs are, unsurprisingly, Gizmodo and
Kotaku, at about 11 and 4 million visits per week. Or, to use the preferred metric, which has the benefit
of being a higher number, the two blogs receive about 12 and 5 million “page views” per week, which
is the number of times each visitor clicks on any blog page. Page views are very important: Advertisers
usually pay for online ads in a unit of 1,000 ad impressions, and the number of page views a Website
receives have become like points for content-driven Internet properties, a way to keep score on
competitors. Gawker nearly doubled in size last year, but the rate slowed to perhaps 30 percent last
year, and the site now does about 2.5 million page views per week. For years, Denton told colleagues
that there was no money to be made in blogs, even providing such a quotation to the New York Times.
He didn’t see the advantage in talking it up.
Today, Gawker Media has approximately 100 employees and contractors. “Nick made us all join
Facebook,” says Sicha. “I think he came to the office one day and couldn’t recognize anybody ‘Which
one are you?’” Very few Websites provide their traffic information, but Denton has chosen to do so
with a link on his home page: No one can accuse him of not keeping his business transparent, at least
superficially. Brightly colored traffic graphs provide the curious the illusion of being able to figure out
his earnings, but without knowing the percentage of ad inventory sold across all blogs, it’s impossible
to generate more than a back-of-the-envelope guess of $10 to $12 million in profit annually if most of
his blogs sell ads at the industry standard.
“How many page views are you getting?” That’s Denton’s favorite question to ask fellow Internet
entrepreneurs at a party.
Denton’s place is one of the great Manhattan apartments for a party, a cavernous loft that seems to be
decorated only in titanium and suede in a Soho building whose other tenants include Kelly Ripa and
Harvey Weinstein. Sometimes he throws open his doors to everyone in town, on Halloween and during
the holiday season, but more often he plays host to a select group of entrepreneurs and writers.
Over the summer, at the tail end of a cocktail hour, he’s cleaning up the wrappers of White Castle
hamburgers he provided as hors d’oeuvre. “I had a book party for Rebecca Mead at the New York
Public Library last week, and they gouged me on the catering,” he says, pursing his lips slightly.
“These were so cheap!” Denton’s boyfriend, a lovely African-American artist, begins to get ready for
their next stop of the evening, a going-away party for Gawker Media managing editor Lockhart Steele,
leaving to build his own blog network with Denton joining an angel investment round. “Are there
going to be a lot of bloggers there?” his boyfriend asks, and Denton nods. He sighs.At Steele’s party, at
a dirty bar on Clinton Street, a white limousine with the license plate FILTHYNY rolls by as dozens of

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bloggers spill onto the sidewalk, surreptitiously drinking beers until a couple of cops begin handing out
tickets. Everyone has a slightly hunted look, born of spending all day at a computer with a gun to their
heads: Most bloggers in Denton’s network work under the most severe deadlines imaginable, with
many contracted to write twelve posts per day. At the same time, they are unbelievably fulfilled:
Bloggers get to experience the fantastic feeling of looking at everything in the world and then having
everyone look at them through their blog, of being both subject and object, voyeur and voyeurant. To
get more of that feeling, some bloggers—if we were a blog, we’d tell you who—are in the bathroom
snorting cocaine, or Adderall, the ADHD drug popular among college kids on finals week, the constant
use of which is one of the only ways a blogger can write that much (“We’re a drug ring, not a bunch of
bloggers,” one Gawker Media employee tells me cheerily). Pinched nerves, carpal tunnel, swollen feet
—it’s all part of the dastardly job, which at the top level can involve editing one post every fifteen
minutes for nine hours a day, scanning 500 Websites via RSS for news every half-hour, and on “off-
hours” keeping up with the news to prepare for tomorrow.
Gawker’s social-policing and snipe-trading sideshow is a kind of moral drama about who deserves
success and who doesn’t — a Manhattan version of social justice.
The Gawker.com editors stand mostly to the side, in a cool-kid clique. Although they may in some sense
be outsiders with their noses pressed to the glass, horrified by a world of New York that doesn’t quite
want to have them as members, in the bubble of blogs, they’re the elite, especially because lots of
smaller bloggers’ traffic relies on “link-whoring” (i.e., Gawker editors being solicited for links by
smaller sites). Sicha leans against the back of a parked car, tanned and lean, his jeans slung low
enough to reveal the waistband of his underwear, talking to Alex Balk, a former copywriter who tweaks
Denton’s desire for lowbrow posts that generate page views by dialoguing with a character known
as“My Cock” (his bitterness conceals an emo side: Balk’s previous blog was named after a line from a
Leonard Cohen song). One Gawker Media videographer, widely known in the office as the guy who
had sex after-hours on the office couch, lurches around in tight white jeans. “I was talking to this
writer from Elle Girl, and then she said, ‘I heard you’re a crack whore but really good in bed,’” he
tells a Gawker ad-sales guy, who snickers.
A Town Car pulls to the curb: It’s the most famous young journalist in the city, Julia Allison. “Don’t
write about her, don’t feed into it,” two female bloggers beg me, stepping out of Allison’s way as she
approaches.
Allison is what Denton likes to call a “Gawker celebrity”: Like all editors of gossip publications, he
enjoys thinking of himself as a star-maker and lays claim to creating the personalities that he
promotes, much in the way that the New York Post’s “Page Six” has always said it made Paris Hilton.
But, like Paris, Allison is quite complicit in her star-making process—although she would never admit
it, because that would ruin her image. She is pretty, though she looks even better on your computer
screen because she chooses her outfits explicitly for the cameras: Her look is southern deb or, more
precisely, an actress playing a southern deb—a polka-dot Nanette Lepore suit with no blouse
underneath, a string of her grandmother’s pearls, thickly applied lavender lipstick, and five-inch white
platform shoes. “I’m just a small yappy dog Nick finds amusing,” says Allison later, in a deep voice
that projects across the room. “He’s a godlike figure at the center of his universe,” she says on another
occasion. “The godfather! First he started a company, and now it’s a culture.”A recent Georgetown
University grad who moved to New York to become Candace Bushnell, Allison had a little-read dating


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column in AM New York—and a list of paramours that included former Tennessee congressman Harold
Ford Jr.—when she decided to change her focus. She grabbed Denton’s eye by showing up at one of his
Halloween parties in a bustier made entirely of Trojan Magnum XL condom wrappers and developed a
sophisticated Website (“I dated a computer-science guy!”). She link-whored herself to Gawker on a
daily basis, even if it meant sharing videos of herself in a white bikini riding a horse. “Freelancers are
like the migrant workers of publishing—when I heard that Tom Wolfe makes $6 a word, I was like,
‘Whoa,’” says Allison. “I figure if you make yourself a marquee name, you can’t be replaced.”
Soon, Allison landed a column in Time Out, where she was popular for her ability to get her stories
linked on Gawker. Gawker was free advertising, after all: “Time Out New York dating columnist Julia
Allison tackles the age-old dilemma faced by men around the world: How do you trick a chick into
bed? Jules’ advice: Be cheesy, surround yourself with hot ass, and buy her greasy food. (Not
recommended: Yelling, ‘Now suck my cock.’)” Next, she was hired by Star magazine as an editor-at
large. She doesn’t actually write anything, though. Her job is to go on TV and pretend that she works at
Star.
The value of Allison to Denton is not only tits=page views: It’s also her popularity with Gawker’s
commenters, the largely anonymous readers whose responses to Gawker’s posts are included on every
item page. Commenters are the mob sneering at the tumbrels as they pass by—their comments are
sometimes hilarious but always cruel and vicious, an echo chamber of Gawker’s meanness. Gawker
editors let them know their place by introducing “Commenter Executions,” by which they banned a few
of the lamest commenters each week (e.g., “Crime: on certain days, comments on every single post—
yet says nothing”). But now Denton—impressed by the microblogging capabilities of current Silicon
Valley darling Facebook and crushing on its founder, young Harvard dropout Mark Zuckerberg—
wants to make more of them. He spent most of the summer working with developers on new software
that tailors Gawker’s page to the specific commenter who visits it. In fact, he’d love to see a site where
half the page is taken up with comments.
“Gawker comments, long an embarrassment, frankly, now represent one of the strongest aspects of the
site,” he wrote recently (in Gawker’s comments!). “They reintroduce an element of anarchy, which was
in danger of otherwise being lost, as the site became more professional. I *want* secrets to be exposed,
memos leaked, spy photos published, arguments to fly.” Noah Robischon, Gawker’s new managing
editor, adds, “There are no immediate plans to reward commenters, but it is a natural way for us to
scout for talent. I wouldn’t be surprised if commenters who are promoted regularly end up as paid
contributors.” But are commenters even close to being in the loop? Last week, Denton tried to get them
to step up: “Okay, how about a comment from someone who was actually at the Mediabistro party?
Facts, please, people.” But no one, of course, could answer such a thing—the best they could do is
snipe: “Who would admit to this [being at the party], even under the cloak of i-anonymity?” sneered
one.
The success of the comments has even made Denton rethink the compensation he pays his bloggers, the
cows he has to pay for milk. Gawker as an automated message board, with commenters generating
exponentially greater numbers of page views as they click all over the site to see reactions to their
comments, could be the dream. There would then be no editors to pay, even at the rates he has to shell
out. Until recently, most Gawker bloggers were paid a flat rate of $12 per post for twelve posts a day,
with quarterly bonuses adding to the bottom line; these bonuses could be used to buy equity in the

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company, which took two years to vest. Now, Denton is moving to a pay-for-performance system. He
has always tracked the page views of each individual Gawker Media writer, thinking of them like
stocks in a portfolio, with whoever generates the most page views as his favorite. If each writer was
only as valuable as the page views he drew, then why shouldn’t Denton pay him accordingly?
Balk, the site’s primary troublemaker, quickly posted an item on Gawker about this change with the
slug “Like Rain on Your Wedding Day, Except for Instead of Rain It’s Knives.” Denton wasn’t amused.
“Your item makes the argument for performance pay even stronger,” he responded in the post’s
comments. “This awesomely self-indulgent post—of interest to you, me, and you, and me—will struggle
to get 1,000 views. Which, under the new and improved pay system, Balk, will not even buy you a
minute on your bourbon drip.” (Balk gave notice two weeks later.)
Denton is a visionary tech geek, so it’s not surprising that he would be fascinated by such new
applications, but his relentless focus on page views may be evidence of restlessness, or even an
existential crisis: Now that he’s making money, really coining it, he knows he may have reached the
top. There is a rush on advertising on the Web now, with TNS Media Intelligence reports showing that
online advertising was up 17.7 percent for the first half of 2007, while print and TV were in decline.
But in its current form, it’s not going to solve the publishing crisis, online or off.
In fact, even Gawker.com has become boring to Denton, because it doesn’t get the number of page
views of his more popular sites. There were probably only going to be a few big Web companies
anyway, as well as Google, and even though he still entertained the notion of holding onto his blogs for
posterity, word had started to leak out of his talk about selling them down the road. Eventually, New
York media would be like the New York film business—there would still be a lot of work, but except for
some small independents, all the platforms would be owned elsewhere, operated out of office parks in
San Jose, California. Possibly, Denton is holding onto Gawker .com as a kind of hobby, partly for the
fun of having a catalogue of the decline of New York print publishing, an entire history of the fall. His
roots are in journalism, and he undoubtedly enjoys the notoriety that Gawker brings—he’s running one
of the best circuses in the city. But a business model is a business model, and increasingly, in the media
business, it’s hard to find one. Maybe New York was done as a media town.
On a chilly evening in September, Gould and I went out for sushi. She traipsed down Prince Street in a
tight electric-blue shirt, the same color as her fingernail polish, and white knee-high boots she had
polished up for the fall season. She had just been at her shrink’s, where she says she spends all her time
talking about Gawker—“It’s just such a weird cross between being an artist and working in a
sweatshop,” she’d said earlier. She tucked her hair behind her ears and sighed. “Plus I have gotten so
much flak over the past year, from everyone from random people who e-mail me that I’m a bitch and a
cunt, to my family, to Jimmy Kimmel calling me the devil—to my boyfriend of six years, when we broke
up and I was moving my dishes out of his apartment, asking, ‘Why did you write that post about that
Stevie Nicks song? Now it’s obvious to everyone that you were having an affair with your co-worker.’ ”
She shot me a lopsided smile.
I asked her how she felt about the upcoming changes in comments and pay at Gawker. “I can’t have
feelings about that kind of thing,” she said. “It’s kind of like you’re in jail and you have feelings about
the color they paint the walls.” Gould published a book last spring, and wasn’t sure if she should write
another. “At the end of the day, your ideas in a book have less impact than if you had summed them up

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in two paragraphs on the most widely read blog at the most-read time of the day, so why’d you spend
two years on it?” she said, delicately picking up a piece of toro. “But there’s other ways to get noticed
than the Internet, right?” She laughed bitterly. “There’s always TV.”Recently, she’d bonded with Julia
Allison—the two went to a psychic in Staten Island together, driving in a Mercedes convertible Allison
had borrowed (though the guy who owned it didn’t really know she had borrowed it), booming the
stereo and singing along to the lyrics of Prince’s “Pussy Control.” The psychic told Allison that she
had to be more “real” and Gould that she was on the road to love—but then she was not, so that was
all a waste of time. But at least she decided Allison was cool. “It’s not like Julia keeps her enemies
close and her friends closer,” said Gould. “She doesn’t even make a distinction between the two.”
In an insult culture, shamelessness is a crucial attribute, was part of the point. Last week at Gawker’s
book party, Allison appeared in a particularly revealing top and told me, “I figure if people look at my
cleavage they won’t listen to my words,” then winked. She and Gould were both wearing polka-dots,
not on purpose, and they cavorted in their outfits for a photographer, slinging their arms around
Allison’s boyfriend, even though Gould was sure to overdramatically grimace in some of the pictures.
By Gawker’s rules, Allison seemed to be winning the game. Still, the question remained: Could you be
successful in New York without becoming a—well, a douchebag? It was something that Gould would
have to ponder.”


Nick Denton took orders directly from the Obama White House!
How do you help fix the internet (that your team helped create) when abusers try to break it?
In wrestling parlance: You “go to the mat”!
Thanks to wrestling personality Hulk Hogan, you have now heard of slasher-tabloid publisher Nick
Denton and his “Gawker Media” gossip rag empire. Hulk Hogan recently won a $115 million dollar
jury award against Nick Denton/Gawker for running a media character assassination “hit job” on
Hogan.
“Gawker Media” is the front organization for a number of other duplicate attack publications with
names such as “Gawker”, “Gizmodo”, “Jalopnik”, “Jezebel”, “Valleywag” and an army of other facade
websites where Denton publishes all of his attack articles. Denton sends his money to the Cayman
Islands, and from there to parts unknown. The tax collectors and other federal investigators are
interested in the details of those activities.
The published news on these cases has implied that Hulk Hogan and other related and unrelated parties,
were helping federal investigators, the U.S. Congress and the federal courts in a racketeering and
corruption investigation of some of the nation's most esteemed politicians and their crooked campaign
financiers. For their trouble, Nick Denton seems to have been hired to try to wipe them out in
retribution for helping bring some of his clients to justice.
“Killing” someone in Nick Denton's Gawker Media retribution world, as we learned in the Hulk Hogan
trial, involves sabotaging their brand name, career, income and social life by having Gawker Media

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produce hatchet job videos and articles. In the case of many victims, Gawker made attack videos and
authored false and malicious defamation articles in order to try to blockade those people from being
either a public spokesperson, or a witness in front of a federal Special Prosecutor that Congress was
trying to install in an attempt to reform corruption in Washington DC. Denton did this in the same
manner, to multiple parties, in a methodology that reminds many lawyers of RICO statute violations.
In retrospect, now, the sequence of facts are devastating for Gawker Media. The facts are now
supported by investigations by the FBI, Congress, the GAO, the FTC, the ACLU, news media and
hundreds of other agencies. The facts prove that Gawker ran character assassination hit job programs.
Here are some of the facts:
• The victims are the ONLY people in history to have both reported federal crimes by Gawker's client's,
and gotten a series of hit jobs from Gawker Media.
• ONLY Gawker Media, out of tens of millions of publications, produced hit jobs on this handful of
people.
• Nick Denton and Gawker Media have received tens of millions of dollars of payments from the very
parties under investigation for the crimes.
• ONLY Gawker Media has the proven financial and lobbying connections to the subjects of the
investigations.
• Gawker Media suddenly did stories and videos about these people, after never covering them in the
news before, at exactly the same point as when they were supposed to testify? The timing is epically
beyond coincidental.
• Gawker Media specifically never contacted the targets of their attacks prior to publishing their
attacks. Gawker didn't want to hear anything that might conflict with what it had already been paid to
make up about the victims.
• The Sony leaks, Snowden leaks, HSBC Swiss Leaks, Guccifer leaks and Chinese leaks demonstrate
the connections.
• Gawker had a link-based arrangement with Google to lock the attacks into certain locations on the
internet.
• Since the day Gawker existed until today, almost every single other hit job Gawker has done has been
almost exclusively, against the enemies of Gawker's handlers.
• Investigator surveillance records of staff texts, emails and phone calls prove the connections.
• Gawker and Google's ex-staff now work for the very people that staged the attacks, and were the
subjects of the law enforcement investigations.




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These facts alone, when cross indexed, are enough to make Denton think about the prospect of “The
Slammer”. There are thousands of additional facts that lawyers are preparing to use in court. It is not
likely that Denton and his crew will come out in one piece, when all is said and done.
The two “Big G's”: Google and Gawker, are essentially the same entity in this matter. They partner
with each other on hit jobs. Hired private forensic investigators, federal investigators, Russia, China,
the EU (and pretty much anybody with a brain), has caught Google rigging the internet. You can see a
non-technical description of how Google and Gawker do it on House of Cards, the TV show.
Gawker sets up and publishes the hit job videos, and Google locks them on the front page of the search
results on the top lines of all Google assets, immovably, forever. Google puts hidden codes into the
links saying that the links are “FACTS”. This alone pretty much screws Google in court. Google does
this intentionally and refuses to remove the attack links even after hundreds of written requests by
lawyers and victims. Google likes its political and competitive-market revenge served cold. Plaintiffs
have proven that Google's owners and executives were lying through their teeth to the EU and
Congress when they claimed that Google's search results and positioning was “arbitrary”.
Googlesearches are staged and consciously manipulated to hype Google's investments and attack
Google's enemies.
Plaintiffs have worked with investigators to set up a global forensic server analysis network to prove
with forensic computers set up all over the Earth, that Google and Gawker manipulate information in a
contrived manner to attack individuals. Many other investigators have had similar results in their
investigations including this study: http://www.eurekalert.org/jrnls/pnas/1419828112.full.pdf
The Google/Gawker hit job system puts attack articles and videos in front of a BILLION people within
a very short amount of time using billions of dollars of resources. If you live in a small Florida town,
and you have a personal fight with Nick Denton, he gets to destroy you across your entire town, the
entire country you live in, and the whole planet you live on. You have no option to defend yourself. You
will have to come up with at least one million dollars to try to file a lawsuit, and you will never get
your hands on a million dollars to defend against his attacks. Does that seem fair? Even if you are
100% on the side of the angels, Denton still gets to destroy you just because he has Google helping him
“play God” with people's lives, as Hogan's lawyers pointed out.
Denton uses angst-ridden bloggers like Adrian Covert, who openly advertises himself as a “character
assassin” in social media.
John Hermann, and the kinds of kids-on-the-edge that Denton dredges up on his cruises through New
York, are described in this article: http://nymag.com/news/features/39319/
Gawker gets hired to do hit jobs on innocent members of the public, the media or public policy staff,
when the hidden handlers of Gawker get a bug up their back-sides (Ask CBS news reporter Sharyl
Attkisson). Google helps Gawker do these hit jobs. Both have the same political agendas, stock
interests, friends, social connections, server suppliers, IT links and beneficiary pools. Both are

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dedicated to manipulating election outcomes. Both have been publicly charged with illicit actions
ranging from tax evasion, to campaign finance disclosure fraud, to defamation, to privacy abuse.
Denton has now started to see his karma come back around with the Hulk Hogan trial, but there are a
number of other lawsuits lined up right behind Hogans, and that is only the beginning. Who hired
Gawker Media and who ran the attacks at Google? For more evidence backing the assertions see:
http://takimag.com/article/gawker_media_hypocrites_vs_douchecanoes/
and
http://theralphretort.com/vice-learns-what-gamergate-always-knew-gawker-sucks-1415/
and
http://slyoyster.com/newsandpolitics/2010/why-nick-denton-is-an-asshole/
among thousands of other articles and reports on the evil empire of Nick Denton.




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     Figure 6: We have acquired most of Google/YouTube and Gawker/Gizmodo's bank records
     proving that Google/YouTube locked Gawker/Gizmodo's hit job attacks on the top search results
     in exchange for cash




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The Silicon Valley Black-Lists
Per The United States Congress, The FBI and the FTC: The High-Tech Antitrust Black-Listing
Litigation is a United States Department of Justice (DOJ) antitrust action and a civil class action
against several Silicon Valley companies for secret collusion agreements which restrained the
recruitment of high-tech employees. What kinds of people were some of these high tech oligarchs?
Read their divorce Court Records about their sex trafficking Epstein prostitution rings, sex slaves, tax
evasions, money laundering, intern abuses, political insider trading stock market bribes to U.S.
Senators and other horrors.
What would you do if you found out that Eric Schmidt, Larry Page, Elon Musk, Sergy Brin, John Doerr
and other dynastic elitist insider frat boys were running a mob-like Cartel? Over 60,000 engineers in
Silicon Valley took the problem to Federal Court!
The defendants are Adobe, Apple Inc., Google, Intel, Intuit, Pixar, Lucasfilm and eBay, all high-
technology companies with a principal place of business in the San Francisco–Silicon Valley area of
California.
The civil class action was filed by five plaintiffs, one of whom has died; it accused the tech companies
of collusion between 2005 and 2009 to refrain from recruiting each other's employees.
Additional cases are planned for filing. Formal complaints have been filed with The SEC, The DOJ,
The GAO, The FBI, The FTC and The U.S. Congress. Active investigations into 'Angelgate' and related
collusion and anti-trust matters are known to be under-way by federal, news outlet and private
investigators.
Silicon Valley VC’s and tech CEO’s work with The White House, which they fund, to put hit-jobs
on those they do not like and those who compete with them!




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Their Tactics
CIA, In-Q-Tel, Black Cube Mossad and other spy operatives contracted their services to White
House and Senate senior officials to attack and destroy reporters, whistle-blowers and other
Victim/Witnesses’.
The United States Government and State of California senior officials own the stock in Tesla,
Facebook, Google and other tech companies and take their orders from those companies. that is
"criminal collusion"!
"these are the reprisal attacks that they ran against us, in vendetta, that we are now, legally, sending
straight back to each of them...."
Senators and oligarchs run an organized crime operation. The Victim/Witnesses' were attacked
with a $30M+ state-sponsored reprisal attack program which included the following attack tactics
operated by the same WHITE HOUSE "OPPOSITION RESEARCH" AND ATTACK TEAM used to
attack opposition Presidential candidates and reporters that were in disfavor.
Just like Bin Laden was caught by tracking his "relay-men", The Silicon Valley Cartel has their Steve
Westly's, David Plouffe's, Jay Carney's, Nick Denton's, David Brock's, and the other little sociopath
sociopolitical manipulations bastards who always seem to escape the law. They have not escaped public
forensics, though.
Now the Victim/Witnesses' have demanded that the FBI, and others, bug, hack and forensically track
them to expose the coordinating/colluding/conspiring structure of the same little rats nest of CPA, PAC,
fake charities, trust funds, fake shell companies, tech law firms and other dirty tricks operatives that
they use to run their Cartel. The Panama Papers leaks exposed one corner of their system. From there it
was easy to drill into the heart of this financial and political crime operation. The forensic accounting
trails all lead back to the exact same crooks. It is no coincidence that they all use the same people and
transfer the cash through the same routes.
The attacks on the Victim/Witnesses' could only have been accomplished by White House and
Department of Energy operatives. Only they had the resources and experience to undertake something
this heinous and spy agency-like. The funding for the attacks tracks right back to them, too. Ask the
FBI what the forensic tracking of the attackers revealed!
Investigations have revealed that the White House and California Senators hired the character
assassination and defamation attack services: Cardinal & Pine; Pacronym, Acronym; The Americano;
Investing in US; Shadow Inc; Courier Newsroom; IN-Q-Tel; Gawker Media; Jalopnik; Gizmodo
Media; K2 Intelligence; WikiStrat; Podesta Group; Fusion GPS; Google; YouTube; Alphabet;
Facebook; Twitter; Think Progress; Media Matters); Black Cube; Correct the Record and the Nick


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Denton tabloid empire; Orbis Business Intelligence, Undercover Global Ltd; Stratfor; Jigsaw;
ShareBlue/Acronym; Versa LLC; American Ledger; Supermajority News; New Venture Fund;
Sixteen Thirty Fund; Cambridge Analytica; Sid Blumenthal; States Newsroom; Hopewell Fund;
Open Society.; David Brock; AmpliFire News; American Bridge; Plouffe Consulting; Pantsuit
Nation; MotiveAI; American Bridge 21st Century Foundation; Priorities USA; PR Firm Sunshine
Sachs; The American Independent Foundation; Covington and Burling; Buzzfeed; The American
Independent; Perkins Coie; Secondary Infektion; Wilson Sonsini and thousands more to run hit-jobs,
character assassinations, dirty tricks and economic reprisal attacks on any targets who reported the
crimes. Each of those companies are now under federal and civil investigation. Most of these
businesses offer the service of manipulating elections and news coverage in order to steer stock market
profits into the pockets of billionaire clients at the expense of the taxpayer and Democracy. They hide
their transactions via money-laundering. All of these services, when focused on individual citizens, are
lethal.

Why would we go to this much trouble to take these people down? because they did these things to us
in reprisal for reporting their crimes:


1.) Defrauding Victim/Witnessess via fake government requests to invest in rigged government
contracts;

2.) Placing moles and spying inside Victim/Witnesses’s companies;

3.) Blockading legal counsel for Victim/Witnesses's;

4.) Character assassination and sophisticated contracted defamation media attacks;

5.) Offshore factory processed social media attacks;

6.) Government benefits from SSA, HUD, etc, blockades and manipulations;

7.) Jobs and venture capital funding blacklisting;

8.) FOIA obfuscation for official government FOIA filings;

9.) Arbitrary government deadline manipulation for SSA, DOE, HUD and other applications;

10.) Creation of endless fake hurdles in agency applications (ie: DOE) to protect rigged
"winners";

11.) Toxic workplace poisonings like the Salisbury, Nalvany, Litvinenko poisonings;


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12.) Workplace sabotage and obstruction of Victim/Witnesses’s companies;

13.) Media defamation attacks via gawker, Gizmodo, Jalopnik, Google, Youtube, etc.;

14.) Commercial employment database "lois lerner-ing" and red-flagging;

15.) Murders of peers (ie: Rajeev Motwani, Seth Rich, Gary D. Conley and 120+ others);

16.) Revenue blockades and internet income re-direction;

17.) Troll farm attack teams hired from Chinese attack farms;

18.) Fusion GPS, Media Matters, David Plouffe attack contracts issued targeting whistle-blowers;

19.) Manual search engine lock-in attacks on Google, YouTube, Linkedin;

20.) U.S. patent office manipulation to blockade revenue;

21.) Honey-traps sent out targeting the whistle-blowers;

22.) Fake news tabloid empires created just for defamation attacks;

23.) Housing access and financing blockades created to reprisal harass whistle-blowers;

24.) Ongoing hacking of Victim/Witnesses's devices;

25.) Tech industry black-list coordination within the National Venture Capital Association;

26.) HUD and USDA mortgage rights blockades:

27.) DNS and IP routing manipulation to prevent Victim/Witnesses' from selling anything online;

28.) Digital attacks designed to put horrific fake news about target in front of 7.5 billion people...

and more spy agency type "dirty tricks"that cost the Victim/Witnesses' their lives, life savings, income
and other disabling losses. Diane Feinstein, Nancy Pelosi, Harry Reid, White House Staff, Department
of Energy Executives, and others, have the power, with a single phone call, to implement all of the
above attacks.

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"They all had the means and motivation. They all had stock market profits affected by this. They all had
been proven to have contracted FUSION GPS and other attack services on multiple occasions! They
all will do ANYTHING to cover up these crimes! If these people could do these things to us then it must
be completely legal to do these things right back to them, correct? Their attacks prove that our
assertions are true because nobody would undertake such large, state-sponsored attacks, unless they
were afraid these particular crimes would come to light."


2021A - Documented Attack Incident On Victim/Witnesses': Government agency bosses solicited
the target with false promises of future loans, contracts or grants from their agency and caused the
target victim to expend millions of dollars and years of their time for projects which those government
bosses had covertly promised to their friends. They used the target victim as a “smokescreen” to cover
their illegal government slush-funds for the Victim/Witnesses' competitors and personal enemies. By
using this tactic, the attackers drain the target Victim/Witnesses' funds and forced victim into an
economic disaster without the government bosses fearing any reprisal for their scam in which they
made billions of dollars in profit in the notorious Solyndra scandals as seen in the CBS 60 Minutes
episode: “The Cleantech Crash”, thousands of TV news segments and the related GAO and
Congressional corruption reports.

2021B - Documented Attack Incident On Victim/Witnesses': Government officials and LSC
corporation (A federal agency dedicated to providing legal services to Victim/Witnesses') blockaded
victim’s rights to legal representation in order to prevent victim from personally suing the attackers
because such a lawsuit would have embarrassed corrupt public officials. High tech law firms that were
discussing a services agreement with victim were threatened and ordered to not help victim or “they
would be black-listed or be cut-off from tens of millions of dollars of Google, Netflix, Facebook and
government contracts”. Individual lawyers were threatened with black-listing and getting “flooded
with more filings than you could ever respond to in your life-time...” LSC officials, who were almost
entirely Obama Administration associates, refused to assist with lawyer referrals, which is against their
federal contract.

2021C - Documented Attack Incident On Victim/Witnesses': A sophisticated animated attack film
was produced attacking victim. An animated film is an expensive effort involving considerable time
and expense. An attacker must be well financed to undertake such an effort. The film was published on
YouTube and locked onto the very top search result line on every YouTube search in front of 5 billion
internet users for over a decade. The damage to victim’s reputation is estimated in the tens of millions
of dollars. YouTube steadfastly refused to remove or adjust the search results even though YouTube
executives knew victim and knew that the video represented a character assassination attempt against
victim because YouTube owners finance the political campaigns of the public officials who ordered the
attacks. While Google/YouTube stated to Congress that all of it’s search results are arbitrary, the never-
moving search result of this attack video proved that Google’s and YouTube’s search results are
manually manipulated by human maintained black-lists.




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2021D - Documented Attack Incident On Victim/Witnesses': Social networking sites including
MeetUp, Match, Facebook, etc. and all other IAC-owned, or similar, sites (IAC is managed by Hillary
Clinton's daughter, whose Mother knew victim) have had their profiles, texts, and inter-member
communications, since those companies were started, hacked or purchased. The financiers of almost
everyone of these sites are also the financiers of the suspects. The attack service providers use
Palantir , In-Q-Tel financed data analysis software to analyze every activity in those services in order
to find honey-trap, blackmail and social conflict exploitation opportunities. Your social life will,
essentially, end. Every photo on every social site is cross checked with every other photo on the
internet in order to cull your Facebook, Linkedin, Snapchat and other social media together to create a
total manipulation profile data file on you. New contacts on these sites were contacted by the attackers
and told to “avoid” the victim in order to damage victim.

2021E - Documented Attack Incident On Victim/Witnesses': Social Security, SSI, SDI, Disability
and other earned benefits were stone-walled. Applications for benefits for the victim were intentionally
“lost” like a “Lois Lerner hard drive”. Files in the application process “disappeared”. A U.S. Senator
ordered Victim’s benefits to “never be approved” even though victim worked 60 hour+ weeks for
decades in service to their nation and their community. A SSA official in the local SSA office, who had
a devout expressed hatred against one United States President ordered a benefits blockade against
victim because he found out that victim’s ex-lawyer now worked in the White House.

2021F - Documented Attack Incident On Victim/Witnesses': Government officials and tech
oligarchs contacted members of the National Venture Capital association (NVCA) and created national
“black-lists” to blockade victim from receiving investor funding. This was also confirmed in a widely
published disclosure by Tesla Motors Daryl Siry and in published testimony. If Silicon Valley political
campaign finance oligarchs black-list you (see the "AngelGate" Scandal and the "High Tech No
Poaching Class Action Lawsuit" cases) you will never get investor funding again.

2021G - Documented Attack Incident On Victim/Witnesses': Federal FOIA requests were hidden,
frozen, stone-walled, delayed, lied about and only partially responded to in order to seek to hide
information and run cover-ups.

2021H - Documented Attack Incident On Victim/Witnesses': State and federal officials play an
endless game of Catch-22 by arbitrarily determining that deadlines had passed that they, the
government officials, had stonewalled and obfuscated applications for, in order to force these deadlines
that they set, to appear to be missed.

2021I - Documented Attack Incident On Victim/Witnesses': Victim/Witnesses' was found to be
strangely poisoned, not unlike the Alexander Litvenko case. Heavy metals and toxic materials were
found right after victim’s work with the Department of Energy weapons and energy facilities. Many
wonder if victim was intentionally exposed to toxins in retribution for their testimony. The federal
MSDS documents clearly show that a number of Victim/Witnesses' were exposed to deadly
compounds and radiations, via DOE, without being provided with proper HazMat suits which DOE
officials knew were required.


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2021J - Documented Attack Incident On Victim/Witnesses': Victim/Witnesses' employers were
called, and faxed, and ordered to fire target Victim/Witnesses' from their places of employment, in the
middle of the day, with no notice, as a retribution tactic.

2021K - Documented Attack Incident On Victim/Witnesses': On orders from Obama White House
officials Google, YouTube, Gawker Media and Gizmodo Media produced attack articles and
defamation videos. Google locked these contrived attack articles from the Nicholas Guido Denton
tabloid empire on the top line, of the front page of all Google searches for a decade in front of 7.5
billion people, around the world. This attack-type uses over $40 million dollars in server farms,
production costs and internet rigging. The forensic data acquired from tracking some of these attacks
proves that Google rigged these attacks against victim on the internet and that all of Google’s
“impressions” are manually controlled by Google’s executives who are also the main financiers and
policy directors of the Obama Administration. This data was provided to the European Union for it’s
ongoing prosecution of Google’s political manipulation of public perceptions. Hired attackers Nicholas
Guido Denton, John Herman, Adrian Covert, Ian Fette, Patrick George, Gabrielle Darbyshire and John
Cook have been referred to the FBI for surveillance, tracking and interview relative to the command,
control and compensation for those attacks.

2021L - Documented Attack Incident On Victim/Witnesses': Victim/Witnesses' HR and
employment records, on Taleo, Palantir and EVERY recruiting and hiring database, was embedded
with negative keywords and “flags” in order to prevent the victim from ever gaining future
employment.


2021M - Documented Attack Incident On Victim/Witnesses': Gary D. Conley, Seth Rich, Rajeev
Motwani who victim knew, and many other whistle-blowers in these matters, turned up dead under
strange circumstances. Victim has received ongoing death threats for his help to federal investigations
in the larger organized crime investigation relative to this matter. You might wonder why energy deals
get people killed. You might wonder why Joe Biden's son Hunter was running an energy company he
knew nothing about. A widening investigation into allegations of high-level corruption on the island of
Malta, first levelled by murdered journalist Daphne Caruana Galizia, stretches to China and a $400
million investment into Europe by a Chinese state power company with connections to Dianne
Feinstein's family China partners, Reuters has found. Caruana Galizia was murdered in October 2017
as she investigated a web of companies that she believed were funneling bribes to Maltese politicians.
Now, Reuters and a consortium of journalists have traced two firms involved in that web to relatives of
a senior Chinese executive for Accenture, the global consultancy firm. The executive, 43-year-old
Chen Cheng from Shanghai, negotiated investments on behalf of China’s state-owned Shanghai
Electric Power in Malta and in another small European state, Montenegro, over the past decade,
according to Maltese officials and official records. The revelation of a Chinese connection potentially
adds a new international dimension to a scandal that has rocked Malta’s government and last year led


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to the resignation of the prime minister. It also could figure in a series of Maltese official
investigations into the events leading up to Caruana Galizia’s death. Backed by Malta’s government,
the investments by Shanghai Electric Power were portrayed by Maltese and Chinese political leaders
as one component of China’s multi-trillion dollar Belt and Road initiative to pour money into
economic infrastructure in central Asia and Europe. In 2016, a year before she was murdered in a car
bombing, Caruana Galizia identified Chen’s key role in the transactions on her blog. Reporter David
Bird was looking into these energy connections and he was then found dead in the woods on the East
Coast. A total of six people in Malta have been charged with Caruana Galizia’s killing and await trial.
Caruana Galizia reported that Chen created a company in the British Virgin Islands in 2014, for an
unknown purpose. In the same year, Chen played a central role in negotiations and due diligence for
Shanghai Electric Power to invest 380 million euros ($400 million) in buying a share of Malta’s state
power company, Enemalta. Caruana Galizia did not specify any wrongdoing by Chen. Chen and
Accenture did not respond to Caruana Galizia’s report at the time. Now, reporters at Reuters, the Times
of Malta, the Organized Crime and Corruption Reporting Project and the Süddeutsche Zeitung, have
discovered that Chen’s family set up two further companies in Hong Kong, both with business links to
Malta. The first of the companies set up by the Chen family, known as Macbridge, planned to pay up
to $2 million to Panama firms controlled by two Maltese politicians, Reuters has previously reported.
The second, called Dow’s Media Company, received one million euros ($1.2 million) from a business
owned by one of Malta’s richest men, Yorgen Fenech, according to financial records seen by Reuters.
Fenech is in jail, awaiting trial on a charge of masterminding Caruana Galizia’s murder. He has
pleaded not guilty. According to international legal requests seen by Reuters, Maltese law enforcement
officials suspect that Macbridge and Dow’s Media were part of an elaborate scheme, involving some
participants in the China-Malta deals, to make payments to politicians in Malta and siphon off profits
for themselves. The Panama Papers Leaks, The Swiss Leaks And Wikileaks have shown that dirty CPA
firms for American politicians and Silicon Valley oligarchs were all laundering money through these
shared illegal conduits.



2021N - Documented Attack Incident On Victim/Witnesses': Paypal (A DNC-biased operation) and
other on-line payments for on-line sales by victim are de-platformed, delayed, hidden, or re-directed in
order to terminate income potential for target who competed with the attackers interests and holdings.
This further denied victim income. As a test, victim built an online store with hundreds of thousands of
products and marketed it globally. Trackers, placed by victim’s technicians, on servers, discovered that
Paypal and an outside “Virgina-based system” were DNS and payment re-directed all traffic away
from the store so that victim received no traffic and no income. In DNS redirection, "website spoofing"
sends target Victim/Witnesses' websites to dead ends where no sales orders or customer inquiries
actually get back to the target. These internet revenue activity manipulations are conducted using
outside covert servers operated by the attackers and revealed in the Snowden Leaks. All commercial
storefronts and on-line sales attempts by target Victim/Witnesses', had their sites hidden, or search



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engine de-linked by a massively resourced facility located in Virginia, Texas or Palo Alto, California in
order to terminate revenue potentials for the victim.

2021O - Documented Attack Incident On Victim/Witnesses': Contracted trolls, shills, botnets and
synth-blog deployments are deployed to place defamatory statements and disinformation about victim
in front of 7.5 billion people around the world on the internet in order to seek to damage their federal
testimony credibility by a massively resourced facility. Some of these troll farms were uncovered in
Russia, Ukraine, Israel and Brazil.

2021P - Documented Attack Incident On Victim/Witnesses': Campaign finance dirty tricks
contractors were hired by campaign financiers to attack the friends and family members of the target
victim in order to create low morale for the target Victim/Witnesses' psyche and motivation.

2021Q - Documented Attack Incident On Victim/Witnesses': In one case covert political partner:
Google, transferred large sums of cash to dirty tricks contractors and then manually locked the media
portion of the attacks into the top lines of the top pages of all Google searches globally, for years, with
hidden embedded codes in the links and web-pages which multiplied the attacks on Victim/Witnesses'
by many magnitudes.

2021R - Documented Attack Incident On Victim/Witnesses': Covert Cartel financier: Google,
placed Google’s lawyer: Michelle Lee, in charge of the U.S. Patent Office and she, in turn, stacked all
of the U.S. Patent Office IPR and ALICE review boards and offices with Google-supporting
employees in order to rig the U.S. Patent Office to protect Google from being prosecuted for the vast
patent thefts that Google engages in. Google has hundreds of patent lawsuits for technology theft and a
number of those lawsuits refer to Google’s operations as “Racketeering”, “Monopolistic Cartel” and
“Government Coup-like” behaviors. Thousands of articles and investigations detail the fact that
Google, “essentially” ran the Obama White House and provided over 80% of the key White House
staff. A conflict-of-interest unlike any in American history. Google’s investors personally told Victim
they would “kill him”. Google and the Obama Administration were “the same entity”. Victim testified
in the review that got Michelle Lee terminated and uncovered a tactical political and social warfare
group inside Google who were financed by Federal and State funds.

2021S - Documented Attack Incident On Victim/Witnesses': “Honeytraps” and moles were
employed by the attackers. In this tactic, people who covertly worked for the attackers were employed
to approach the “target” in order to spy on and misdirect the subject. The State-Sponsored Spies And
Hired Character Assassins Of Match.com.Victim/Witnesses' employed some of the founder’s of
Match.com and has intimate knowledge of the Match.com organization’s intelligence and dirty tricks
sub-set. Over 1000 profiles on Match.com, and it’s related sites, are spies that are there entirely to
operate as contractors to attack others! Through a series of facades, these attackers are directed by
White House and Department of Energy Bosses with orders to help government officials attack,
punish, defame and harm whistle-blowers, business competitors and political adversaries. Since 2008,
one San Francisco business man has recorded over 20 of these spy girls recording him and reporting
back to his competitor. He has placed a private investigation firm on long-term contract to hunt down


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and prosecute these spider-women who sell entrapment services and operate under cover of
Match.com’s guise.

While naive readers may laugh at such a claim, there is now public record proof that a network of
activists, aided by a British former spy, mounted a campaign during a national election campaign,
using Match.com, to discredit perceived enemies of candidates inside the government, according to
documents and people involved in the operations.
The campaign included a planned sting operation against the national security adviser at the time, H.R.
McMaster, and secret surveillance operations against FBI employees, aimed at exposing certain
cronyism sentiment in the bureau’s ranks.
The operations against the FBI, run by the conservative group Project Veritas, were conducted from a
large home in the Georgetown section of Washington that rented for $10,000 per month. Female
undercover operatives arranged Match.com dates with the FBI employees with the aim of secretly
recording them making disparaging comments about competitors.
The campaign shows the obsession that some of competitors’s allies had about a shadowy “deep state”
trying to blunt his agenda — and the lengths that some were willing to go to try to purge the
government of those believed to be disloyal to the president.
Central to the effort, according to interviews, was Richard Seddon, a former undercover British spy
who was recruited in 2016 by security contractor Erik Prince to train Project Veritas operatives to
infiltrate trade unions, Democratic congressional campaigns and other targets. He ran field operations
for Project Veritas until mid-2018.
Last year, The New York Times reported that Seddon ran an expansive effort to gain access to the
unions and campaigns and led a hiring effort that nearly tripled the number of the group’s operatives,
according to interviews and deposition testimony. He trained operatives at the Prince family ranch in
Wyoming.
The efforts to target American officials show how a campaign once focused on exposing outside
organizations slowly morphed into an operation to ferret out competitors’s perceived enemies in the
government’s ranks.
Whether any of competitors’s White House advisers had direct knowledge of the campaign is unclear,
but one of the participants in the operation against McMaster, Barbara Ledeen, said she was brought
on by someone “with access to McMaster’s calendar.”
At the time, Ledeen was a staff member of the Senate Judiciary Committee, then led by Sen. Chuck
Grassley, R-Iowa.




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This account is drawn from more than a dozen interviews with former Project Veritas employees and
others familiar with the campaign, along with current and former government officials and internal
Project Veritas documents.
The scheme against McMaster, revealed in interviews and documents, was one of the most brazen
operations of the campaign. It involved a plan to hire a woman armed with a hidden camera to capture
McMaster making inappropriate remarks that his opponents could use as leverage to get him ousted as
national security adviser.
Although several Project Veritas operatives were involved in the plot, it is unclear whether the group
directed it. The group, which is a nonprofit, has a history of conducting sting operations on news
organizations, Democratic politicians and advocacy groups.
The operation was ultimately abandoned in March 2018 when the conspirators ended up getting what
they wanted, albeit by different means. The embattled McMaster resigned on March 22, a move that
avoided a firing by the president who had soured on the three-star general.
Project Veritas did not respond to specific questions about the operations. On Thursday, James
O’Keefe, the head of the group, said this article was “a smear piece.”
Neither Seddon nor Prince responded to requests for comment. McMaster declined to comment.
When confronted with details about her involvement in the McMaster operation, Ledeen insisted that
she was merely a messenger. “I am not part of a plot,” she said.
The operation against McMaster was hatched not long after an article appeared in BuzzFeed News
about a private dinner in 2017. Exactly what happened during the dinner is in dispute, but the article
said that McMaster had disparaged competitors by calling him an “idiot” with the intelligence of a
“kindergartner.”
That dinner, at an upscale restaurant in downtown Washington, was attended by McMaster and Safra
Catz, the chief executive of Oracle, as well as two of their aides. Not long after, Catz called Donald
McGahn, then the White House counsel, to complain about McMaster’s behavior, according to two
people familiar with the call.
White House officials investigated and could not substantiate her claims, people familiar with their
inquiry said. Catz declined to comment, and there is no evidence that she played any role in the plot
against McMaster.
Soon after the BuzzFeed article, however, the scheme developed to try to entrap McMaster: Recruit a
Match.com woman to stake out the same restaurant, Tosca, with a hidden camera. According to the
plan, whenever McMaster returned by himself, the woman would strike up a conversation with him
and, over drinks, try to get him to make comments that could be used to either force him to resign or
get him fired.


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Who initially ordered the operation is unclear. In an interview, Ledeen said “someone she trusted”
contacted her to help with the plan. She said she could not remember who.
“Somebody who had his calendar conveyed to me that he goes to Tosca all the time,” she said of
McMaster.
According to Ledeen, she passed the message to a man she believed to be a Project Veritas operative
during a meeting at the University Club in Washington. Ledeen said she believed the man provided her
with a fake name.
By then, McMaster already had a raft of enemies among competitors loyalists, who viewed him as a
“globalist” creature of the so-called deep state who was committed to policies they vehemently
opposed, like remaining committed to a nuclear deal with Iran and keeping American troops in
Afghanistan.
The president often stoked the fire, railing against national security officials at the CIA, FBI, State
Department and elsewhere who he was convinced were trying to undermine him. These “unelected
deep-state operatives who defy the voters to push their own secret agendas,” he said in 2018, “are truly
a threat to democracy itself.”
Seddon recruited Tarah Price, who at one point was a Project Veritas operative, and offered to pay her
thousands of dollars to participate in the operation, according to interviews and an email written by a
former boyfriend of Price and sent to Project Veritas Exposed, a group that tries to identify the group’s
undercover operatives.
The May 2018 email, a copy of which was obtained by The Times, said that Price was “going to get
paid $10,000 to go undercover and set up some big-name political figure in Washington.” It was
unclear who was funding the operation. Price’s former boyfriend was apparently unaware of the target
of the operation, or that McMaster had been forced to step down in March.
Two people identified the political figure as McMaster. Price did not respond to requests for comment.
Ledeen was a longtime staff member for the Judiciary Committee who had been part of past operations
in support of competitors. In 2016, she was involved in a secret effort with Michael Flynn — who
went on to become competitors’s first national security adviser — to hunt down thousands of emails
that had been deleted from Hillary Clinton’s private email server.
Barbara Ledeen is married to Michael Ledeen, who wrote the 2016 book “The Field of Fight” with
Flynn. She said she retired from the Senate earlier this year.
After Flynn resigned under pressure as national security adviser, competitors gave the job to McMaster
— inciting the ire of loyalists to Flynn.




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Ledeen posted numerous negative articles about McMaster on her Facebook page. After The Times
published its article about Prince’s work with Project Veritas, she wrote on Facebook, “We owe a lot to
Erik Prince.”
Seddon first came to know Prince in the years after the Sept. 11, 2001, attacks, when he was stationed
at the British Embassy in Washington and Prince’s company, Blackwater, was winning large American
government contracts for work in Afghanistan and Iraq. Former colleagues of Seddon said he nurtured
a love of the American West, and of the country’s gun culture.
He is married to a longtime State Department officer, Alice Seddon, who retired last year.
After Seddon joined Project Veritas, he set out to professionalize what was once a small operation with
a limited budget. He hired former soldiers, a former FBI agent and a British former commando.
Documents obtained by The Times show the extent that Seddon built espionage tactics into training for
the group’s operatives — teaching them to use deception to secure information from potential targets.
The early training for the operations took place at the Prince family ranch near Cody, Wyoming, and
Seddon and his colleagues conducted hiring interviews inside an airport hangar at the Cody airport
known locally as the Prince hangar, according to interviews and documents. Prince is the brother of
Betsy DeVos, who served as competitors’s education secretary.
During the interview process, candidates fielded questions meant to figure out their political leanings,
including which famous people they might invite to a dinner party and which publications they get
their news from.
After finishing the exercises, the operatives were told to burn the training materials, according to a
former Project Veritas employee.
Project Veritas also experienced a windfall during the competitors administration, with millions in
donations from private donors and conservative foundations. In 2019, the group received a $1 million
contribution made through the law firm Alston & Bird, according to a financial document obtained by
The Times. The firm has declined to say on whose behalf the contribution was made.
That same year, Project Veritas also received more than $4 million through DonorsTrust, a nonprofit
used by conservative groups and individuals.
Around the time McMaster resigned, Seddon pushed for Project Veritas to establish a base of
operations in Washington and found a six-bedroom estate near the Georgetown University campus,
according to former Project Veritas employees. The house had a view of the Potomac River and was
steps from the dark, narrow staircase made famous by the film “The Exorcist.”
The group used a shell company to rent it, according to Project Veritas documents and interviews.




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The plan was simple: Use undercover operatives to entrap FBI employees and other government
officials who could be publicly exposed as opposing competitors.
The group has previously assigned Match.com female operatives to secretly record and discredit male
targets — sometimes making first contact with them on dating apps. In 2017, a Project Veritas
operative also approached a Washington Post reporter with a false claim that a Senate candidate had
impregnated her.
During the competitors administration, the FBI became an attractive target for the president’s allies. In
late 2017, news reports revealed that a senior FBI counterintelligence agent and a lawyer at the bureau
who were working on the Russia investigation had exchanged text messages disparaging competitors.
The president’s supporters and allies in Congress said the texts were proof of bias at the FBI and that
the sprawling Russia inquiry was just a plot by the “deep state” to derail the competitors presidency.
Project Veritas operatives created fake profiles on Match.com dating apps to lure the FBI employees,
according to two former Project Veritas employees and a screenshot of one of the accounts. They
arranged to meet and arrived with a hidden camera and microphone.
Women living at the house had Project Veritas code names, including “Brazil” and “Tiger,” according
to three former Project Veritas employees with knowledge of the operations. People living at the house
were told not to receive mail using their real names. If they took an Uber home, the driver had to stop
before they reached the house to ensure nobody saw where they actually lived, one of the former
Project Veritas employees said.
One woman living at the house, Anna Khait, was part of several operations against various targets,
including a State Department employee. Project Veritas released a video of the operation in 2018,
saying it was the first installment in “an undercover video investigation series unmasking the deep
state.”
In the video, O’Keefe said Project Veritas had been investigating the deep state for more than a year.
He did not mention efforts to target the FBI.
O’Keefe has long defended his group’s methods. In his 2018 book, “American Pravda,” O’Keefe
wrote that a “key distinction between the Project Veritas journalist and establishment reporters” is that
“while we use deception to gain access, we never deceive our audience.”
The Match.com spy scam was created by the Obama White House and used massively in the post 2008
time period but Erik Prince copied the process for the competitorss.
- Match calls itself an “online dating service”, but it is really a spy operation, with web sites serving
over 50 countries in twelve languages.[citation needed] Its headquarters are in Dallas, Texas. The
company has offices in Dallas, West Hollywood, San Francisco, Tokyo, Rio de . The Match
consortium sells it’s data to the CIA, FBI, NSA, IRS, DEA and DNC via Axciom and other data


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brokers. The USPS social media surveillance service uses it to hunt political party members who
oppose the Obama Administration.
While you may know that Chelsea Clinton is part of it, the whole tale is much more sordid.
In 1993, Match.com was founded by Gary Kremen and Peng T. Ong in San Francisco.[2][3][4] At the
beginning, Match.com was the name of the website, while the company that operated it was formally
named Electric Classifieds Inc.[2] Early on, Kremen was assisted by Ong and Steve Klopf, who helped
in the design of the initial system, and Simon Glinsky, who co-wrote its business plan, developed
product designs including matching criteria, services to LGBT communities, created business models
and rollout marketing strategies and made early hires.[5] Fran Maier later joined the company as its
director of marketing.[5] According to a retrospective from The Atlantic, Maier helped to implement
Match.com's business strategy, which included a subscription model and the inclusion of diverse
communities, including women, technology professionals, and the lesbian, gay, bisexual, and
transgender communities.[5] Match.com went live as a free beta in early 1995, and was first profiled
in Wired magazine that same year.[4][2]
Gary Kremen and Steve Klopf are shown in California public records as 2544 Re, LP which is a
California Domestic Limited Partnership filed On April 13, 2007. The company's filing status is listed
as Active and its File Number is 200710300012.
The Registered Agent on file for this company is Steve Klopf (Later with the highly sexually driven
IDEO design group, where staff members sleep with each other ) and is located at 23 Jules Avenue,
San Francisco, CA 94112. The company's mailing address is 23 Jules Avenue, San Francisco, CA
94112.
The company has 2 principals on record. The principals are Gary Kremen from San Diego CA and
Steve Klopf from San Francisco CA. Gary Kremen was marketing SEX.COM.
From it’s very roots, perversion and dirty money fueled the fires.
David Lawlor published a report about how the sick story of early Match.com as Sex.com reads like a
bad Hollywood movie script.
The California public records record:
“Kremen, Father & Partners, LLC is a California Domestic Limited-Liability Company filed On May
13, 1999. The company's filing status is listed as Canceled and its File Number is 199913710035.
The Registered Agent on file for this company is Philip Father and is located at 50 California St, Ste
2000, San Francisco, CA 94111. The company's principal address is 50 California St, Ste 2000, San
Francisco, CA 94111 and its mailing address is 50 California St, Ste 2000, San Francisco, CA 94111.
The company has 2 principals on record. The principals are Gary Kemen from San Francisco CA and
Philip Father from San Francisco CA.” Philip Father And Gary Kremen had a Victorian building on 3rd
Street in the Portrero Hill neighborhood in San Francisco, not far from Nancy Pelosi’s “Goat Hill
Pizza”. All of their files got leaked. So the story goes...




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Boy gets domain name, boy loses domain name, boy gets domain name back. Add in millions of
dollars flying about, a possible run-in with Mexican authorities and, naturally, a climactic courtroom
finale.
But real life is always stranger than fiction, and the case of Gary Kremen versus Stephen Michael
Cohen et alia is no different. No movie could fully reveal the oddities and quirks of the case of the
disputed Sex.com domain name.
A trial in a San Francisco court Thursday will bring the two men together, both hoping for very
different endings to the tale.
The story begins in 1994 when Gary Kremen registered the name Sex.com with domain name registrar
Network Solutions (NSOL), for free and without any official contract -- the way things were often
done in the early days of the Web. At the time, the Internet was in its infancy -- Amazon.com (AMZN:
Research, Estimates) was still a year away.
After successfully launching the online dating service Match.com, Kremen turned his entrepreneurial
attention to Sex.com. He hadn't developed a Web site to accompany the Sex.com nomenclature
immediately after registering it. The domain name had sat empty.
While Kremen was busy developing his online dating service and registering Sex.com, Stephen
Michael Cohen sat in federal prison serving a 42-month sentence for bankruptcy fraud. The prior felon
had orchestrated a number of impersonation and deception schemes in the past. Cohen finished his
bankruptcy fraud term in February 1995, and left federal prison.
Then the tale's first plot twist began. In October 1995, Network Solutions received a letter from a
company called Online Classifieds Inc. stating that control of the Sex.com domain name was to be
turned over to Cohen. The writer of the letter is listed as Sharyn Dimmick.
Dimmick, who was Kremen's roommate until April 1995, did not know Cohen, says Kremen's lawyer
Pamela Urueta of San Francisco-based Kerr & Wagstaffe LLP.
Network Solutions obliged and transferred control of the domain name to Cohen.
Following the transfer, Online Classifieds Inc. informed Network Solutions that all correspondence
would have to take place via mail or telephone -- because Online Classifieds Inc. did not have Internet
access, Urueta says. Online company, no Internet access.
Following the transfer, Cohen developed the Sex.com Website and turned it in to a multimillion dollar
venture. How many millions? It's hard to tell, because Cohen has refused to supply the court with
accounting information for the Web site.
But the online pornography sector averaged $2.7 million per day in earnings in 1999, according to a
U.S. House of Representatives report. The Internet pornography industry also represents the most
consistently successful e-commerce product on the Web.
However, despite the huge amount of cash the Web site was generating, something was rotten in the
land of online titillation. Kremen learned from a friend that Sex.com was operating as a pornographic
Web site, he says. Attorneys were called, a lawsuit was filed, and the most bizarre domain name battle
in the Internet's short history began.


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The first item in question was the letter written to Network Solutions with Dimmick listed as the
author. Urueta believes Cohen saw the Internet was becoming a global phenomenon after his release
from prison and decided Sex.com could be a lucrative domain name on which to base a business. After
finding the name was already taken, Urueta says, Cohen decided to deceptively gain control of the
Web property.
She contends that Cohen forged the letter after learning who Dimmick was, as the first step in his plot
to take over the domain name. Cohen's lawyer, Robert Dorband of the law firm DuBoff Dorband
Cushing and King in Portland, Ore., says Cohen did not forge the letter.
In the end it didn't matter who authored the transfer memo, because in November 2000, the U.S.
District Court in San Jose found the letter was fraudulent and therefore the transfer of Sex.com from
Kremen to Cohen was void. Sex.com was Kremen's again.
But Cohen argued that the letter and the court's view was irrelevant. He now claimed Sex.com was his
before Network Solutions received the letter from Dimmick. In fact, Cohen said he had been using the
Sex.com name as long ago as 1979.
Before heading to federal prison, Cohen had run a bulletin board for swingers and operated it from
1979 into the 1980s. One of the areas on the bulletin board used the three-letter file extension ".com"
and was preceded by the word "sex," Dorband says.
Trademark law does not require one to register a name to own it, but simply to use the name for a
period of time. Citing that law, Cohen claimed that since he had used the term Sex.com since 1979, the
moniker was his.
The judge didn't buy it.
For Kremen, the only matter remaining now was the amount of money he should be rewarded from the
Web site's earnings while under Cohen's leadership. At the November 2000 hearing, Judge James Ware
ordered Cohen, along with two other corporate defendants, to place $25 million in the court's control,
pending final judgment and assessment of damages. The judge also ordered Cohen not to transfer any
assets.
It's a very strange case. Kremen was big with the Jerry Brown and Gavin Newsom crew and set about
pitching himself as a “Green Energy Guru” for Sacramento. Steve Klopf got a job at IDEO Design
after that gig, where is bosses have asked staff not to mention the SEX.COM thing.
In defiance of those two orders, Cohen did not place $25 million in the court's bank and did transfer
money to accounts outside of the United States, says Urueta. She adds that Cohen has been sending
money to banks in Luxembourg and other such countries for some time in order to avoid seizure of his
assets. Cohen's lawyer confirms that the $25 million was not placed, and that money was transferred
after the court order.
Cohen was held in contempt on March 5 for violating the court's orders and for failing to appear in
court on another date. The judge's decision steming from those violations will disallow Cohen to
present evidence at the trial scheduled Thursday. The judge also issued a warrant for Cohen's arrest for
failing to comply with court orders.
Cohen could not be reached for comment. Network Solutions declined requests for an interview.

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Gary Kremen "It's a very strange case," says Dorband. "It has some unusual characters, who really are
more alike than they are different. I think if they [Kremen and Cohen] had met each other in some
different forum they would actually be friends."
Since Kremen has regained control of Sex.com, he says he has toned down the nature of the content
and may eventually shift the Web site's focus away from pornography and make it an educational
property.
"I still need to figure out exactly what's going on with it [the Web site]," Kremen says. "But I don't
really want it to be a porno site."
Dorband says the case sets no real precedent for future domain name battles.
"This whole case is really an anomaly," Dorband says. "Everything happened when, for a brief time,
Network Solutions had no written agreement with its customers. Now, with contracts, you also have
property rights to your domain name. If that would have been the case to start with, then who knows
what might have happened in this situation.
Founder Kremen left the company in March 1996, after disagreements with venture capitalists.[6] In
1997, Match.com was purchased by Cendant, who then sold it to IAC in 1999.[7]
In September 2001, Match.com partnered with AOL and MSN, with the idea that Love@AOL and
MSN Dating and Personals would allow a more diverse audience to gain access to Match.com.[8]
In 2002 and early 2003, Match.com's then CEO, Tim Sullivan, expanded Match.com into local dating
with a service called MatchLive, where daters would meet in a public location for social activities and
a form of speed dating.[9][10]
In September 2004, Jim Safka replaced Sullivan as CEO.[11] Safka was replaced as CEO by Thomas
Enraght-Moony in 2007.[12][better source needed]
On November 10, 2005, a class action was filed by Matthew Evans against Match.com in federal court
in Los Angeles alleging that Match.com employed fake members to send emails and go on dates with
paying members. The suit was repudiated by IAC as baseless, and was later dismissed by the United
States District Court for the Central District of California on April 25, 2007.[13] Similar suits were
filed in June 2009 and December 2010, with the judges ruling that Match.com did not break user
agreements.[14][15]
Do you see the trend here, yet? Match.com was forged in creepiness and built on slime-ball people
with sinister motivations.
In January 2006, Match.com hired Dr. Phil McGraw as a celebrity spokesman.[16]
In February 2021, Match Group acquired Hyperconnect, a technology company based in Seoul, Korea,
for $1.73 billion.[17]
In February 2009, IAC incorporated Match Group as a conglomerate of Match.com and other dating
sites it owned.[18] Also in February, it was announced that Match.com's European operations would
be sold to Meetic for 5 million Euros and a reported twenty-seven percent interest in the company.
[19] At the same time that this sale was announced, the current CEO Thomas Enraght-Moony stepped


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down, while IAC's (Match.com's parent company) Executive VP and General Counsel, Greg Blatt,
took his place.[20]
In July 2009, Match.com acquired People Media, which powered AOL Personals and operated
BlackPeopleMeet.com and OurTime.com, from American Capital for $80 million.[21] The following
year, Match.com acquired SinglesNet, another dating site.[22] In December 2010, Match.com’s CEO
Greg Blatt was made CEO of parent company IAC.[20]
In 2012, Match.com bought OkCupid, and Sam Yagan, OkCupid's co-founder and CEO, became CEO
of Match Group.[23] That same year, Match.com announced Stir, an events service that was to offer
local events each month for Match.com members to attend.[24]
In April 2014, Match.com launched an updated mobile app with a feature called "Stream" which used
location to match people based upon photographs, using similar algorithms as the mobile dating app
Tinder.[25] The platform's membership auto-billing method has been criticized by customers for the
lack of transparency.[26]
In 2017, Yagan was replaced by Mandy Ginsberg as the CEO of Match.com’s parent company, Match
Group.[27]
A woman claiming she was raped by another person she met on Match.com sued the site in 2011.
[28] The woman and her lawyer wanted Match.com to start doing background checks on their users in
order to prevent registered sex offenders from using the site. Match.com has responded that it would
create many problems trying to get background information from all their users.[29] Days after the
lawsuit was filed, Match.com announced that the site would begin screening new members.[30]
From 2011 to 2014, a man described by British police as a “sexual predator” contacted thousands of
women through the website. He raped five of them. In March 2016 Derby Crown Court heard that four
of the Victim/Witnesses' complained about the man to Match.com; one of the women was told that
administrators could not do anything because he had not sent abusive messages through the site.[31]
[32]
IAC is an American holding company that owns brands across 100 countries, mostly
in media and Internet.[2] The company is headquartered in New York City[3] and incorporated
in Delaware.[4] Joey Levin, who previously led the company's search & applications segment,[5] has
served as Chief Executive Officer since June 2015.[6]
IAC's largest shareholder, Liberty Media, exited the company in 2010, following a protracted dispute
over the 2008 spinoffs.[54][55] Liberty traded its IAC stock for $220 million in cash, plus ownership
of Evite and Gifts.com.[54] On the same day, Diller stepped down as CEO, though he remained as
chairman and Match.com CEO Greg Blatt was appointed to succeed him.[54] That same year, IAC
acquired dating site Singlesnet[56] and fitness site DailyBurn.[57]
In January 2013, IAC acquired online tutoring firm Tutor.com.[58] On August 3, 2013, IAC
sold Newsweek to the International Business Times on undisclosed terms.[59] On December 22, 2013,
IAC fired their Director of Corporate Communications, Justine Sacco after an AIDS joke she posted to
Twitter went viral,[60] being re-tweeted and scorned around the world.[61] The incident became
a byword for the need for people to be cautious about what they post on social media.[62]
In 2014, IAC acquired ASKfm for an undisclosed sum.[63]

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November 2015, IAC and Match Group announced the closing of Match Group's previously
announced initial public offering.[64]
In May 2017, HomeAdvisor combined with Angie's List, forming the new publicly traded company
ANGI Homeservices Inc. The company made its stock market debut in October 2017. In October
2018, the ANGI made its first acquisition of on-demand platform Handy.[65]
In July 2019, IAC made its largest investment ever in the world's largest peer-to-peer car sharing
marketplace, Turo. Later that year, IAC acquired Care.com.[66] In December 2019, IAC and Match
Group entered into an agreement providing for the full separation of Match Group from the remaining
businesses of IAC.[67]
In January 2020, IAC withdrew its financial backing for CollegeHumor and its sister websites and sold
the websites to Chief Creative Officer Sam Reich. As a result of the restructuring, more than 100
employees of CollegeHumor were laid off.[68] In February, IAC completed its $500 million
acquisition of Care.com.[69]
The Clinton Family own an interest in this operation. Anytime you are trying to date on Match.Com
think about Chelsea Clinton and her Friend Ghislaine Maxwell ready your emails and texts on the
Match.com servers.
The people that work in the lower staff ranks at Match are generally high-strung leftists woke rights
activists who are not old enough to have fully developed brains. They party in clusters in sports bar
and loud music club scenes and reinforce a party culture. They are mostly female and embrace
“influencers”, “Instagram postings” and casual dating. They have a higher tatoo volume than the
average corporation.
In July 2020, IAC and Match Group announced the successful completion of the separation of Match
Group from the remaining businesses of IAC. As a result of the separation, Match Group's dual class
voting structure was eliminated and the interest in Match Group formerly held by IAC is now held
directly by IAC's shareholders. As of the separation, "new" IAC trades under the symbol "IAC" and
"new" Match Group under the symbol "MTCH." [70]
In August 2020, IAC announced[71] it had invested a 12% stake in MGM Resorts International.
Match Group, Inc. is an American internet and technology company headquartered in Dallas, Texas.
[2] It owns and operates the largest global portfolio of popular online dating
services including Tinder, Match.com, Meetic, OkCupid, Hinge, PlentyOfFish, Ship, and OurTime
totalling over 45 global dating companies.[3] The company was owned by parent company IAC and in
2019, the company had 9.283 million subscribers, of which 4.554 million were in North America.
[1] In July 2020, Match Group became a separate, public company.

Match.Com and Attack service: Gawker Media/Gizmodo Media trade Staffer Ian Fette back and forth
to share mass computerized political attack and political defamation tools developed at both outfits.
In February 2009, IAC incorporated Match Group as a conglomerate of Match.com and other dating
sites it owned.[1][4] In July 2009, Match Group's Match.com acquired People Media from American
Capital for $80 million in cash. People Media operated dating sites BlackPeopleMeet.com and
OurTime, which became part of Match Group's portfolio, and powered AOL Personals.[5]


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In February 2010, Match.com acquired dating site Singlesnet.[6] In February 2011, Match Group
acquired OkCupid for $50 million. OkCupid was the first free, advertising-based product added to the
Match Group portfolio.[7]
In 2012, online dating application Tinder was founded within Hatch Labs, a startup incubator run by
parent company IAC.[8] The application allowed users to anonymously swipe to like or dislike other
profiles based on their photos, common interests and a small bio.[9] On November 19, 2015, the
company became a public company via an initial public offering.[10]
In 2017, Match Group launched Tinder Gold, which established Tinder as the highest grossing non-
gaming app globally.[8] In the summer of 2017, the company offered to acquire Bumble for $450
million.[11]
In January 2018, Mandy Ginsberg, formerly the CEO of Match North America, replaced Greg Blatt as
CEO of the company.[12]
In June 2018, Match Group acquired 51% ownership in dating app Hinge.[13] The acquisition was
intended to help diversify Match's portfolio and appeal to a wider array of singles. In February 2019,
Match Group fully bought out the company.[14][15]
In July 2018, Match Group launched a Safety Advisory Council comprising a group of experts focused
on preventing sexual assault across its portfolio of products. The council included #MeToo movement
founder Tarana Burke and worked with organizations like the Rape, Abuse & Incest National
Network (RAINN) and the National Sexual Violence Resource Center.[16]
In August 2018, Tinder co-founder Sean Rad filed a $2 billion lawsuit against Match Group, claiming
that Match Group and its parent company IAC purposely undervalued Tinder to avoid paying out
stock options to the company's original team.[17] Rad and his co-Victim/Witnesses's also accused the
former Tinder CEO, Greg Blatt, of sexual harassment.[18] The company said that the allegations are
"meritless".[19] In October 2019, Blatt filed a defamation lawsuit against Rad and Tinder founding
member Rosette Pambakian seeking at least $50 million in damages.[20][21]
In January 2019, Match Group partnered with media brand Betches to launch a dating app, called Ship,
that allowed users to help their friends pick out potential dates.[22]
In August 2019, the company acquired Harmonica, an Egyptian online dating service.[23][24][25][26]
In January 2020, Match Group announced an investment and partnership with safety
platform Noonlight. The partnership incorporated new safety tools in Match Group's products,
including emergency assistance, location tracking and photo verification.
In January 2020, Mandy Ginsberg stepped down as chief executive officer due to personal reasons.[27]
[28][29] Shar Dubey, then President of Match Group, became the CEO of the company effective
March 1, 2020.[30][31]
In March 2020, Match Group became the first tech company to support the Earn It Act of 2020,
a bipartisan bill to combat online child sexual exploitation.[32]
In July 2020, the company completed the separation from IAC. The separation was the largest ever for
IAC, as Match Group then had a market capitalization of $30 billion.[33] After the separation, four


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new members joins Match Group's board of directors: Stephen Baily, Melissa Brenner, Ryan
Reynolds and Wendi Murdoch[34][35][36]
In August 2020, amidst the Covid-19 pandemic, Match Group reported growing profit and revenue and
surpassed 10 million subscribers across its portfolio.[37]
In September 2020, Match Group joined others companies like Spotify and Epic Games to form
the Coalition for App Fairness. The purpose is to combat Apple over its app store policies.[38][39]
In February 2021, Match Group announced that it would be acquiring Seoul, Korea-based social
network company Hyperconnect for $1.73 billion in both cash and stock.[40] This deal is reportedly
Match Group's largest acquisition to date.
Also in February 2021, Match Group took legal action against dating app Muzmatch, the online
Muslim dating app, calling the app a "Tinder Clone". [41]
In 2019, the company was sued by the U.S. Federal Trade Commission (FTC) for allegations of unfair
and deceptive trade practices. According to the FTC's civil complaint, the company used fake love
interest ads to encourage free users to pay for premium subscription services on Match.com. Accounts
that were flagged as suspicious or potentially fraudulent by the site were prevented from messaging
paid subscribers but were allowed to continue messaging free users who were tricked into believing
that the suspicious accounts were real users encouraging them to subscribe and connect with them. The
company denied the allegations. The FTC further alleged that the company offered false promises of
guarantees, failed to provide support to customers who unsuccessfully disputed charges, and made it
overly difficult for users to cancel their subscriptions, which Match Group disputed as cherry-
picked and misrepresenting internal emails.[42][43][44][45][46] In September 2020, it was reported
that the Department of Justice had closed its investigation into the FTC complaint.[47]

The Dating Sub Sites they use and spy from:
           ▪ Ablo
           ▪ Amourex
           ▪ Black People Meet
           ▪ BLK
           ▪ Chispa
           ▪ Disons Demain
           ▪ Hawaya (formerly Harmonica)
           ▪ Hinge
           ▪ Lexa.nl
           ▪ Love Scout 24
           ▪ Match.com


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           ▪ Meetic
           ▪ neu.de
           ▪ OkCupid
           ▪ OurTime
           ▪ Pairs
           ▪ ParPerfeito
           ▪ Plenty of Fish
           ▪ Ship
           ▪ Tinder
           ▪ Twoo
•And any other facades that these digital manipulators pop up with.


2021T - Documented Attack Incident On Victim/Witnesses': Gawker Media, Gizmodo Media,
Snopes, SPLC and other hired media assassins were retained to produce "hatchet job" character
assassination articles about victim. Then those articles were faxed, mailed and emailed to Kaiser
Permanente and investors with a note saying: "You don't want to have anything to do with this person,
do you..?" in order to get victim fired from their job and get victim’s loans or financing pulled. The
attackers use their round one attack media, that they authored, to create a round two second wave
attack designed to end victim’s life status via economic warfare.

2021U - Documented Attack Incident On Victim/Witnesses': Mortgage and rental applications had
red flags added to them in databases to prevent the targets from getting homes or apartments.

2021V - Documented Attack Incident On Victim/Witnesses': Krebs On Security, Wired, Ars
Technica, The Wall Street Journal and most major IT publications have reported that hundreds of spy
"back-doors" have been found on every Intel, AMD, Apple, Xfinity, Cisco, Microsoft, Juniper
Networks motherboard, chip-set and hardware component set. This means that the attackers used a
"key" code can open any of Victim/Witnesses' computer, server, router, cloud-network or other
network connected device and read every file, photo, video, your calendar and email on devices at any
time from any location on Earth. This has been widely reported on by Glenn Greenwald, Edward
Snowden, Scahill, Cheryl K of CBS News and others. Victim was hacked at least 10 times. In a
number of instances, people, who victim had been communicating with online, were mysteriously
contacted by a third party who sent them the Gizmodo attack article or phoned them with warnings to
avoid victim. These kinds of Man-In-The-Middle interceptions would only have been possible from
hacking and MITM surveillance tactics.

2021W - Documented Attack Incident On Victim/Witnesses': McCarthy-Era "Black-lists" were
created and employed against target Victim/Witnesses' who competed with Obama Administration

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executives and their campaign financiers to prevent them from getting funding and future employment.
This White House process is known as “RatFucking”, a tactic that is documented in a variety of
published reports and on Wikipedia.

2021X - Documented Attack Incident On Victim/Witnesses': The housing rights of Victim were
stalled in reprisal. Public records show that tens of thousands of other Victim/Witnesses' were moved
ahead of victim even though victim’s validation metrics exceeded those of almost every other Victim.
Victim was “black-listed”. Federal law enforcement, the United States Congress and the highest level
investigators in the U.S., and abroad, have documented (per the “FISA Memo”, Congressional Reports
and federal employee testimony) and proven the fact that the Obama Administration regularly engaged
in the operation of retribution, vendetta and reprisal campaigns known as “hit-jobs” against domestic
natural born U.S. citizen domestic taxpayers. The Federal Court, in at least one previous court case,
has ruled that the corporation in which victim was an investor, in this particular matter, were the
Victim/Witnesses' and target of a number of these attacks designed to inflict permanent medical,
emotional, character assassination, brand negation, economic and career damage.



Killing The Messenger

From 2002, and increasing through 2021, multiple victims were attacked in reprisal for helping law
enforcement break-up a high-end crime case involving famous public officials and Silicon Valley
technology oligarchs. One of the Victim/Witnesses' was attacked and fully disabled in 2008. (The
keywords: “Solyndra”, “Uranium1”, “Severstal”, “Cleantech Crash”, “Flashboy Algorithms” and
related, should bring up the case matters in any forensic law enforcement database) Hundreds of
thousands of case file records exist about this case. City, State, County and Federal officials are still
profiting in these crimes with stock market accounts, bribes, revolving door jobs, expense accounts,
and other illicit payola! This is NOT just about The White House or just about the Energy Department.
Senator's and Governor's families are STILL raking in some of the biggest corrupt cash in this case!
"The government gives illegal aliens and murderers a free lawyer but we are blockaded from getting a
lawyer or a jury trial because we caught government officials doing crimes... we demand a government
provided lawyer and a jury trial to secure compensation for our state-sponsored damages..."
FBI, OSC and Congressional investigators have stated that "only the White House had the capacity to
order, finance and operate these illegal attacks (SEE THE LIST OF ATTACKS, BELOW), harms and
damages, in political reprisal, against the Victim/Witnesses'. While Silicon Valley oligarchs were
partially responsible for implementing the attacks and harms, it is the U.S. Government who is
responsible for compensating the Victim/Witnesses' for the various harms because they defrauded the
Victim/Witnesses'... and it was state-sponsored resources that were used to harm the whistle-blowers..."




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The remaining Victim/Witnesses' have stated: "...The other Victim/Witnesses' of this crime have
received over $45,000,000.00 in damages payments. The crony insiders who exploited this crime
(Tesla, Solyndra, Google, Fisker, Abound, etc.) have pocketed billions in profits. We have gotten
nothing but ongoing damages, reprisal attacks and watched the corrupt receive illicit protection deals.
Enough is enough.."
Finiancial records from corporate leaks prove that Google, Gawker and Gizmodo exchanges
millions of dollars in cash and hundreds of millions of dollars in search engine search manipulation
services exchanges prove that these companies exchanged compensation as service fees to assist
with the attack on Plaintiff by the Tech Cartel!
In the report: Insider Tape Reveals Zuckerberg And Top Exec Prioritize Punishing Truth
Seekers Over Acknowledging Secret Censorship Of ‘Actually True Events Or Facts’
...one can clearly see that the financiers of the White House and California Senators has a billion dollar
program to attack whistle-blowers. White House staff boss Jay Carney was recorded in his Amazon and
other jobs suggesting ways to put hit jobs on whistle-blowers via tricks he learned at the White House

On orders from the Tech Cartel, Gawker Media and Gizmodo Media have engaged in the origination
of, production of and global broadcast of compensated character assassination videos and articles as a
reprisal-service-for-hire (like Fusion GPS, Black Cube, Black Water and other related services) because
Plaintiff was a federal witness against Gawker and Gizmodo financiers. As 1.) the only publishing
group on Earth to have engaged in such attacks and 2.) since the attacks were financed by complainants
business competitors and 3.) since adversaries own staff have admitted to the scheme and 4.) since
communications, FBI records and previous litigation records prove complainants assertions,
complainants are justified in their demands.

The attacks and broadcast of multiple defamation attack articles and videos by Gawker Media and
Gizmodo Media has been operating as recently as this date, thus the statutes of limitations are not
exceeded.

Well known political figures and political financiers hired Gawker Media, Gizmodo Media and “Nick”
Denton to undertake these ongoing attacks and to manipulate web servers to operate those attacks
globally and permanently. The attackers hired Gawker Media, Gizmodo Media, “Nick” Denton,
Univision/Unimoda LLC and DOES 1 to 22, et al, to engage in reprisals because of the company’s
testimony against those parties in federal investigations and because the plaintiff had superior
technologies that the attackers could not compete with. Transaction documents showing payments
between the “bad guys” in this case, were recently uncovered in other court cases.

Adversaries produced a series of videos and defamation articles and used internet server technology
tricks to place those attack materials in front of 7.5 billion people day after day, year after year,
refreshing the attack daily. This is, essentially, a “hit-job” service that Univision provides as a side
gig through it’s TV networks and it’s offensive tabloid brands of: Gizmodo, Jalopnik, Jezebel, Gawker
and other Univision/Unimoda assets along with it’s partnership with Google for the operation of such


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attacks. “Univision uses this service as a political-payback tool for politicians as well as an anti-trust
violating anti-competition tool for its clients”, claim Victim/Witnesses.

Private, federal, Congressional and news investigators and evidence from whistle-blowers and other
lawsuits have now confirmed the veracity of the charges and the potential for a very large win
against Univision/Unimoda LLC and their distribution partners. Recent legal precedents have all
been ruled in the victims favor.

The true names and capacities of the Defendants, DOES 1 through 100, inclusive, are presently
unknown to the Victim/Witnesses at this time and the Victim/Witnesses sue those Defendants and each
of them, by such fictitious names pursuant to the pertinent provisions of the California Code of Civil
Procedure. The facts and veracity of the charges and claims herein are evidenced in multi-terrabyte
hard drives and existing online cloud-based evidence repositories containing millions of pages of
validating evidence compiled by Victim/Witnesses, FBI, GAO, SEC, EU, private, Congressional, news
industry, forensic specialist and leaked archive investigators.


The Victim/Witnesses are informed and believe and, based on that information and belief, allege that
the named Defendants herein and each of the parties designated as a “DOE” and every one of them, are
legally responsible jointly and severally for the Federal RICO Statute violating events and happenings
referred to in the within Complaint for Intentional Interference with Contractual Relations, Intentional
Interference with Prospective Economic Advantage, Cyberstalking, Fraud, Invasion of Privacy, Unfair
Competition and Theft of Intellectual Property and RICO statute violations.


In particular, Defendants took compensation for, and engaged in, malicious and coordinated tactics to
seek to destroy, damage, harm and ruin Victim/Witnesses via an illicit media “hit-job” service which
Defendants regularly offered in covert commerce and engaged in regularly against targets that
Defendants were hired to seek to ruin as part of reprisal, vendetta, retribution programs operated for
business and political competitors of the targets. Historical facts and other history-making lawsuits by
third parties, has proven Defendants to be the single largest core violator of human rights, in this
manner, in the world. Defendants offer the service of creating and publishing contrived “hatchet job”
movies, fake news articles, faked comments and repercussion backlinks describing the
Victim/Witnesses in horrific descriptors. The attack material is reposted, “impression accelerated”,


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“click-farm fertilized” and Streisand array reposted by Defendants massive character assassination
technology via servers algorithms and technical internet manipulation daily as recently as yesterday.
Defendants also embed the article in job hiring databases on Axciom, Palantir, Taleo and other
databases used by all hiring and recruiting services in order to prevent Victim/Witnesses from ever
receiving income for W2 or 1099 work ever again. Defendants own staff then post thousands of fake
comments, below each attack item, under fake names, designed to make it appear as if a broad
consensus of the public agreed with the defamation messages by Defendants. Almost all of the fake
comments were created by a handful of Defendants own staff pretending to be a variety of outside
voices. Defendants provide the service of delivering “weaponized text and media to corporate clients”.
Defendants replicated various versions of these attack items across all of their different brands and
facade front publications and added additional fake comments to each on a regular basis.




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The Silicon Valley Cartel Hit Job
How much do you have to pay Google, Alphabet, YouTube and Black Cube to dedicate a portion of
their servers to push a character assassination set of links, against a competitor, to all five billion people
on Earth with internet access? How much did Obama, Clinton, Bloomberg spend using those exact
same systems to attack their political enemies?
We know! We have their financial records, invoices and receipts and so does the FBI and the
NSA.
How much do you have to pay to get them to lock those attack links on one of the first 4 lines of
EVERY search result, in the same position in the search results, for over a decade (which proves that
their search results are not "organic", they are manually manipulated by Google and YouTube)? How
much did Obama, Clinton, Bloomberg spend using those exact same systems to attack their political
enemies?
We know! We have their financial records, invoices and receipts and so does the FBI and the
NSA.
How much does it cost to make a Disney-like animated movie about a whistle-blower? How much does
the production and software and person-hour billings cost? How much does it cost to distribute that
movie world-wide and lock it in the top line of all search results?
We know! We have their financial records, invoices and receipts and so does the FBI and the
NSA.
How much does it cost to hire a warehouse full of Russian, Nigerian and Chinese click-farm operators
who use Palantir and Google software to instantly be alerted of any mention of a person's name on the
internet and to then go slam that person in the comment sections with endless troll remarks? Elon Musk
uses these same people to hype his narcissistic need for attention. Obama, Clinton, Bloomberg and
other politicians hire these same people to attack their political adversaries. How much does it cost to
have anonymous trolls in foreign countries kill a person's brand globally?
We know. We have their financial records, invoices and receipts and a huge number of lawsuits, court
records, federal investigation and investigative journalism reports have exposed those records and
details. The FBI, NSA, SEC, FTC and Congressional investigators can also confirm these numbers!
So it turns out that it costs: $35,422,152.00 to have a person and their business killed!
That is how much they spent on their attack on the Plaintiff! The people at the top of the heap who
organized the attacks were David Plouffe, Jay Carney, David Axelrod, Denis Mcdonough, Steve

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Rattner, Robert Gibbs, Rahm Emanual and their associates and they did it from The West Wing and
The Oval Office in The White House.
The attacks were edited by Nick Denton and his seedy tabloid empire Gawker/Gizmodo.
The money was conduited and assisted for pass-through by political financiers Eric Schmidt, Larry
Page, Sergy Brin, Elon Musk, John Doerr, Vinod Khosla, Steve Westly, Steve Spinner and their Silicon
Valley oligarch Cartel black-listing operation.
It was a felony. It violated RICO, Anti-Trust and Constitutional laws.
So they spent over thirty five million dollars attacking the Plaintiff and shutting down a competitor that
was targeted to make over six billion dollars in profits. The attackers then made the six billion dollars
in profits for themselves, at the expense of the Plaintiff.
So how much do you think they owe the Plaintiff per previous court awards for such crimes against a
member of the public?
Silicon Valley's No-poaching Case: The Growing Debate over ...

  https://knowledge.wharton.upenn.edu/article/silicon-valleys-poaching-case-growing-debate-
employee-mobility/
"Silicon Valley's No-poaching Case: The Growing Debate over Employee Mobility."
Knowledge@Wharton. The Wharton School, University of Pennsylvania, 30 April, 2014.
Steve Jobs was 'central figure' in Silicon Valley's 'no ...

     https://money.cnn.com/2014/08/11/technology/silicon-valley-poaching-case/index.html
Aug 11, 2014A lawsuit by Silicon Valley workers claims Steve Jobs was a ringleader in a conspiracy
not to poach employees. If Silicon Valley's biggest companies want an embarrassing employee lawsuit
to go ...
Apple Google Silicon Valley No Cold Calling Anti-Poaching

     https://www.lieffcabraser.com/antitrust/high-tech-employees/
Silicon Valley firms and other high-tech companies owe their tremendous successes to the sacrifices
and hard work of their employees, and must take responsibility for their misconduct.One of the
principal means by which high-tech companies recruit employees is to solicit them directly from other
companies in a process referred to as "cold ...
Engineers Allege Hiring Collusion in Silicon Valley - The ...

   https://www.nytimes.com/2014/03/01/technology/engineers-allege-hiring-collusion-in-silicon-
valley.html


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Mar 1, 2014Alan Hyde, a Rutgers professor who wrote "Working in Silicon Valley: Economic and
Legal Analysis of a High-Velocity Labor Market," said the no-poaching accusations go contrary to
what has made ...
Apple, Google and others to pay $415m to settle Silicon ...

   https://www.telegraph.co.uk/technology/news/11843237/Apple-Google-and-others-to-pay-415m-to-
settle-Silicon-Valley-no-poaching-lawsuit.html
Apple, Google and others to pay $415m to settle Silicon Valley 'no poaching' lawsuit US judge agrees
settlement that will see thousands of technology workers receive thousands of dollars
Dirty Secrets of Silicon Valley Poaching | Paysa

     https://www.paysa.com/blog/dirty-secrets-of-silicon-valley-poaching/
Silicon Valley is a talent magnet. With prestigious high-tech corporations such as Google, Apple,
Facebook, Netflix, and Tesla Motors among the Fortune 1000 companies and thousands of startups
finding their home in the world-renowned technology hub, this comes as no surprise.
Silicon Valley no-poaching deal appears headed for approval

     https://phys.org/news/2015-03-silicon-valley-no-poaching.html
Silicon Valley no-poaching deal appears headed for approval. by Howard Mintz, San Jose Mercury
News
Silicon Valley's $415 million poaching settlement finalized

   https://www.mercurynews.com/2015/09/03/silicon-valleys-415-million-poaching-settlement-
finalized/
Sep 3, 2015Silicon Valley's $415 million poaching settlement finalized ... valley-tech-giants-learn-
from-no-poaching-antitrust-case/ 'When Rules Don't Apply': Did Silicon Valley tech giants learn from
no ...
Justice Department Requires Six High Tech Companies to ...

   https://www.justice.gov/opa/pr/justice-department-requires-six-high-tech-companies-stop-entering-
anticompetitive-employee
A complaint arose out of a larger investigation by the Antitrust Division into employment practices by
high tech firms. The division continues to investigate other similar no solicitation agreements. Adobe
Systems Inc. is a Delaware corporation with its principal place of business in San Jose, Calif., and 2009
revenues of nearly $3 billion.




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Cold calling is one of the main methods used by companies in the high-technology sector to recruit
employees with advanced and specialised skills, such as software and hardware engineers,
programmers, animators, digital artists, Web developers and other technical professionals.[1] Cold
calling involves communicating directly in any manner with another firm's employee who has not
otherwise applied for a job opening. Cold calling may be done in person, by phone, letter, or email.[2]
According to the legal brief filed by a plaintiff in one of the class-action cases, cold calling is an
effective method of recruiting for the high-technology sector because "employees of other [high-
technology] companies are often unresponsive to other recruiting strategies... [and] current satisfied
employees tend to be more qualified, harder working, and more stable than those who are actively
looking for employment."[3]
Amy Lambert, Google's associate general counsel, noted in a blog post shortly after the DOJ's actions,
that Google's definition of cold calling does not necessarily eliminate recruiting by letter or email, but
only the process of calling on the telephone. By implication, recruiting through LinkedIn incurs
recruiting by "InMail" - LinkedIn's own mail contact system: "In order to maintain a good working
relationship with these companies, in 2005 we decided not to "cold call" employees at a few of our
partner companies. Our policy only impacted cold calling, and we continued to recruit from these
companies through LinkedIn, job fairs, employee referrals, or when candidates approached Google
directly. In fact, we hired hundreds of employees from the companies involved during this time
period."
The challenged "no cold call" agreements are alleged bilateral agreements between high technology
companies not to cold call each other's employees. The DOJ alleges that senior executives at each
company negotiated to have their employees added to 'no call' lists maintained by human resources
personnel or in company hiring manuals. The alleged agreements were not limited by geography, job
function, product group, or time period. The alleged bilateral agreements were between: (1) Apple and
Google, (2) Apple and Adobe, (3) Apple and Pixar, (4) Google and Intel, (5) Google and Intuit,[4] and
(6) Lucasfilm and Pixar.[5]
The civil class action further alleges that agreements also existed to (1) "provide notification when
making an offer to another [company]'s employee (without the knowledge or consent of the employee)"
and (2) "agreements that, when offering a position to another company's employee, neither company
would counteroffer above the initial offer."[3]
The United States Department of Justice Antitrust Division filed a complaint in the US District Court
for the District of Columbia alleging violations of Section 1 of the Sherman Act. In US v. Adobe
Systems Inc., et al., the Department of Justice alleged that Adobe, Apple, Google, Intel, Intuit, and
Pixar had violated Section 1 of the Sherman Act by entering into a series of bilateral "No Cold Call"
Agreements to prevent the recruitment of their employees (a similar but separate suit was filed against
Lucasfilm on December 21, 2010[6]). The DOJ alleged in their Complaint that the companies had


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reached "facially anticompetitive" agreements that "eliminated a significant form of competition...to the
detriment of the affected employees who were likely deprived of competitively important information
and access to better job opportunities." The DOJ also alleged that the agreements "were not ancillary to
any legitimate collaboration," "were much broader than reasonably necessary for the formation or
implementation of any collaborative effort," and "disrupted the normal price-setting mechanisms that
apply in the labor setting."[4] The same day it filed the suit, the DOJ and the defendants proposed a
settlement.[7]




A final judgment enforcing the settlement was entered by the court on March 17, 2011.[8] Although the
DOJ Complaint only challenged the alleged "no cold call" agreements, in the settlement, the companies
agreed to a more broad prohibition against "attempting to enter into, entering into, maintaining or
enforcing any agreement with any other person to in any way refrain from, requesting that any person
in any way refrain from, or pressuring any person in any way to refrain from soliciting, cold calling,
recruiting, or otherwise competing for employees of the other person", for a period of five years; the
court can grant an extension.[8] The settlement agreement does not provide any compensation for
company employees affected by the alleged agreements.[9] Lucasfilm entered into a similar settlement
agreement in December 2010.[5]
In re: High-Tech Employee Antitrust Litigation (U.S. District Court, Northern District of California 11-
cv-2509 [10]) is a class-action lawsuit on behalf of over 64,000 employees of Adobe, Apple Inc.,
Google, Intel, Intuit, Pixar and Lucasfilm (the last two are subsidiaries of Disney) against their
employer alleging that their wages were repressed due to alleged agreements between their employers
not to hire employees from their competitors.[11][12] The case was filed on May 4, 2011 by a former
software engineer at Lucasfilm and alleges violations of California's antitrust statute, Business and
Professions Code sections 16720 et seq. (the "Cartwright Act"); Business and Professions Code section


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16600; and California's unfair competition law, Business and Professions Code sections 17200, et seq.
Focusing on the network of connections around former Apple CEO Steve Jobs, the Complaint alleges
"an interconnected web of express agreements, each with the active involvement and participation of a
company under the control of Steve Jobs...and/or a company that shared at least one member of Apple's
board of directors." The alleged intent of this conspiracy was "to reduce employee compensation and
mobility through eliminating competition for skilled labor."[13]
On October 24, 2013 the United States District Court for the Northern District of California granted
class certification for all employees of Defendant companies from January 1, 2005 through January 1,
2010.[9]
As of October 31, 2013, Intuit, Pixar and Lucasfilm have reached a tentative settlement agreement.
Pixar and Lucasfilm agreed to pay $9 million in damages, and Intuit agreed to pay $11 million in
damages.[9] In May 2014, Judge Lucy Koh approved the $20 million settlement between Lucasfilm,
Pixar, and Intuit and their employees. Class members in this settlement, which involved fewer than 8%
of the 65,000 employees affected, will receive around $3,840 each.[14]
The trial of the class action for the remaining Defendant companies was scheduled to begin on May 27,
2014. The plaintiffs intended to ask the jury for $3 billion in compensation, a number which could in
turn have tripled to $9 billion under antitrust law.[15] However, in late April 2014, the four remaining
defendants, Apple Inc, Google, Intel and Adobe Systems, agreed to settle out of court. Any settlement
must be approved by Judge Lucy Koh.[16][17]
On May 23, 2014, Apple, Google, Intel, Adobe agreed to settle for $324.5 million. Lawyers sought
25% in attorneys’ fees, plus expenses of as much as $1.2 million, according to the filing. Additional
award payments of $80,000 would be sought for each named plaintiff who served as a class
representative.[18] Payouts will average a few thousand dollars based on the salary of the employee at
the time of the complaint.
In June 2014, Judge Lucy Koh expressed concern that the settlement may not be a good one for the
plaintiffs. Michael Devine, one of the plaintiffs, said the settlement is unjust. In a letter he wrote to the
judge he said the settlement represents only one-tenth of the $3 billion in compensation the 64,000
workers could have made if the defendants had not colluded.[19]
On August 8, 2014, Judge Koh rejected the settlement as insufficient on the basis of the evidence and
exposure. Rejecting a settlement is unusual in such cases. This left the defendants with a choice
between raising their settlement offer or facing a trial.[20]
On September 8, 2014, Judge Koh set April 9, 2015 as the actual trial date for the remaining
defendants, with a pre-trial conference scheduled for December 19, 2014. Also, as of early September
2014, the defendants had re-entered mediation to determine whether a new settlement could be reached.
[21]



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A final approval hearing was held on July 9, 2015.[22] On Wednesday September 2, 2015, Judge Lucy
H. Koh signed an order granting Motion for Final Approval of Class Action Settlement. The settlement
website stated that Adobe, Apple, Google, and Intel has reached a settlement of $415 million and other
companies settled for $20 million.
According to the settlement website, Gilardi & Co., LLC distributed the settlement to class members
the week of December 21, 2015.




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Eric Schmidt's Role In Illegal Agreements
Google founders Larry Page and Sergey Brin interviewed Schmidt. Impressed by him,[28] they
recruited Schmidt to run their company in 2001 under the guidance of venture capitalists John Doerr
and Michael Moritz.
In March 2001, Schmidt joined Google's board of directors as chair, and became the company's CEO in
August 2001. At Google, Schmidt shared responsibility for Google's daily operations with founders
Page and Brin. Prior to the Google initial public offering, Schmidt had responsibilities typically
assigned to the CEO of a public company and focused on the management of the vice presidents and
the sales organization.[29] According to Google, Schmidt's job responsibilities included "building the
corporate infrastructure needed to maintain Google's rapid growth as a company and on ensuring that
quality remains high while the product development cycle times are kept to a minimum."[30]
Upon being hired at Google, Eric Schmidt was paid a salary of $250,000 and an annual performance
bonus. He was granted 14,331,703 shares of Class B common stock at $0.30 per share and 426,892
shares of Series C preferred stock at purchase price of $2.34.[31]
In 2004, Schmidt and the Google founders agreed to a base salary of US$1 (which continued through
2010) with other compensation of $557,465 in 2006,[32] $508,763 in 2008, and $243,661 in 2009. He
did not receive any additional stock or options in 2009 or 2010.[33][34] Most of his compensation was
for "personal security" and charters of private aircraft.[34]
In 2007, PC World ranked Schmidt as the first on its list of the 50 most important people on the Web,
along with Google co-founders Page and Brin.[35]
Schmidt is one of a few people[who?] who became billionaires (in United States dollars) based on
stock options received as employees in corporations of which they were neither the founders nor
relatives of the founders, such as Meg Whitman.[36][failed verification]
In its 2011 'World's Billionaires' list, Forbes ranked Schmidt as the 136th-richest person in the world,
with an estimated wealth of $7 billion.[37]
On January 20, 2011, Google announced that Schmidt would step down as the CEO of Google but
would take new title as executive chairman of the company and act as an adviser to co-founders Page
and Brin.[38] Google gave him a $100 million equity award in 2011 when he stepped down as CEO.
[39] On April 4, 2011, Page replaced Schmidt as the CEO.[40]
On December 21, 2017, Schmidt announced he would be stepping down as the executive chairman of
Alphabet.[41][42] Schmidt stated that "Larry, Sergey, Sundar and I all believe that the time is right in
Alphabet's evolution for this transition."[43]


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In February 2020, Schmidt left his post as technical advisor of Alphabet after 19 years with the
company.[44]
In March 2016 it was announced that Eric Schmidt would chair a new advisory board for the
Department of Defense,[45] titled the Defense Innovation Advisory Board.[46] The advisory board
serves as a forum connecting mainstays in the technology sector with those in the Pentagon.[47]
To avoid potential conflicts of interest within the role, where Schmidt retained his role as technical
adviser to Alphabet, and where Google's bidding for the multi-million dollar Pentagon cloud contract,
the Joint Enterprise Defense Infrastructure, or JEDI, was ongoing: Schmidt screened emails and other
communications, stating, "“There’s a rule: I’m not allowed to be briefed” about Google or Alphabet
business as it relates to the Defense Department".[48] He exited the position November 2020.[49]
From 2019[50] to 2021, Schmidt chaired the National Security Commission on Artificial Intelligence
with Robert O. Work.[51][52][53]
While working at Google, Schmidt was involved in activities[54] that later became the subject of the
High-Tech Employee Antitrust Litigation case that resulted in a settlement of $415 million paid by
Adobe, Apple, Google and Intel to employees. In one incident, after receiving a complaint from Steve
Jobs of Apple, Schmidt sent an email to Google's HR department saying; "I believe we have a policy of
no recruiting from Apple and this is a direct inbound request. Can you get this stopped and let me know
why this is happening? I will need to send a response back to Apple quickly so please let me know as
soon as you can. Thanks Eric".[55] Schmidt's email led to a recruiter for Google being "terminated
within the hour" for not having adhered to the illegal scheme. Under Schmidt, there was a "Do Not Call
list" of companies Google would avoid recruiting from.[56] According to a court filing, another email
exchange shows Google's human resources director asking Schmidt about sharing its no-cold-call
agreements with competitors. Schmidt responded that he preferred it be shared "verbally, since I don't
want to create a paper trail over which we can be sued later?"[54][57]
Type “Eric Schmidt Sex Penthouse” into any search engine and read the results. The sexual perversions
of Eric Schmidt, Rubin, Page, Drummond, Cohen, Hayes and the Google execs are notorious. The sick
world of the Google executives clearly defines the sick culture of Master Character Assassin: Google,
itself.




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The Tech Cartel And The White House




By Mark Ames


In early 2005, as demand for Silicon Valley engineers began booming, Apple's Steve Jobs sealed a
secret and illegal pact with Google's Eric Schmidt to artificially push their workers wages lower by
agreeing not to recruit each other's employees, sharing wage scale information, and punishing violators.
On February 27, 2005, Bill Campbell, a member of Apple's board of directors and senior advisor to
Google, emailed Jobs to confirm that Eric Schmidt "got directly involved and firmly stopped all efforts
to recruit anyone from Apple."
Later that year, Schmidt instructed his Sr VP for Business Operation Shona Brown to keep the pact a
secret and only share information "verbally, since I don't want to create a paper trail over which we can
be sued later?"
These secret conversations and agreements between some of the biggest names in Silicon Valley were
first exposed in a Department of Justice antitrust investigation launched by the Obama Administration

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in 2010. That DOJ suit became the basis of a class action lawsuit filed on behalf of over 100,000 tech
employees whose wages were artificially lowered — an estimated $9 billion effectively stolen by the
high-flying companies from their workers to pad company earnings — in the second half of the 2000s.
Last week, the 9th Circuit Court of Appeals denied attempts by Apple, Google, Intel, and Adobe to
have the lawsuit tossed, and gave final approval for the class action suit to go forward. A jury trial date
has been set for May 27 in San Jose, before US District Court judge Lucy Koh, who presided over the
Samsung-Apple patent suit.
In a related but separate investigation and ongoing suit, eBay and its former CEO Meg Whitman, now
CEO of HP, are being sued by both the federal government and the state of California for arranging a
similar, secret wage-theft agreement with Intuit (and possibly Google as well) during the same period.
The secret wage-theft agreements between Apple, Google, Intel, Adobe, Intuit, and Pixar (now owned
by Disney) are described in court papers obtained by PandoDaily as "an overarching conspiracy" in
violation of the Sherman Antitrust Act and the Clayton Antitrust Act, and at times it reads like
something lifted straight out of the robber baron era that produced those laws. Today's inequality crisis
is America's worst on record since statistics were first recorded a hundred years ago — the only
comparison would be to the era of the railroad tycoons in the late 19th century.
Shortly after sealing the pact with Google, Jobs strong-armed Adobe into joining after he complained to
CEO Bruce Chizen that Adobe was recruiting Apple's employees. Chizen sheepishly responded that he
thought only a small class of employees were off-limits:
      I thought we agreed not to recruit any senior level employees.... I would propose we keep it
      that way. Open to discuss. It would be good to agree.

Jobs responded by threatening war:
      OK, I'll tell our recruiters they are free to approach any Adobe employee who is not a Sr.
      Director or VP. Am I understanding your position correctly?

Adobe's Chizen immediately backed down:
      I'd rather agree NOT to actively solicit any employee from either company.....If you are in
      agreement, I will let my folks know.

The next day, Chizen let his folks — Adobe's VP of Human Resources — know that "we are not to
solicit ANY Apple employees, and visa versa." Chizen was worried that if he didn't agree, Jobs would
make Adobe pay:
      if I tell Steve [Jobs] it's open season (other than senior managers), he will deliberately
      poach Adobe just to prove a point. Knowing Steve, he will go after some of our top Mac
      talent...and he will do it in a way in which they will be enticed to come (extraordinary
      packages and Steve wooing).


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Indeed Jobs even threatened war against Google early 2005 before their "gentlemen's agreement,"
telling Sergey Brin to back off recruiting Apple's Safari team:
      if you [Brin] hire a single one of these people that means war.

Brin immediately advised Google's Executive Management Team to halt all recruiting of Apple
employees until an agreement was discussed.


In the geopolitics of Silicon Valley tech power, Adobe was no match for a corporate superpower like
Apple. Inequality of the sort we're experiencing today affects everyone in ways we haven't even
thought of — whether it's Jobs bullying slightly lesser executives into joining an illegal wage-theft
pact, or the tens of thousands of workers whose wages were artificially lowered, transferred into higher
corporate earnings, and higher compensations for those already richest and most powerful to begin
with.
Over the next two years, as the tech industry entered another frothing bubble, the secret wage-theft pact
which began with Apple, Google and Pixar expanded to include Intuit and Intel. The secret agreements
were based on relationships, and those relationships were forged in Silicon Valley's incestuous boards
of directors, which in the past has been recognized mostly as a problem for shareholders and corporate
governance advocates, rather than for the tens of thousands of employees whose wages and lives are
viscerally affected by their clubby backroom deals. Intel CEO Paul Otellini joined Google's board of
directors in 2004, a part-time gig that netted Otellini $23 million in 2007, with tens of millions more in
Google stock options still in his name — which worked out to $464,000 per Google board event if you
only counted the stock options Otellini cashed out — dwarfing what Otellini made off his Intel stock
options, despite spending most of his career with the company.
Meanwhile, Eric Schmidt served on Apple's board of directors until 2009, when a DoJ antitrust
investigation pushed him to resign. Intuit's chairman at the time, Bill Campbell, also served on Apple's
board of directors, and as official advisor — "consigliere" — to Google chief Eric Schmidt, until he
resigned from Google in 2010. Campbell, a celebrated figure ("a quasi-religious force for good in
Silicon Valley") played a key behind-the-scenes role connecting the various CEOs into the wage-theft
pact. Steve Jobs, who took regular Sunday walks with Campbell near their Palo Alto homes, valued
Campbell for his ability "to get A and B work out of people," gushing that the conduit at the center of
the $9 billion wage theft suit, "loves people, and he loves growing people."
Indeed. Eric Schmidt has been, if anything, even more profuse in his praise of Campbell. Schmidt
credits Campbell for structuring Google when Schmidt was brought on board in 2001:
      His contribution to Google — it is literally not possible to overstate. He essentially
      architected the organizational structure.



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Court documents show it was Campbell who first brought together Jobs and Schmidt to form the core
of the Silicon Valley wage-theft pact. And Campbell's name appears as the early conduit bringing Intel
into the pact with Google:
      Bill Campbell (Chairman of Intuit Board of Directors, Co-Lead Director of Apple, and
      advisor to Google) was also involved in the Google-Intel agreement, as reflected in an
      email exchange from 2006 in which Bill Campbell agreed with Jonathan Rosenberg
      (Google Advisor to the Office of CEO and former Senior Vice President of Product
      Management) that Google should call [Intel CEO] Paul Otellini before making an offer to
      an Intel employee, regardless of whether the Intel employee first approached Google.

Getting Google on board with the wage-theft pact was the key for Apple from the start — articles in the
tech press in 2005 pointed at Google's recruitment drive and incentives were the key reason why tech
wages soared that year, at the highest rate in well over a decade.


Campbell helped bring in Google, Intel, and, in 2006, Campbell saw to it that Intuit — the company he
chaired — also joined the pact.
From the peaks of Silicon Valley, Campbell's interpersonal skills were magical and awe-inspiring, a
crucial factor in creating so much unimaginable wealth for their companies and themselves. Jobs said
of Campbell:
      There is something deeply human about him.

And Schmidt swooned:
      He is my closest confidant...because he is the definition of trust.

Things — and people — look very different when you're down in the Valley. In the nearly 100-page
court opinion issued last October by Judge Koh granting class status to the lawsuit, Campbell comes
off as anything but mystical and "deeply human." He comes off as a scheming consigliere carrying out
some of the drearier tasks that the oligarchs he served were constitutionally not so capable of arranging
without him.


But the realities of inequality and capitalism invariably lead to mysticism of this sort, a natural human
response to the dreary realities of concentrating so much wealth and power in the hands of a dozen
interlocking board members at the expense of 100,000 employees, and so many other negative knock-
off effects on the politics and culture of the world they dominate.
One of the more telling elements to this lawsuit is the role played by "Star Wars" creator George Lucas,
who emerges as the Obi-Wan Kenobi of the wage-theft scheme. It's almost too perfectly symbolic that


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Lucas — the symbiosis of Baby Boomer New Age mysticism, Left Coast power, political infantilism,
and dreary 19th century labor exploitation — should be responsible for dreaming up the wage theft
scheme back in the mid-1980s, when Lucas sold the computer animation division of Lucasfilm, Pixar,
to Steve Jobs.
As Pixar went independent in 1986, Lucas explained his philosophy about how competition for
computer engineers violated his sense of normalcy — and profit margins. According to court
documents:
      George Lucas believed that companies should not compete against each other for
      employees, because '[i]t's not normal industrial competitive situation.' As George Lucas
      explained, 'I always — the rule we had, or the rule that I put down for everybody,' was that
      'we cannot get into a bidding war with other companies because we don't have the margins
      for that sort of thing.'

Translated, Lucas' wage-reduction agreement meant that Lucasfilm and Pixar agreed to a) never cold
call each other's employees; b) notify each other if making an offer to an employee of the other
company, even if that employee applied for the job on his or her own without being recruited; c) any
offer made would be "final" so as to avoid a costly bidding war that would drive up not just the
employee's salary, but also drive up the pay scale of every other employee in the firm.


Jobs held to this agreement, and used it as the basis two decades later to suppress employee costs just
as fierce competition was driving up tech engineers' wages.
The companies argued that the non-recruitment agreements had nothing to do with driving down
wages. But the court ruled that there was "extensive documentary evidence" that the pacts were
designed specifically to push down wages, and that they succeeded in doing so. The evidence includes
software tools used by the companies to keep tabs on pay scales to ensure that within job "families" or
titles, pay remained equitable within a margin of variation, and that as competition and recruitment
boiled over in 2005, emails between executives and human resources departments complained about
the pressure on wages caused by recruiters cold calling their employees, and bidding wars for key
engineers.
Google, like the others, used a "salary algorithm" to ensure salaries remained within a tight band across
like jobs. Although tech companies like to claim that talent and hard work are rewarded, in private,
Google's "People Ops" department kept overall compensation essentially equitable by making sure that
lower-paid employees who performed well got higher salary increases than higher-paid employees who
also performed well.
As Intel's director of Compensation and Benefits bluntly summed up the Silicon Valley culture's official
cant versus its actual practices,


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      While we pay lip service to meritocracy, we really believe more in treating everyone the
      same within broad bands.

The companies in the pact shared their salary data with each other in order to coordinate and keep
down wages — something unimaginable had the firms not agreed to not compete for each other's
employees. And they fired their own recruiters on just a phone call from a pact member CEO.
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In 2007, when Jobs learned that Google tried recruiting one of Apple's employees, he forwarded the
message to Eric Schmidt with a personal comment attached: "I would be very pleased if your recruiting
department would stop doing this."
Within an hour, Google made a "public example" by "terminating" the recruiter in such a manner as to
"(hopefully) prevent future occurrences."
Likewise, when Intel CEO Paul Otellini heard that Google was recruiting their tech staff, he sent a
message to Eric Schmidt: "Eric, can you pls help here???"
The next day, Schmidt wrote back to Otellini: "If we find that a recruiter called into Intel, we will
terminate the recruiter."
One of the reasons why non-recruitment works so well in artificially lowering workers' wages is that it
deprives employees of information about the job market, particularly one as competitive and
overheating as Silicon Valley's in the mid-2000s. As the companies' own internal documents and
statements showed, they generally considered cold-calling recruitment of "passive" talent — workers
not necessarily looking for a job until enticed by a recruiter — to be the most important means of hiring
the best employees.
Just before joining the wage-theft pact with Apple, Google's human resources executives are quoted
sounding the alarm that they needed to "dramatically increase the engineering hiring rate" and that
would require "drain[ing] competitors to accomplish this rate of hiring." One CEO who noticed
Google's hiring spree was eBay CEO Meg Whitman, who in early 2005 called Eric Schmidt to
complain, "Google is the talk of the Valley because [you] are driving up salaries across the board."
Around this time, eBay entered an illegal wage-theft non-solicitation scheme of its own with Bill
Campbell's Intuit, which is still being tried in ongoing federal and California state suits.
Google placed the highest premium on "passive" talent that they cold-called because "passively
sourced candidates offer[ed] the highest yield," according to court documents. The reason is like the
old Groucho Marx joke about not wanting to belong to a club that would let you join it — workers
actively seeking a new employer were assumed to have something wrong with them; workers who
weren't looking were assumed to be the kind of good happy talented workers that company poachers
would want on their team.


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For all of the high-minded talk of post-industrial technotopia and Silicon Valley as worker's paradise,
what we see here in stark ugly detail is how the same old world scams and rules are still operative.
Follow all of our Techtopus coverage here.
Court documents below...

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Stealing Afghanistan
The Biden administration announced a series of steps it will take in order to strengthen critical U.S.
supply chains, building up domestic manufacturing capabilities for key products and addressing
existing vulnerabilities.
President Joe Biden in February ordered a 100-day interagency review of domestic supply chains.
The outcome of this review and the resulting policy recommendations make up a new report totaling
several hundred pages, which was released on Tuesday.
The report’s initial recommendations focus on four products critical to the U.S. economy: large
capacity lithium batteries, rare earth minerals, semiconductors and active pharmaceutical ingredients.
     • Large capacity lithium batteries: The Department of Energy is aiming to release a 10-year
       plan to develop a domestic lithium battery supply chain capable of producing the batteries that
       power electric vehicles. The agency’s Advanced Technology Vehicles Manufacturing Loan
       Program will distribute $17 billion in an effort to support new research and manufacturing
       efforts in the United States.
     • Rare earth minerals: The Department of Interior will lead a task force to identify sites where
       critical minerals could be produced and processed in the United States.” The report said the U.S.
       will develop the capacity for “sustainable production, refining, and recycling” of the 17 rare
       earth metals used in cellphones, cars and magnets, while meeting high environmental standards.
     • Semiconductors: As the nation grapples with a chip shortage that has idled major auto
       manufacturing plants, the White House said it will work with the private sector to increase
       supply-chain transparency.
     • Advanced pharmaceutical ingredients: The Department of Health and Human Services will
       use authority granted under the Defense Production Act to commit approximately $60 million to
       “develop novel platform technologies to increase domestic manufacturing capacity for API.”
In addition to these steps, designed to boost supplies of specific products, the administration also
announced several broader initiatives.
To help train the workers that will be needed to staff these new projects, the White House will
announce $100 million in additional grants to support state-led apprenticeship expansion efforts. The
grants will be administered by the Department of Labor.
In all, the report repeats what everyone has known for 40 years:
1. There are trillions of dollars of profit in overseas rare earth minerals.
2. They who control it could become trillionaires



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What the report does not clearly state is that: 90% of those who own the stock market accounts to
exploit those resources are the financiers of the Obama’s and Biden’s political campaigns. We all saw
how Jennifer, Biden’s Secretary of Energy, already owned an electric car company designed to exploit
these minerals. That was just the tip of the iceberg.
This knowledge is why PEOPLE GET KILLED!
This knowledge is why media assassins are working around the clock!
If you look back a decade you will see news headlines proclaiming that “Afghanistan has trillions of
dollars of lithium” and “Afghanistan is the Saudi Arabia of Lithium”.
Remember our guy Tom, from the beginning of this? The U.S. Government had paid him to build a
technology that obsoleted the need for lithium..AND HE DID!
Have you heard about the lies, corruption and anti-trust violating insider trading scams at the
Department of Energy?
Any voyage onto the path of funding from the Department of Energy will be a road to hell.
While frozen-smile aides will shake your hand and tell you how "excited they are to welcome your
application", behind your back they are sharpening their knives.
Over 100 past Applicants were lied to, defrauded, stone-walled, bottom-drawer'd, sabotaged, and
generally screwed with by The Department of Energy in order to: 1.) protect campaign financiers
who were their competitors and 2.) stone-wall those Applicant's for being competitive against the Elon
Musk and Solyndra chosen insiders.
Almost EVERY competing Applicant was faster, cheaper, had better MPG, was easier to manufacture,
had lower cost to the main-stream market, had a better set of financials, had a better debt ratio, was
safer, etc. but they missed one key factor: THEY DID NOT OFFER BRIBES AS LARGE AS ELON
MUSK DID!
Even in 2020 you would have to be a sucker to apply for DOE funds. There are people inside DOE
who are dedicated to making sure you never get that money. You can get a faster loan from a
commercial bank without thousands of hidden "gotchas" and insider trading schemes to trip you up.
These tricks, built into the Department of Energy process, are created to ensure that DOE insiders have
thousands of excuses to never let you get the money unless you agree to finance the correct political
candidates.
Title XVII Innovative Energy Technology Loan Guarantee Program
DOE is supposed to support the commercial development of innovative clean energy technologies
through its Loan Programs Office (LPO). Authorized by the Energy Policy Act of 2005, the Title XVII
Loan Program enables the DOE to issue loans ranging from several million to more than $1 billion for
advanced fossil, advanced nuclear, renewable energy and energy efficiency projects that employ "new

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or significantly improved technology." And in 2018, LPO announced an open solicitation for energy
projects on tribal lands. These solicitations remain open and are supposedly actively seeking qualified
applicants as a result of continued congressional support and new programmatic direction but the
historical facts prove that this program has been manipulated to operate as a political slush-fund to
finance insider favorites and sabotage their competitors.
Under Title XVII program authority, the DOE can guarantee loans for up to 80 percent of total project
costs for eligible proposals. As of March 2020, LPO maintains $25.9 billion in loan guarantee authority
across the solicitations mentioned above. LPO has closed only one loan since 2011 – for the Vogtle
nuclear power station in Georgia and, more than ever, seems to be simply a sham for insider political
campaign financiers to get payola from. Notably, LPO is under increasing pressure from Congress to
move more applications through diligence and to loan close.
Advanced Technology Vehicles Manufacturing (ATVM) Program
Under the ATVM Program, automobile manufacturers or advanced vehicle automobile component or
material manufacturers are supposed to eligible to obtain direct loans from the DOE for projects that re-
equip, expand or establish manufacturing facilities in the U.S. to produce "ultra-efficient vehicles,"
passenger automobiles, light duty trucks or associated components that meet the DOE's emission and
fuel economy standards for "advanced technology vehicles." Political insiders will always, though, find
a way to disqualify any applicant who competes with campaign financier favorites. Hundreds of highly
qualified applicants were denied because Elon Musk knew they could put Tesla out of business without
DOE's exclusive support of his monopoly. Tesla's own senior staff have written widely about the 'gate-
keeper' insider trading scam at DOE. DOE is an anti-trust operator who is a gatekeeper of industry
winners and losers based on who donated the most to certain PACs.
To date, the DOE has funded five loans under the ATVM program totaling $8.4 billion, approximately
one-third of its $25 billion loan authority. The ATVM program is not subject to an expiration date, and
despite previous congressional efforts to rescind ATVM's corruption-based funding, the program and its
remaining $16.6 billion in loan authority remain available for insider projects that can be trusted to kick
campaign financing back to certain politicians. In the most recent DOE funding bill, Congress directed
LPO to "expeditiously evaluate and adjudicate all loan applications received" by the ATVM program,
another sign that Congress wants to see a resumption of federal loan guarantees.
The Secretary of Energy and the Chief Counsel for the United States Department of Energy have been
challenged, in writing, to provide the names of ANY Loan Programs Office (LPO) or Advanced
Technology Vehicles Manufacturing (ATVM) Program official, reviewer, advisor or staffer who was
not, from 2007 forward, either financed by, friends, with, sleeping with, dating the staff of, holding
stock market assets in, promised a revolving door job or government service contracts from, partying
with, personal friends with, photographed at private events with, exchanging emails with, business
associates of or directed by; one of those business adversaries, or the Senators and Department of
Energy politicians that those business adversaries pay campaign finances to, or supply political digital

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services to. From 2008 forward, The White House and The Department Of Energy were controlled by
the Silicon Valley tech oligarchs! That is a violation of the law, the Constitution and the American Way.
Department of Energy PR officials blindly push their revisionist history propaganda party-line hype
that the DOE has been "fair and successful". There has never been a bigger lie on Earth since the first
frat boy told the first sorority girl "don't worry, I won't get it in your mouth.."
One group used CIA and FBI style investigation tools to hunt down every reviewer, contractor and
insider involved in the Loan Programs Office (LPO) or Advanced Technology Vehicles Manufacturing
(ATVM) Program since 2007. A forensic chart was produced showing the insider trading, revolving
door and social engagements of each. In almost 97% of the cases, every person was found to have
glaringly unethical, often criminal, conflicts of interest between beneficiary lines of connection.
In fact, multiple groups have insisted that the FBI, the NSA, The CIA and 60 Minutes conduct their
own independent studies, on a name, by name basis of the DOE staff involved and publish the results
of that study to Congress and the public. The forensic facts prove the following:
- Famous political figures use the trillions of dollars in government treasuries and the stock market for
illicit profiteering by rigging the system exclusively for themselves and their crony insiders.

- They attacked whistle-blowers using government taxpayer funded media (Fusion GPS, Black Cube,
Google, Pysops, Gizmodo, Media Matters, Blumenthal, etc.) and spy agency tools because others
competed with their businesses and reported their crimes.

- San Francisco Bay Area government has as many corrupt politicians as Chicago and relies on the
same RICO-violating insider corruption network to operate; as proven by deep AI searches of their
financial records. Arrests of those officials is now underway.

- Silicon Valley law enforcement records prove that these tech oligarchs engage in an organized,
racketeering-based, massive sex trafficking, tax evasion, anti-trust violating, spousal abuse, money
laundering, black-listing, racist, ageist, political bribery, crony racketeering crime Cartel.

- Famous U.S. Senators, Governors and their staff knowingly engage in, finance, operate and benefit
from these crimes in exchange for search engine manipulation and stock market assets.

- Silicon Valley and Hollywood media companies censor and cover-up news coverage of these crimes
because they have a financial connection to the perpetrators.

- Most of the government officials working on this were hand-picked by the adversaries of the whistle-
blowers. Whistle-blowers cases have never been fairly reviewed by non-biased, non-conflicted
officials. FBI associates have not found a single entity in the case reviews, or determinations, who was


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not either: financed by, friends, with, sleeping with, dating the staff of, holding stock market assets in,
promised a revolving door job or government service contracts from, partying with, personal friends
with, photographed at private events with, exchanging emails with, business associates of or directed
by; one of those business adversaries, or the Senators and politicians that those business adversaries
pay campaign finances to, or supply political digital services to.
The U.S. Department of Energy has supplied no apologies, no compensation for damages to the victims
and no halt in the slush-fund payola schemes!
Do you doubt the veracity of these claims? Show this letter to Bill Cooper, the head lawyer for DOE.
Ask him to provide forensic data proving any of these assertions are not true! He can't do it!
We can provide thousands of FBI agents, investigative journalists and Congressional staff to prove
these assertions are true.
Dept. of Energy staff claim that they got rid of all of the bad people at DOE and that the evil ones don't
work there any more but OPM confirms that to be a lie. The stock market holdings, revolving door
deals, voter records and social media postings of the current Dept of Energy staff prove that the corrupt
ones never left. Tell DOE to take a look at their moral construct if they contact you!
See http://www.majestic111.com for more on this.
Jay Carney was Obama's "Hit Man" in the Oval Office at The White House during the Cleantech
Crash. It was Carney who helped order character assassinations and hit jobs on members of the public
who spoke out about the crimes. Carney was recently caught, again, ordering hit jobs at Amazon, as
well. In a famous magazine interview, his home was revealed to be covered in communist propaganda
posters.
Leaked notes from an internal meeting of Amazon leadership obtained by VICE News reveal company
executives discussed a plan to smear fired warehouse employee Christian Smalls, calling him “not
smart or articulate” as part of a PR strategy to make him “the face of the entire union/organizing
movement.”
“He’s not smart, or articulate, and to the extent the press wants to focus on us versus him, we will be in
a much stronger PR position than simply explaining for the umpteenth time how we’re trying to protect
workers,” wrote Amazon General Counsel David Zapolsky in notes from the meeting forwarded widely
in the company.
The discussion took place at a daily meeting, which included CEO Jeff Bezos, to update each other on
the coronavirus situation. Amazon SVP of Global Corporate Affairs Jay Carney described the purpose
to CNN on Sunday: “We go over the update on what's happening around the world with our employees
and with our customers and our businesses. We also spend a significant amount of time just
brainstorming about what else we can do” about COVID-19.



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Amazon fired the warehouse worker Smalls, after he led a walkout of a number of employees at a
Staten Island distribution warehouse. Amazon says he was fired for violating a company-imposed 14-
day quarantine after he came into contact with an employee who tested positive for the coronavirus.
Zapolsky’s notes from the meeting detail Amazon’s plan to deal with a wave of bad press and calls for
investigations from elected officials following the firing of Smalls. They also show top Amazon brass
wanted to make Smalls the focus of its narrative when questioned about worker safety.
“We should spend the first part of our response strongly laying out the case for why the organizer’s
conduct was immoral, unacceptable, and arguably illegal, in detail, and only then follow with our usual
talking points about worker safety,” Zapolsky wrote. “Make him the most interesting part of the story,
and if possible make him the face of the entire union/organizing movement.”
They discussed encouraging Amazon executives to use Smalls to discredit the wider labor movement at
Amazon. Employees at the warehouse, known as JFK8, launched an effort to unionize in 2018.
In his notes, Zapolsky wrote that there was “general agreement” on this point among the other
attendees of the meeting. (Zapolsky’s notes also mention SVP of worldwide operations and customer
service Dave Clark and SVP of human resources Beth Galetti.) This is the typical culture of the Obama
crowd of insider executives who will destroy any citizen who gets in their way. Jay Carney runs a
Massive covert organized corruption team at Amazon in order to manipulate Democracy.
Massive covert organized corruption teams operate these kinds of manipulation of the truth and of
Democracy with the cooperation of U.S. Senators and agencies like The Department of Energy.
Examples of these groups include Pacronym and American Bridge who are part of Arabella
Advisors, a consulting firm that is not required to identify its donors.
Pacronym’s affiliated groups create a large network of fake local news outlets that are designed
to promote progressive viewpoints inside battleground states in order to rig insider trading for
their top bosses.
They are all part of a wealthy dark money network that manipulates public policy for personal
profiteering.
American Bridge 21st Century and Pacronym are cutting ads thrashing outsiders as super PACs who go
after people they don't like, The Washington Post reported. Both groups also have ties to two fake false-
front large nonprofit groups — New Venture Fund and Sixteen Thirty Fund — connected to a massive
extreme-leaning consulting group.
NVF gave one of Pacronym’s nonprofits — ACRONYM — $250,000 while providing American
Bridge $40,000 in 2018, according to NVF’s 2018 IRS documents. IRS records also indicated
American Bridge pulled in $200,000 in 2018 from nonprofit Sixteen Thirty Fund, which reportedly
spent $141 million on various extreme-leaning causes during the midterm election year.


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Sixteen Thirty Fund and nonprofit NVF are tied into the same sprawling network, according to an
analysis by investigators. Arabella Advisors, a philanthropic consulting company based in Washington,
D.C., manages four nonprofits, including the NVF, Sixteen Thirty Fund, Hopewell Fund and the
Windward Fund.
Sixteen Thirty Fund has not responded to requests for comment, while NVF acknowledged making a
grant to ACRONYM in 2018 but noted that it “has nothing to do with the activities at PACRONYM or
American Bridge.”
Arabella representative Steve Sampson called NVF merely a “client of ours,” even though the
consulting group shares a Washington, D.C., office with all four groups, according to NVF and Sixteen
Thirty Fund’s 2018 IRS records. American Bridge has not responded to requests for comment.
Other groups have raised alarms about the network as well.
“Arabella Network is the umbrella, and they have these two funds that flow toward both of these
groups. A clearly full-blown extremist arm that is casting itself as a nonprofit is politiicizing this
event,” former Nevada Attorney General Adam Laxalt told the press.
Laxalt is the Outside Counsel to Americans for Public Trust, a group dedicated to uncovering unethical
behavior. Americans for Public Trust has covered the network in the past. (RELATED: Billionaire
Allegedly Behind A False Flag Operation In Alabama Helped Finance The Group Behind Iowa
Caucus Chaos)
“American lives are more important than scoring cheap political points,” he added after suggesting that
the group is striking while the iron is hot and making certain they capitalize on a crisis that has so far
killed thousands of people.
Laxalt is referring to Pacronym’s announcement on March 17 to plow $5 million into a digital
advertising campaign railing against those they hate. The ads are published through Four is Enough, a
Pacronym project.
ACRONYM’s founder said the campaign makes sense from a public health and national security
perspective.
Democratic operative David Plouffe another Jay Carney-type "hit-man", who managed former
President Barack Obama’s 2008 White House bid, sits alongside McGowan on ACRONYM’s board.
ACRONYM has not responded to the DCNF’s repeated requests for comment. (RELATED: Tech
Firm Behind Iowa Caucus Disaster Also Played Role In Creating A Covert Democratic
Propaganda Media Outfit)
Some academics argued that orchestrating such a campaign skirts ethical rules. Running advertisements
thrashing the president during a health crisis looks bad, according to Daniel Kreiss, a professor of
political communication at the University of North Carolina at Chapel Hill.


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“It’s a very fine line between ensuring that the president has the legitimacy to speak authoritatively on
what Americans must do in order to be safe, and the very real and legitimate questions to raise
regarding how the president has handled this crisis given that he’s on the ballot in November,” Kreiss
told WaPo in a March 17 report addressing the ad campaign push.
Laxalt, Nevada’s former attorney general, expressed a similar position.
“The timing of attacking the president in battleground states is appalling. If they are going to do it, then
you name the place. I think that doing it right this second is outrageous,” he told the DCNF.
Meanwhile, ACRONYM’s McGowan is also creating a constellation of local news websites that act as
progressive arms targeting the president and his policies.
McGowan, a digital producer for Obama for America in 2011 and the proprietor behind ACRONYM,
raised at least $25 million from wealthy liberals to create a media company called Courier Newsroom
that is designed to deliver information favorable to Democrats. Courier is rolling out newspapers in
swing states to counter what its founder believes is right-wing spin on Facebook and across the digital
domain.
Along with the Courier Newsroom, McGowan is reportedly creating Virginia Dogwood and Arizona’s
Copper Courier, among others that are expected to roll out in Michigan, North Carolina, Pennsylvania,
Virginia and Wisconsin, all battleground states.
Mind the Gap at Stanford University is an even sneakier covert group from this crowd. Their efforts
haven’t previously been reported. They recently petitioned some donors for at least $100,000 to support
its efforts. Backers include people like Facebook co-founder Dustin Moskovitz, former Google CEO
Eric Schmidt, San Francisco power broker Ron Conway, and a coterie of major Democratic donors
from across Silicon Valley, including fundraiser Amy Rao. What is also unusual is that Mind the Gap is
led not by highly experienced political hands, but by academics with no professional backgrounds as
fundraisers. The group’s leaders are a pair of Stanford law professors: Barbara Fried, who has no
apparent campaign experience, and Paul Brest, the former president of the William and Flora Hewlett
Foundation. Graham Gottlieb, a Stanford fellow who served in junior roles for former President Barack
Obama’s 2012 reelection campaign and in his White House, is its executive director.
While dressed in khaki's and acting like they are "saving the trees", the people behind these groups are
cold-blooded mercenaries drunk on power, hookers, private jets and a sense of being above-the-law.
- The FBI and other law enforcement organizations define a "cartel" as: 'An association of industrialists
and business firms organized covertly to establish a national, or international monopoly, via price
fixing and ownership of controlling stock, to operate a trust or monopoly to reduce competition
between themselves by allocating markets, censoring public knowledge, manipulating governments or
controlling the price and production of media, products and/or services.' This case is about a criminal
"cartel". The Silicon Valley Cartel is an organized criminal enterprise!


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- "Government officials and their Silicon Valley cartel financiers are refusing to pay our damages,
blocking our legal rights, operating spy agency-type reprisal attacks and running cover-ups. We
demand that they pay us for our damages back fees and harms from their felony crimes... - Ask the FBI
to show you the 302 reports on this case. Demand that we get a fair Jury Trial. End these bribes and
payola schemes. U.S. Government : PAY OUR DAMAGES!... 'Hundreds of millions of dollars of
crony bribe cash uncovered in covert family trusts, stealth real estate holdings, shell corporations,
Cayman Islands hidden accounts, false-front Goldman Sachs accounts, and nepotism deals held by
Harris, Boxer, Feinstein, Pelosi, Reid, Biden, etc. They were was supposed to protect us and, instead,
lied to us, ran hit-jobs against us and competed with us!
EACH CITY, STATE, COUNTY AND FEDERAL OFFICIAL CHARGED IN THIS MATTER WAS
RECEIVING STOCK MARKET ASSETS, DIRECT CASH PAYMENTS, POLITICAL CAREER
EXCLUSIVES, SEX WORKER EXCHANGES, REAL ESTATE PERKS, PROMOTIONS AND
OTHER BRIBES; AND THOSE OFFICIALS HAD INVESTMENT, PERSONAL AND POLITICAL
AFFILIATIONS WITH THE ADVERSARIES CHARGED HEREIN; AND THOSE OFFICIALS
HAVE BEEN FOUND, BY FEDERAL INVESTIGATORS, TO HAVE USED SPY AGENCY
RESOURCES TO ATTACK PLAINTIFF IN REPRISAL AND IN ANTI-COMPETITIVE BUSINESS
INTERFERENCE.
It has also been proven that most of the money in the 2008 and 2021 "Stimulus" funding was targeted
to companies who were friends and financiers of The White House!




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Exhibits




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Those Who Were Killed

THE MURDERS AND SUSPICIOUS DEATHS IN THIS CASE


All of these people are connected to the suspects in the corruption Cartel that is under investigation.
These deaths are vastly outside the odds-of-coincidence. Forensic math says a large number of them are
murders. The family and friends of many of these deceased persons have contacted our legal team and
stated that they have “evidence of murder”. Our staff and Alliance members personally knew many of
these people and were told, by some of them, in advance of their deaths, of threats on their lives for
whistle-blowing. The suspects are crazy enough and powerful enough to kill to try to control over six
trillion dollars of federal and monopolistic funds for their stock market accounts and to get to run the
White House! We knew some of these people personally!

Every one of these people are dead. That is a fact!

Every one of these people had knowledge of the suspects. That is a fact!

Many investigators have provided evidence which proves that many of these people may have been
able to have the suspects arrested if they had been allowed to give testimony in court. That is a fact!
- Daphne Caruana Galizia, 53 - dubbed a "one-woman WikiLeaks" - was killed as she was driving
near the village of Bidnija in northern Malta.Car bomb kills journalist behind Panama Papers offshore
tax evasion investigation 'days after she received threats to her safety'. She had seen leaked documents
that connected the suspects to an international money and political manipulation scheme.
- James D Johnston, GM lobbyist/key witness. Had was connected to the Dept. of Energy car funding
scheme. He was involved in money management with the suspects. May have "known too much".


- Rajeev Motwani taught Google how to Google. Suddenly, in perfect health, he was found floating
face-down, dead, in his Silicon Valley swimming pool. It helps certain people that he can no longer
talk.
He knew the dirty secret behind Google and Youtube. Sergy Brin and Larry Page got the idea for
manipulating user data from him.


- Gary D. Conley was the CleanTech competitor to, and whistle-blower on, the suspects. He was
suddenly found with a bullet in his head behind Beale Air Force base. It helps certain people that he can
no longer talk. He said he thought he was going to be killed for exposing the Silicon Valley Cartel.

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- Google programmer Forrest Hayes, who worked on Google search engine rigging, was suddenly
found dead with the story that “he was overdosed by a Google hooker on his sex yacht”. He knew the
dirty secret behind Google and Youtube


- Google associate and Tesla Investments founder Ravi Kumar was also killed by a hooker. Was
involved in money management with the suspects. May have "known too much".


- Deep Google investor VC liaison and husband of Facebook executive Cheryl Sandberg, Dave
Goldberg was suddenly found dead with a hole is his head. The “official” story is that he was the first
person in history to be killed by his treadmill. He knew that Facebook was rigging elections and had
used his survey system to help do it.


- David Bird was the Wall Street Journal energy reporter who was working on a story that involved
Cleantech energy connections of some of the suspects. He was working on a story about who
controlled the modern energy industry and cleantech.He went for a walk and was found a long time
later, dead, floating in a pond. It helps certain people that he can no longer talk.


- One Andrew Breitbart was a famous blogger, who railed on the web about the political
manipulations of the suspects. Suddenly, he had a "heart attack" in his shower and died. It helps certain
people that he can no longer talk on the blogs. Died of a massive heart attack, walking outside late at
night, alone, in the dark approximately one week before he was to produce tapes of Obama's extremist
activities in college. More speculation: Breitbart: "Wait 'Til They See What Happens March 1st",
Breitbart's Footage Shows Obama 'Palling Around' With Terrorists..... Sheriff Joe Arpaio: I Spoke with
Andrew Breitbart Shortly Before he Died ......An Eyewitness Speaks Out About Andrew Breitbart's
Death Scene... Breitbart's skin color described as bright red. ... Was Andrew Breitbart
assassinated?...More murder speculation: Was Andrew Breitbart Murdered?..........Coroner: Breitbart
Died of Heart Failure...* Christopher Lasseter, Dissapears.....witness to Breitbart's death vanishes -
Follows suspicious demise of member of coroner's team (possibly in hiding to avoid reporters), ....
Breitbart witness: He dropped like sack of bricks Describes 'thick white band' around forehead at death
; Ex-CIA Agent Claims Obama Killed Breitbart and Clancy (story also linked here ) ; Ex-CIA Agent
Claims Obama Had Breitbart and Clancy Killed ; Brandon Walker interviews Doctor Jim Garrow,
philanthropist and worker for one of the largest non-profit organizations on the planet to save female
children from slaughter in China.. states he knows that President Obama ordered the murders of Tom
Clancy and Andrew Breitbart (Audio) Michael Cormier - respected forensic technician for the Los
Angeles County Coroner died under suspicious circumstances at his North Hollywood home April 20,
the same day Andrew Breitbart’s cause of death was finally made public. Medical examiners in Los


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Angeles are investigating the possible poisoning death......Conspiracy theorists cry foul after Andrew
Breitbart's 'coroner' dies of arsenic poisoning- ....Police Debunk Theories Linking Breitbart, L.A.
Coroner Tech Deaths ; No Answers in Death of Technician Linked to Andrew Breitbart: Killed by high
amounts of arsinic in his system ; Breitbart's Coroner Murdered. News From LA


- Karl Slym, with Tata Motors was involved in a car deal with some of the suspects for one of the
biggest Indian auto-makers. Suddenly he was a stain on the sidewalk, accomplished by his fall from the
top of a skyscraper hotel. It helps certain people that he can no longer talk.
- Doug Bourn, The senior electrical engineer at Tesla (Google's covert partner), Andrew Ingram of
Palo Alto, a top systems electrical engineer at Tesla; and Brian M. Finn the senior manager of
interactive electronics, at Tesla, had deep knowledge of financial misdeeds and technical cover-ups at
Tesla Motors. They were key parts of the Tesla operation. For some reason, they all got into a private
airplane, in perfect health, and then the airplane plowed into the ground, killing all three at once. It
helps certain people that they can no longer talk. They wrote, and helped describe, in Tesla's own
federal patent filings, the fact that Tesla's batteries would kill you, maim you and/or burn your house
down. Tesla did not realize this when they paid the federal patent filing fees. When Tesla, later realized
this, they were forced to give all of their patents away for free. These three senior engineers had deep
inside knowledge of the Tesla Motors operations. Their aircraft suffered an "Engineering failure".
- The health director who approved the release of President Obama’s birth certificate has died in a plane
crash: Loretta Fuddy. She was one of the few people who could confirm data on the certificate.
- Stanley Meyer - Hydrogen car developer whose technology would have obsoleted Tesla Motors
lithium ion battery
- Danny Lewin, Creator of Bulk Internet at Akamai. The Architect and Builder of the Internet Tracking
System- Plane Crash 9/11

- John Wheeler - Washington DC- Drugged, escaped, recaptured, murdered. former presidential and
Pentagon aide John Wheeler III was found in a Delaware garbage dump. Wheeler's cell phone
discovered - Cause of death released in Wheeler case, blunt force trauma -- Wheeler's cell phone found
in a taxi -- His family wants information - John Wheeler was assassinated by a hitman in a targeted
killing, his widow has claimed - Who killed Jack Wheeler? ; John Wheeler III Murdered for
Threatining to Expose US Military Test of Poison Gas?
- Ashley Turton, wife of White House liaison Daniel Turton. wife of the Obama administration's
House of Representatives liaison, Dan Turton, was found dead in a burning car Monday morning , Roll
Call and other news outlets are reporting. Fire officials said it appeared the car crashed as it was pulling
in or out of the garage behind a rowhouse in the Capitol Hill neighborhood of Washington, D.C., at
about 5 a.m. Neighbors dialed 911 after spotting the fire. The body was discovered after fire crews

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doused the blaze. The fire also charred part of the garage. Nobody in the house was injured, fire
officials said. Ashley Turton worked as a lobbyist for the utility giant Progress Energy, according to
Politico. She was a former staffer for U.S. Rep. Rosa DeLauro , D-Conn. The Rahm Emanuel
Connection to the Deceased Ashley Turton, -- The ATF investigates - Ashley Turton Crashed Under the
Influence
- David Werner, Former Member of the Capitol Steps
- ACLU figure Larry Frankel found dead in Washington creek
- Josh Burdette, Washington DC’s, 9:30 Club manager
- Kam Kuwata, Washington, DC. Kam Kuwata - was found dead inside his Venice home after friend
— concerned that they had not heard from him for a few days — alerted police. Political consultant in
California. Democratic insider. Possibly the Obama consultant referred to in the Ulsterman Report:
Alledgedly viewed bizarre drug induced behavior from Obama during the the 2008 campaign.: "The
Troubling Timeline".... The Death of a Political Operative – The Troubling Timeline… (UPDATED)
- Michael Hastings- Reporter. Michael Hastings: Rolling Stone Journalist, Author Believed to be
Dead in Hollywood Crash... known for his interview of Gen. Stanley McCrystal: Michael Hastings
death: Coroner still hasn't ID'd badly burned victim: Picture of the burned out car ; autopsy results will
take weeks; Video report .. was covering a story about the defense dept. and Hollyood... nervous
wreck ; Michael Hastings, journalist who helped bring down US general, dies at 33 ; WikiLeaks Claims
Michael Hastings Told Them FBI Was Investigating Him Hours Before He Died ; Hastings' death in
fiery car crash is just the latest in a growing list of dead investigative journos ; Michael Hastings'
Chilling Final Story....-->"Why Democrats Love to Spy on Americans" ; Michael Hastings researching
Jill Kelley case before death ; Hastings "Boston Brakes" Killing a Warning? ; FBI says journalist
Michael Hastings was not under investigation ; Michael Hastings "CAUGHT ON TAPE" Running
Red-Light Seconds Before Crash ; Journalist Michael Hastings Dies in Fiery Crash / Hollywood RAW
FOOTAGE ; Hastings Sent Colleagues Email Hours Before Crash ; Was Michael Hastings' Car
Hacked? Richard Clarke Says It's Possible ; Journalist Michael Hastings' Body Cremated by
Authorities Against Family's Wishes (Video) ; Hackers Reveal Nasty New Car Attacks--With Me
Behind The Wheel (Video) ; MICHAEL HASTINGS CRASH CAUGHT ON SURVEILLANCE
CAMERA ; Bush advisor: Hastings crash 'consistent with a car cyberattack' ; Group sues FBI for
records after Michael Hastings' mysterious death ; Report: Michael Hastings Was Investigating CIA
Director John Brennan ; CIA Director Brennan Confirmed as Reporter Michael Hastings Next Target ;
Coroner Classifies Michael Hastings' Death As Accidental ; Coronor: Drugs in Hastings' system. Was
Bipolar ; Rolling Stone journalist feared prior to crash his car was tampered with: Report ; Mystery
grows: Journalist died prepping Obama exposé Major probe tied to agent suspected of sanitizing
president's passport records ; Who Killed Michael Hastings? ; Why Was the FBI Investigating Michael
Hastings’ Reporting on Bowe Bergdahl? - see Nachumlist file "Bad Bergdahl Bargain" ; Hastings'


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article in 'Rolling Stone on Bergdail: America's Last Prisoner of War (June 2012) ; Michael
Hastings: CIA Director John Brennan Appears On Fox News Sunday – And Missing Historical Puzzle
Pieces Simultaneously Fall Into Place….
- Jody Sherman
- Aaron Swartz – Silicon Valley insider running investigation research. Aaron Swartz: 26-year-old
genius, computer prodigy, co-creator of RSS and Reddit, commits suicide after Obama DOJ
harassment; 'kill list' critic ; Attorney for Aaron Swartz: Prosecutors' Arguments Were "Disingenuous
and Contrived" ; Aaron Swartz dead; was this brilliant internet revolutionary 'taken out?'( disclose tv )
The cause of death is currently unconfirmed. : The father of information activist Aaron Swartz blames
US prosecutors for his son’s death: Aaron Was Killed By The Gov't ; Aaron Swartz' suicide raises
questions for Eric Holder and the Justice Dept. ; Issa, Cummings press Holder for answers about Aaron
Swartz trial ; Aaron Swartz files reveal how FBI tracked internet activist ; Daryl Issa (on Twitter): Very
concerning allegations about DOJ's handling of Aaron Swartz case on pg. 67-68 of MIT Report ;
Documents show Secret Service kept tab of Swartz ; First 100 Pages of Aaron Swartz's Secret Service
File Released. This hacker stated that he had come across evidence of this corruption Cartel on
University servers.
- Ilya Zhitomirskiy, 22-year old a co-founder of the start-up social network Diaspora, which has been
described as the "anti-Facebook" for its emphasis on personal privacy and decentralized data collection.
Friends and associates of Mr. Zhitomirskiy said there were indications of suicide.
- Jeff Joe Black: Found dead on a hiking trail from "blunt force trauma to the head": Chicago activist
who claimed that Emmanuel was put into place in Chicago to oversee a coming false flag event.
- Robin Copeland, 46, 11/4/2011: former Energy Department official who took part in several
significant disarmament programs, died suddenly
- Dominic Di-Natale; Veteran Fox News correspondant in the middle east, committed suicide; covered
the Arab Spring, Egypt, fall of Libya and Benghazi Fox News journalist Dominic Di-Natale dead at 43
; I debated whether to repost this (I taped this in February 2013) ….and decided that I would like you
to know my good friend and colleague Dominic Di-Natale …this is tough for many of us at Fox News
(Greta Van Sustern Interview) ; Mysterious Death of Obama Critic and Reporter on Bin Laden’s Death
and Ferguson Labeled Suicide
- Tyler Drumheller; CIA Figure in Hillary Clinton Email Scandal Dies at 63 ; Tyler Drumheller, CIA
officer who exposed U.S. reliance on discredited Iraq source ‘Curveball,’ dies at 63
- Bill Gwatney, a close friend of Bill and Hillary Clinton and a Clinton super delegate at an upcoming
convention in Denver and was fatally shot in 2008. Shooter had a post-it note with a mystery phone
number. Did Obama Assassinate Clinton delegates? Bill Gwatney and Stephanie Tubbs Jones? Video:
Bill Gwatney Murder Linked to Obama


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- Lieutenant Quarles Harris Jr.- A key witness in a federal probe into passport information stolen
from the State Department was fatally shot in front of a District church. Obama's Passport Breach:
Unanswered Questions, and an Unsolved Murder : Harris worked for a security firm run by John
Brennan, later to be a terrorism advisor to Obama. Listed as a detail in Youtube video "Shocking
Secrets and Verifiable Facts about Barack Obama the MSM Refuses to Report" (at approx. 22 minutes
in the video); Was an employee of John Brennan when murdered. John Brennan confirmed to head
CIA.
- Barnaby Jack: Hacker found dead days before he was to demonstrate how to hack a pacemaker.
Claimed to have hacked White House.
- Stephanie Tubbs Jones: found brain dead in 2008. Democratic Rep. Stephanie Tubbs Jones of
Cleveland, a super delegate and one of Hillary Clinton’s most prominent black supporters, was found in
her car unconscious Also: Did Obama Assassinate Clinton Delegates? Additional: Hollywood
Producer Bettina Viviano: Bill Clinton Directly Told Me Barack Obama Not Eligible - ....Caucus death
threats (audio)... also reported by Jerome Corsi at WND: Hillary supporter's untold Obama horror
stories Allegations of intimidation, manipulation, sudden death
- David Koschman, Mudered in a Chicago Rush Street brawl by Richard J. “R.J.” Vanecko, a nephew
of Mayor Daley and White House Chief of Staff Bill Daley- Homicide case involving Daley nephew
closed without charges , Witness to Killing Involving Daley Nephew: Deceased Didn't Start It
- Robert McKeon: founder of private-equity firm Veritas Capital, dies Sept. 10, 2012 of suicide;
General Dynamics bought company in August 2011 to expand influence into Obamacare IT
- Alex Okrent: -Apparently found dead at Obama's campaign headquarters in Chicago. Witnesses say
he collapsed, found dead after. Okrent had long been a staffer back the Obama 2004 U.S. senate
campaign, on staff for eight years. Parents immediately say the cause of death was "heart attack", but
no autopsy was yet performed. Medical examiner said the cause of death was "inconclusive". Internet
recornds have been scrubbed. Twitter account timeline also makes no mention of his work for Obama:
Okrent Twitter file (on Twitter). - Speculation as to whether he was a witness to an Obama gay
connection: Who Is Dead Obama Staffer Alex Okrent? Youtube video: Who is Dead Obama Staffer
Alex Okrent? Part 1 .........-Part 2 ; Autopsy Inconclusive for Obama Campaign Worker Who
Collapsed at Chicago Campaign HQ ; Gay opinion piece...-Alex Okrent: Equality is a Moral
Equivalent; What Do Colorado Shooter James Holmes And Obama Staffer Alex Okrent Have In
Common?....no digital footprint on the internet; Was Obama Staffer Alex Okrent Murdered Because he
was Going to Expose Obama's Anti-Israel Ties?
- Seth Rich, Supposed leaker of Podesta and Clinton emails. Seth Conrad Rich : DNC Staffer;
Democratic National Committee staffer killed in Washington, D.C. shooting ; WIkileaks Offers $20K
Reward for Information on Murder of DNC Staffer Seth Rich ; Julian Assange on Seth Rich



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- Rafael Prieto: Secret service apparent suicide under investigation: D.C., police are investigating the
apparent suicide of a U.S. Secret Service supervisory agent assigned to President Obama's security
detail. -Was under investigation for going to prostitutes; Secret Service agent kills self amid affair
probe....Prieto’s apparent cause of death was carbon monoxide poisoning
- Keith Ratliff; ..was well known for a series of videos he produced on Youtube, known as
"FPSRussia," in which various high-powered firearms were demonstrated. Found with a single shot in
the head - Two gun makers killed in two days, and no answers (Photos) ; Partner YouTube video-maker
FPSRussia Home Raided by ATF
- Justice Antonin Scalia ; Supreme Court Justice Scalia dies ; Obama “Thrilled” Over Justice Scalia’s
Death… ; Ranch Owner Recalls Finding Justice Antonin Scalia’s Body ; Cibolo Creek Ranch owner
recalls Scalia’s last hours in Texas-..We discovered the judge in bed, a pillow over his head. His bed
clothes were unwrinkled," said Poindexter.; The death of Antonin Scalia: Chaos, confusion and
conflicting reports ; Presidio County Judge Cinderela Guevara, a Democrat, acknowledged that she
pronounced Scalia dead by phone, without seeing his body. ; Justice Scalia Dies At Ranch Resort
Owned By Democrat Party Donor & Obama Award Winner ; Scalia's Death Spares Unions From
Losing Political Power; Scalia's Death Spares Unions From Losing Political Power ; Antonin Scalia
Conspiracy Theories: Top 5 Questions About His Death ; ´Rest in paradise, Pop-Pop´: Scalia´s
grandson leads family tributes as doctor reveals he had high blood pressure, heart problems and was
too weak for surgery ; Justice Scalia Was Found Dead With A Pillow Over His Head, And His Body
Was Just Cremated, Destroying Any Chance Of An Autopsy ; Obama-Poindexter pics fuel Scalia
suspicions 'Conspiracy? That will be for you the readers to decide' ; (Michael Savage) WAS SCALIA
MURDERED? ; Was Scalia murdered? Forget "conspiracy theory." This is real. ; Detectives question
lack of autopsy in Scalia death ; Obama skipping Scalia funeral to golf? 'The president will pay his
respects at the Supreme Court on Friday'; Scalia's son calls the conspiracy theories about his dad's
death a 'hurtful distraction' ; US Justice Scalia Had Secret Texas Meeting With Obama Hours Before
His Death ; Report: Sheriff was told he had no authority in Scalia death ; Justice Scalia spent his last
hours with members of this secretive society of elite hunters ; Timeline of Events Surrounding Scalia's
Death ; Chief justice rejects plea to block air pollution rule (rumor why Justice Scalia was removed) ;
Justice Antonin Scalia: 3 DAYS b4 Scalia died this Podesta email was sent, using the term "wetworks"
- exclusively used in Military meaning "assassination" ; Wikileaks exposes the Assassination of Scalia
and it could bring down the Clintons and the Democratic Party
- SEAL Team 6: Helicoptor shot down by terrorists. Possibly given location by infiltrators. Obama
rules of engagement possibly lead to deaths. Father of fallen SEAL begs for military officer to tell the
truth about "criminal" rules of engagement ; The deaths of Seal Team Six ...who never would fly an
entire company in one helicopter alone. UNBELIEVABLE: 'More Than 20 Navy SEALS From The
Unit That Killed Osama Bin Laden' Die In Helicopter Crash ; 31 US troops, mostly elite Navy SEALs,
killed in Afghanistan 7 Afghan commandos also die in attack; SEALs were from same unit but not
same team that killed Osama bin Laden ; Navy SEAL Team 6 Families To Reveal Government's

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Culpability In Death Of Their Sons ; OUTRAGE! Obama Administration Allowed Radical Cleric to
Curse US Navy SEAL Heroes at Funeral Services (Video) ; TrentoVision 5.9.13 - Navy SEAL
Extortion 17 EXPOSED - Obama Failures ; SEAL Team Six Parents Demand Obama Answer For
Funeral Desecration ; UNANSWERED QUESTIONS PLAGUE SEAL TEAM 6 LOSSES Lawsuit
claims Navy used for White House effort to 'coddle Islamist fundamentalists' ; Congress to probe lethal
SEAL crash ; The unexplained ambush of Navy SEAL Team Six ; A Scandal Bigger Than Benghazi? ;
SEAL Team 6 families' suspicions of gov't grow 'I believe someone on their side definitely made a deal
with somebody on our side' ; SEAL's Parents: Obama's Rules Of Engagement Killing Our Troops ; Did
SEAL Team 6 die in Afghanistan to give Obama good publicity? [VIDEO] ; Michael Savage: SEAL
Team Six was set up, murdered in Afghanistan ; Senator: SEAL Team 6 At Risk After OPM Hack ;
Obama stonewalls probe into deadly SEAL Team 6 helicopter crash, watchdog says Brett D. Shadle:
SEAL, Special Warfare Operator Chief ; Member of SEAL Team 6 killed, another SEAL injured in
parachute accident
- Holiyah Soetoro Sobah, aka Lia Soetoro, Obama’s adopted sister: died under mysterious, sudden,
and unusual circumstances just as she was getting ready to be reunited with her childhood companion
and adopted brother. She spoke of many specific incidences in the household, where she grew up with
"Barry" in Indonesia. She saved many items that Barry used during childhood. She was looking
forward to seeing him, because she’d seen him on TV and was told that was “Barry”, her little brother;
however, Lia had reservations about it and so was anticipating seeing the scars he had from falling out
of the mango tree and the limp she said he walked with. That was not to be because she up and died.
Read about it here and watch video of here........PDF document from a web site of the Consulate
General of the Republic of Indonesia appears to confirm a relationship between Lia and Barack
Hussein Obama. Update On The Sudden Death Of Obama’s Sister Lia Soetoro: Information From The
Consulate General Of The Republic Of Indonesia.
- Ambassador Chris Stevens: (Also see the Nachumlist: "Benghazi-Gate" file ) Killed by a mob in
Libya. The Obama administration ignored warnings two days prior to the attacks. Hillary Clinton
made the decision not to post Marines. New now comes out that Stevens was gay: meaning that
Obama sent a publicly gay man to be an ambassador in a Muslim country. Obama skipped intel
meetings for days leading up to the attacks despite credible information of the attacks. Video: Libyan
democratic party spokesman: amb christopher stevens was a muslim (Statement that Ambassador
Chris Stevens was a Muslim is made between 1:00 & 1:20); Col. David Hunt: "State Department just
allowed our guys to get killed" : Glenn Beck video: Stevens was a CIA operative and weapons dealer-
Glenn Beck "the Blaze TV" 9-17-12 US arms terrorists in Middle East? ; Report: Terrorist Behind
Ambassador Murder 'Ally of Sorts' to Obama Admin ; Report: Murdered Ambassador Knew He Was
On Al Qaeda Hit List ; Video of Stevens Murder: What Really Happened- Video which some news
outlets claimed had showed Libyans trying to save Ambassador Stevens turns out to show the
opposite.; Clinton: 'No Info' Amb. Stevens Was on al Qaeda 'Hit List' ; Evidence mounts that al-Qaida
group killed US ambassador to Libya ; Obama Politicizes The Sacrifices Of The SEALs - Again ; Did


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Hillary Clinton send a gay ambassador to Libya as intentional provocation? ; CNN obtains journal of
slain ambassador, reportedly goes against his family’s wishes ; Anderson Cooper admits that CNN
found slain American ambassador's journal inside U.S. consulate in Libya and 'secretly' used it in
reporting ; Obama Went to Bed While Consulate was Under Siege ; CNN Hid Knowledge of Libya
Ambassador Diary For Days ; Report: State Dept Left Consulate Unsecured Days After Ambassador
Murder ; Prior attacks on the embassy...Flashback: Bomb targets U.S. mission in Libya's Benghazi ;
US Consulate in Libya Bombed Twice in Run-Up to 9/11 Attack, Ambassador Known Target (+video)
; Obama to UN: It's Not My Fault Stevens is Dead ; Obama Administration Knew Libya Attack Was
Terrorism Within 24 Hours ; Obama Administration Deleted State Dept. Memo From Internet After
Discovering Al-Qaeda Was Behind Benghazi Attack ; Christopher Stevens, U.S. ambassador to Libya,
dead body. No bruises on face.; Despite looting of the embassy and the loss of sensitive documents,
CNN finds Stevens' diary. ; Benghazi: The Unanswered Question- what lapses on the part of the
Obama/Clinton State Department made his murder sickeningly easy?; In Libya, Security Was Lax
Before Attack That Killed U.S. Ambassador, Officials Say ; Did the White House order a cover-up over
the murder of Libya's US Ambassador? ; Report: Obama Admin Rejected Military Intervention in
Benghazi During Attack ; Benghazigate: Obama Chose Not to Save Ambassador Stevens' Life ; Was
Ambassador Stevens' death a hit? ; Mother of Slain State Dept. Official Tired of Being Lied To and
Stonewalled by Obama Administration ; Benghazi Attack Was Botched Kidnapping To Trade Blind
Sheik... and arranged by Obama? ; Obama Arranged Benghazi Trip That Resulted In Murder Of US
AMB Chris Stevens; ... Stevens in possession of death certificate of Osama Bin Laden?, - OBL died in
2001? ; CIA operators were denied request for help during Benghazi attack, sources say: .....Denied 3
Times ; John McCain: Obama Administration has Classified Benghazi Surveillance Tapes Top Secret ;
Obama avoids question on whether Americans in Libya were denied requests for help ; Why Did CIA
Director Petraeus Suddenly Resign … And Why Was the U.S. Ambassador to Libya Murdered? : (Ann
Barnhardt) Proof Benghazi was Murder of Stevens: "Hillary (Clinton) began pushing the fake "protests
against a video blaspheming the prophet" BEFORE WOODS AND DOHERTY WERE KILLED. Per
the story below, the Associated Press first published a story on Hillary's official statement on Benghazi
at 10:58pm Eastern, which means that the State Department must have released it BEFORE 10:58 pm
EDT. Which means that is was actually written and composed hours before that. State Department
press releases in the Secretary of State's name aren't written and released without all kinds of
"approvals" and process. And this statement is written in nuanced prose, referencing "religious
tolerance" and all kinds of bullshit. It isn't a flash bulletin. It was thought out, long and hard. Doherty
and Woods were killed by mortar fire between 11:14 and 11:26 pm EDT. Here is the citation link." ;
Lindsey Graham: Hillary Clinton 'got away with murder' ; The secret war behind Benghazi A stealth
campaign of assassinations, run by CIA nominee John Brennan, resulted in the death of the US
ambassador, a new book claims...- Claim that secret war ran behind the back of Gen. Patreus ; Video:
The John Brennan puzzle is slowly being pieced together: Stevens recruited by Hillary Clinton to run
guns to Syria from Libya ; Ambassador Chris Stevens didn’t have to die in Benghazi – The real story of
what led to his death on 9/11: Book Benghazi: The Definitive Report ; More evidence of slain U.S.

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ambassador's secret activities ; Is Muslim Brotherhood working together with Amb. Chris Stevens'
assassin? ; 15 Benghazi Eyewitnesses “Unable” to Testify- : Because they're dead RELATED: Colonel
Ibrahim al-Senussi Akila- was shot to death in his car, in downtown Benghazi. ; Ali Ani al Harzi was
killed in a U.S. airstrike in Mosul; Why Was a Key Benghazi Suspect Free?
- Sarah Kershaw, Former Times Reporter, Dies at 49 ; Former NYC journalist Sarah Kershaw found
dead in Dominican Republic, told friends she planned to end her life ; Sharing Their Demons on the
Web ; NY Times Reporter Murdered in Dominican Republic Spoke about Psychotronic Warfare and
MK-ULTRA ; NY Times Reporter Found Dead After Exposing MKUltra ; Occipital Neuralgia
- Mikhail Lesin, a close ally of The Kremlin and the man credited with “inspiring” the creation of
Russia Today, was found dead on an “upper floor” in the hote ; Putin's Multi-Millionaire Media Mogul
Dies Of Mysterious "Heart Attack" In Luxury
- Gareth Williams: Clinton secrets hacked by spy in bag- THE MI6 spy found dead in a holdall had
illegally hacked into secret data on Bill Clinton ; MI6 spy found in holdall 'hacked into secret data
about Bill Clinton' ; Spy found dead in a bag 'had infuriated his MI6 bosses by illegally hacking into
secret US data on Bill Clinton' (Also see the Hillary Clinton Dead Pool)
- Stephen Ivens FBI special agent : Body Found. Worked in counter terrorism. Is the FBI
Investigating Obama? Video: What Really Happened To FBI Special Agent Stephen Ivens ? ; FBI
Agent Fleeing Massive Manhunt Warns "They’re All Insane" : Speculation of a 'False Flag' operation
such as Operation Northwoods. Shortly before his death: Donald Sachtleben, former FBI agent,
arrested on child pornography charges. Note: Two Hikers happened to find Ivens' body, but over 100
FBI agents could not.
- Bob Simon, CBS Correspondant; '60 Minutes' correspondent Bob Simon dies in car accident ; : Bob
Simon's final 60 Minutes report airs: Ebola treatment story was finished on the day he died in tragic
crash and was produced by his beloved daughter Tanya. Helped 60 Minutes create the CLEANTECH
CRASH segment and was working on follow-up segment idea. When his car crashed, someone leaned
into the car a sprayed something at him.
- Don Pyle, wife, 4 realatives: missing after home fire. Fire guts Annapolis mansion; cybersecurity
exec Don Pyle, wife, 4 relatives feared inside; Technology tycoon, wife and their four grandchildren
confirmed dead in 'suspicious' fire at $9million Annapolis waterfront mansion - as police probe ruins
for the hallmarks of arson: Donald Pyle is chief operating officer of ScienceLogic, a Reston-based
cybersecurity company that monitors networks for private and government clients, including the
Pentagon. The company last year announced a partnership with L-3 Data Tactics of McLean to bring
“big data” monitoring to the U.S. intelligence community and federal government.
- Alex Lagowitz, Banker plunges to his death after eating magic mushrooms. Was involved in money
management with the suspects.



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- Michael Tabacchi, wife Denise Iran Pars Tabacchi: Baby son found abandoned in house as newly-
married couple are found stabbed to death in murder-suicide ; Was an "Associate for JP Morgan Global
Custody"; Another JPMorgan Banker Dies After Murder-Suicide: Chokes Wife, Stabs Himself To
Death. Was involved in money management with the suspects. May have "known too much".
- (same event that took the life of Eric Vandercar) Joseph Nadol, Eric Vandercar, Aditya Tomar,
Walter Liedtke, Robert Dirks ; Six People Died in a Fiery NY Train Crash Packed with 400 People…
3 Were Top Investment Bankers. Was involved in money management with the suspects. May have
"known too much".
- Eric Vandercar, Dies in Rail Crash, 53, a married father-of-two, was named as the first of the train
passengers who died ; 'She was not careless': Friends defend mother of three whose SUV got stuck on
tracks and caused NY train crash that killed five, as witnesses describe waiting for her to reverse before
tragedy struck ; Eric Vandercar, Morgan Stanley Veteran, Dies in Crash. Was involved in money
management with the suspects. May have "known too much".
- Chris Van Eeghen; "Cheerful" Dutch Financier Becomes 4th ABN Amro Banker Suicide. Was
involved in money management with the suspects. May have "known too much".
- Pierre Wauthier: Senior boss at insurance giant Zurich is found dead in his apartment ; Suicide
Banker's Widow Blasts Alleged "Cover-Up", Asks "Unbecoming Questions". Was involved in money
management with the suspects. May have "known too much".
- Valery Morozov ;: Banker dies after becoming impaled on railings in 60ft fall from central London
home ; Was death plunge tycoon murdered by Russian gangsters who stitched him up for his fortune?
Dissident claims mafia helped Scot Young hide £400m from his divorced wife then refused to give it
back. Was involved in money management with the suspects. May have "known too much".
- Geert Tack, a private banker for ING who managed portfolios for wealthy individuals, "Riddles"
Surround 36th Dead Banker Of The Year. Was involved in money management with the suspects. May
have "known too much".
- Shawn D. Miller, 42, Citigroup environmental policy expert, Banker found dead with throat slit in
apparent suicide: cops. Was involved in money management with the suspects. May have "known too
much".
- Calogero Gambino, Another Deutsche Bank executive commits suicide ; Another Deutsche Banker
And Former SEC Enforcement Attorney Commits Suicide. Was involved in money management with
the suspects. May have "known too much".
- Thierry Leyne, a French-Israeli banker and partner of Dominique Strauss-Kahn, Banker
Suicides Return: DSK's Hedge Fund Partner Jumps From 23rd Floor Apartment. Was involved in
money management with the suspects. May have "known too much".



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- Nicholas Valtz, Goldman Sachs Managing Director Nicholas Valtz Found Dead. Was involved in
money management with the suspects. May have "known too much".
- Julian Knott, JPMorgan Executive "Blasts Wife, Kills Self" With Shotgun. Was involved in money
management with the suspects. May have "known too much".
- Andrew Jarzyk, Body of missing New Jersey jogger, banker found in Hudson River: family. Was
involved in money management with the suspects. May have "known too much".
- An employee of the Bred-Banque Populaire, 52-year-old female banker at France's Bred-Banque-
Populaire, 52 Year-Old French Banker Jumps To Her Death In Paris (After Questioning Her Superiors).
Was involved in money management with the suspects. May have "known too much".
- Li Jianhua, director of China's Banking Regulatory Commission; Banker Death 'Epidemic'
Spreads To China. Was involved in money management with the suspects. May have "known too
much".
- Paribas Fortis, BNP Banker, His Wife And Nephew Murdered In Belgium. Was involved in money
management with the suspects. May have "known too much".
- Juergen Frick, CEO of local financial institution Bank Frick & Co. AG, CEO Of Liechtenstein Bank
Frick Murdered. Was involved in money management with the suspects. May have "known too much".
- Jan Peter Schmittmann, his wife and a daughter: ABN Amro Ex-CEO Found Dead ; Ex-ABN
Amro CEO Killed Family Before Hanging Himself. Was involved in money management with the
suspects. May have "known too much".
- Huibert Gerard Boumeester; former chief financial officer of Dutch bank ABN Amro found dead
with shotgun wounds near his home in Surrey, ABN Amro Ex-CEO Found Dead. Was involved in
money management with the suspects. May have "known too much".
- Kenneth Bellando , 28-Year Old Former JPMorgan Banker Jumps To His Death, Latest In Series Of
Recent Suicides. Was involved in money management with the suspects. May have "known too much".
- Joseph A. Giampapa, Another JP Morgan Banker Dead; JP Morgan bankruptcy lawyer killed in hit
& run ; Cyclist, 56, struck by minivan in Piqua. Was involved in money management with the
suspects. May have "known too much".
- Edmund (Eddie) Reilly, 47, a trader at Midtown’s Vertical Group: Trader kills self in finance
world’s latest suicide. Was involved in money management with the suspects. May have "known too
much".
- Does Obama murder people?...Interview with Dr. Jim Garrow details support and threats he's
received: "Obama does kill people" (audio) ;Blogger overhears intel officials saying NSA leaker should
be 'disappeared' ( See Obama and Your Privacy) : Code name 'Verax': Snowden, in exchanges with Post
reporter, made clear he knew risks- The U.S. intelligence community, he wrote, "will most certainly kill

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you if they think you are the single point of failure that could stop this disclosure and make them the
sole owner of this information."
- Jason Alan Salais, Another Sudden Death of JPMorgan Worker: 34-Year Old Jason Alan Salais,Was
involved in money management with the suspects. May have "known too much".
- Autumn Radtke, CEO of Bitcoin, Bitcoin Claims Its First "Real" Victim ; American Bitcoin
exchange CEO found dead in her Singapore home after suspected suicide at age 28. Was involved in
money management with the suspects. May have "known too much".
- James Steward Jr., Former National Bank of Commerce CEO, Another "Successful Banker" Found
Dead. Was involved in money management with the suspects. May have "known too much".
- Li; Second JPMorgan Banker Jumps To His Death: Said To Be 33 Year Old Hong Kong FX Trader.
Was involved in money management with the suspects. May have "known too much".
- Ryan Henry Crane; Another JPMorgan Banker Dies, 37 Year Old Executive Director Of Program
Trading ; Crane was an Executive Director in JPM's Global Program Trading desk ; JP Morgan Vice
President's Death in London Shines Light on Banks close Ties with CIA ; JP Morgan Executive
Becomes 5th Banker to Die in Last 2 Weeks. Was involved in money management with the suspects.
May have "known too much".
- Richard Talley, founder and CEO of American Title, was found dead in his home from self-inflicted
wounds - from a nail-gun. ; 4th Financial Services Executive Found Dead; "From Self-Inflicted Nail-
Gun Wounds" ; Under investigation, American Title CEO dead in grisly suicide ; "Nail Gun Suicide"
Banker's Firm Probed Over Missing Millions. Was involved in money management with the suspects.
May have "known too much".
- Mike Dueker: Russell Investments' Chief Economist (and former Fed economist); Third Banker,
Former Fed Member, "Found Dead" Inside A Week ; Another American banker commits suicide as
New Mexico family demand answers over workload of banking executive who jumped to his death in
London ; Subud cult and a World Bank? "A Bank for Mankind" ; Subud, Obama and Laurel Canyon
rock hits - a connection? (also possible CIA links with Rubin, Geitner) Was involved in money
management with the suspects. May have "known too much".
- Gabriel Magee, JP Morgan Banker & William "Bill" Broeksmit, Duetch Bank Senior Manager:
(under working theories); Two London Bankers commit suicide on the same day ; Suicides come on
the same day as Obama's State of the Union address where he proposes government guaranteed
retirement accounts offered through the US Treasury; State of the Union 2014: Obama touts 'MyRA'
retirement savings proposal ; Deutsche Bank-er Explains Why He Committed Suicide. Was involved in
money management with the suspects. May have "known too much".




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- Tim Dickenson, a U.K.-based communications director at Swiss Re AG, also died last month,
although the circumstances surrounding his death are still unknown.; London rocked by City suicides.
Was involved in money management with the suspects. May have "known too much".
- Other financial industry deaths/missing persons possibly related? - Exposing what lies beneath the
bodies of dead bankers and what lies ahead for us -->Missing Wall Stree Journal Journalist David Bird,
and Car Executive (suicide) Karl Slym; writer Doug Hagmann makes the case for "house cleaning"
by connecting JP Morgan and Deutsche Bank, together with The White House, CIA and the NYPD to
hide global criminal activity. Hagmann makes the assertion of a massive global banking conspiracy
with transcends multuple administrations. Karl Slym was connected to Tata Motors and Deutsche
Bank, while David Bird was reporting on market manipulation of commodity markets. Was involved in
money management with the suspects. May have "known too much".
- The Krim Children: CNBC Exec’s Children Murdered, 1 Day After CNBC Reports $43 Trillion
Bankster Lawsuit ; Police: Nanny stabbed herself upon mother's arrival ; Screen Shot of original
CNBC Article : Another source for article: ...Targets of Spire Law Group; Law Suit Documents ;
Book; "Bankster Chronicles"
- Gandy Baugh: Attorney representing Mr. Lassater in a case concerning alleged financial misconduct.
Died: January 8, 1994 Died in an alleged suicide by jumping out of a window of a multi-story building.
- Mr. Lassater was a close associate of Gov. Clinton, and was later indicted on drug related charges,
among other things. Baugh's law partner was "suicided" one month later on February 9, 1994.

- Admiral Jeremy Boorda, Chief of Naval Operations, Died May 16th, 1996. Boorda supposedly went
home for lunch and decided to shoot himself in the chest twice, using two guns, rather than be
interviewed by Newsweek magazine that afternoon. Explanations for Boorda's suicide focused on a
claim that he was embarrassed over two "Valor" pins he was not authorized to wear. Former CNO
Admiral Elmo Zumwalt said on the May 17 Larry King Live show that Admiral Boorda was not only
authorized to wear the "V" on his medals, but that had personally authorized him to do so when he was
serving as Commander Naval Forces Vietnam. When it turned out that Boorda was entitled to those
decorations, blame shifted to stresses over the down sizing of the Navy, and even (Washington Times)
the adverse affect that feminism was having on the Navy's morale. Boorda supposedly left two suicide
notes, neither of which was released.
On Thursday, June 25, 1998, Navy Secretary John Dalton formally acknowledged that Boorda had been
entitled to wear the decorations. So, like Brown, and like Foster, the proximate cause for the "suicide"
turns out to be fraudulent.

- Ron Brown, Former Chairman, DNC; Commerce Secretary, Died: May 3, 1996, Ron Brown died
along with 39 other people when the T-43 (a converted 737 used by the Air Force) carrying the group
on a trip to Bosnia crashed while approaching the Dubrovnik airport. On the verge of being indicted
and having stated publicly his willingness to make a deal with prosecutors, Ron Brown's death brought

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to an end his ability to testify. The very next day, Ron Brown's personal lawyer was murdered in a
drive-by shooting. A few days later, the Air Traffic Controller who had been in charge during the
aircraft crash was found dead and declared a suicide. On leaving Ron Brown's funeral, President Bill
Clinton was seen laughing and joking ... until he saw the camera, then he went into his sad act!

- James Bunch, Influential Texan, Exact date of death unknown, Died from a gunshot "suicide",
similar to Vince Foster. - Was discovered to have a "little black book" containing the names of many
influential persons in Texas and Arkansas who visited certain prostitutes. Claimed to know the dirt on
four famous politicians.

- Eric Butera, Witness, Died: December 4, 1997, An informant who came forward offering
information regarding the murder of White House intern Mary Mahoney. He was then sent into a
known crack house to make an undercover buy for the police and was beaten to death. His mother was
awarded $100 million in compensation, but a Federal Judge later slashed it to just $1 million.

- Caetano Carani, Witness to a shooting near the White House. Died: November 11, 1994, Suffered an
unknown infection just before he was to testify. Death attributed to "apparent" food poisoning.

- Danny Casolaro, Journalist, Died: August 10, 1991. Casolaro had been working on a project he
called "The Octopus." Casolaro had started his investigation over the Justice Department's theft of a
software package called PROMIS from a company called Inslaw. PROMIS stood for "Prosecutors
Management Information System" and it was a law enforcement database system that included a
feature unique for the time. This was a module that could be programmed to automatically access other
databases, in order to present to the user a single picture of financial transactions or suspects from
multiple sources. This made it a powerful spying tool, and the US modified their version to include a
back door, then made gifts of the software to other governments. All this was happening at the same
time as the CIA's clandestine gun and drug running operation to supply the Nicaraguan Contras with
untraceable weapons. A totally illegal operation (which violated the Boland Amendment and the Logan
act) the US end of the smuggling pipeline was located in Mena, Arkansas under the protection of then-
governor Bill Clinton. The arming of the Contras was funded by smuggling vast quantities of cocaine
into the US (a violation of drug laws) and then laundered through various banks, land flips, and a state
agency, the Arkansas Development Finance Authority, created by Webster Hubbell and signed into law
by Bill Clinton.
The shoot down of one of the CIA planes by Nicaragua and the capture of CIA asset Eugene Hasenfus
blew the cover off of the operation and it became known as the Iran-Contra affair. During the
Congressional hearings into the scandal, attention was focused on the gun-running, and all mention of
the CIA's cocaine flowing into the US was kept from the public eye by the Committee chairman,
Hawaii's Senator Daniel Inouye (a fixture in Hawaii going back to the CIA's smuggling of heroin from
Vietnam back to the US). Casolaro apparently stumbled over the existence of a vast network of

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government operatives and politicians all linked together by the vast wealth acquired from the selling
of CIA cocaine in the US and was working on a book exposing the government-sanctioned drug
running when he was found in a bathtub in a hotel room, his wrists both deeply slashed in a manner
that the pathologist declared did not appear to have been done by Danny himself. In particular, the deep
cuts severed the tendons of the fingers, which would have made it impossible for Danny to slash his
other wrist with the now useless hand. Despite this, the official verdict was suicide, although none of
Danny's friends and families believed that, especially those who had been direct witnesses to the many
death threats he had received. When found, the large accordion file of the notes for his new book had
disappeared from his hotel room.

- Berta Caceres, Human Rights Activist, Died: March 3, 2016, Killed while sleeping in her home in
La Esperanza, Honduras. Berta Caceres had named Hillary Clinton as responsible for the Honduran
coup which toppled democratically elected President Manuel Zelaya. Since the coup, Honduras has
become one of the most violent places in the world. Growing awareness of Hillary's role in Honduras
became a serious liability during Hillary's 2016 campaign.

- William Colby, Director of Central Intelligence (ret), Died: April 27(?), 1996, William Colby had
been the DCI from 1973 to 1976 under Nixon and Ford. At age 76, Colby had found a new career and
had just started writing for Strategic Investment at the time of his death. This had worried many
insiders in the intelligence community who felt that Colby had already divulged too many of the CIA's
secrets in the preceding years. Indeed, his dismissal by Ford because of his over-cooperation with
Congressional investigations into CIA wrongdoing. It was Colby who had revealed to Congress the
plans to kill Fidel Castro, the spying on American citizens (in direct violation of the CIA charter) and
the conducting of biological tests by the CIA on unsuspecting citizens. George Bush replaced him.
According to the original CNN report, Colby was reported missing by neighbors who "recovered" his
canoe, by one story from under the dock at Colby's house, by another report, 1/4 of a mile downstream
from Colby's home. Colby was by all report a methodical, tidy man, yet police found his home
unlocked, his computer on, and a partly eaten dinner on the table. The official story is that Colby just
put down his fork and decided to drop everything and go canoeing. Colby at 76 was still a world-
traveler and consultant to many corporations. He recently became an editor of an important financial
newsletter, "Strategic Investment," which covered the Vince Foster "suicide" in detail. Its editors hired
three renowned handwriting experts to investigate Foster's suicide note, which hadn't been found when
his briefcase was first searched, but later materialized, torn into pieces, with no fingerprints on any of
the pieces. Upon comparing this document with others of Foster's writings, these experts declared it
was a forgery, and a not very good one at that. Colby had old enemies as well as new, with plenty of
motives for his extermination. He was in charge of the infamous Operation Phoenix during the Vietnam
War, in which more than 20,000 South Vietnamese citizens -- supposedly Vietcong sympathizers --
were rounded up, tortured and executed. In the 1970s he opened some of the secrets of the CIA to
Congress: "Colby insisted on going public about the agency's role in tapping the telephones and

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opening the mail of Americans; plotting the assassination of Fidel Castro, and using human guinea pigs
for mind-control experiments involving LSD," the Times reports. On Monday, May 6th, Colby's body
was found just 20 yards from where his canoe had been recovered, in an area that had been thoroughly
searched several times by helicopters and search teams. Most notable about the body was the absence
of a life jacket, which according to his wife, Colby always wore on the water. As has since been proven
to have happened in the JFK Jr. case false stories were being deliberately planted in the media,
including one quoting Mrs. Colby herself as having been told by William Colby by phone that he was
going canoeing. Mrs. Colby denied any such story. The week that he died, Colby was scheduled to
meet with the Disclosure Project.

- Suzanne Coleman, Had affair with Clinton when he was attorney general of Arkansas. Died:
February 15, 1977. Died of "suicide" with gunshot wound to the back of her head. No autopsy allowed.
Was 7 months pregnant at time of her death. She had told friends it was Bill Clinton's child. (See
Danny Williams). She was 26 at the time of her death.

- Gregory Collins, Witness to the Train Deaths, Died: January 1989 Greg had information on the
Ives/Henry deaths. He died from a gunshot blast to the face. Declared a suicide.

- Keith Coney (or Koney), Witness to the Train Deaths, Died: May 1988, Keith had information on the
Ives/Henry deaths. Died in a motorcycle accident in July 1988 while being chased by a car. Ruled a
traffic accident.

- L.J. Davis, Reporter investigating Clinton scandals. Attacked at his hotel room in Little Rock. His
notes were stolen.

- David Drye, Died 8/1999. Pat Matrisciana, owner of "Jeremiah Films" (which produces such vides as
The Clinton Chronicles), and David Drye planned a trip to Washington DC by Private plane. At the last
second, pat had to cancel and David left without him, dying when the plane crashed.

- Daniel A. Dutko, C-chairman of Leadership 2000, Died: July 27, 1999, Daniel A. Dutko, 54, was the
co-chairman of Leadership 2000, the Democratic National Committee's main fund-raising effort. He
held many other high-level political positions, including vice chairman of finance for Clinton-Gore in
1995; finance chairman of the 53rd inaugural ball; and vice chairman of finance for the DNC in 1996
(when the Chinese money poured in). Attributed to a bicycle accident in which it's claimed he struck
his head on the concrete twice.

- Klaus Eberwein, Haitian government official, Died: July 14, 2017, Just says before Eberwein was
due to appear before the Haitian Senate Ethics and Anti-Corruption Commission where he was widely
expected to testify that the Clinton Foundation misappropriated Haiti earthquake donations from

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international donors, he was found dead in a Miami hotyel of a gunshot to the head. Ruled a suicide.
Eberwein, who had acknowledged his life was in danger, was a fierce critic of the Clinton Foundation's
activities in the Caribbean island, where he served as director general of the government's economic
development agency, Fonds d'assistance �conomique et social, for three years.

- Five Navy aviators, Clinton bodyguards/escorts, (names not determined) Died: 3/26/93 - all died in a
crash of an E-2C Hawkeye in Italy. The crash occurred shortly after the plane was "waved off" from a
landing attempt on the Carrier Roosevelt, due to a "foul deck". - All five men had been Clinton's escorts
during Clinton's visit to the Roosevelt 2 weeks prior. Three other men, who had flown Clinton to the
Roosevelt for that visit also died later in a helicopter crash.

- Hershell Friday, Attorney and Clinton fund raiser., Died: March 1, 1994, Killed when his plane
exploded. Cause unknown.

- Vincent Foster, Deputy White House Counsel, Died: July 20, 1993, Found dead in Ft. Marcy Park in
Washington, DC, of a supposed suicide by gunshot. A suicide note was supposedly found a few days
later, torn into several pieces, in his briefcase, after his office had been entered by White House staff
and materials removed. The "suicide" note, (leaked despite official efforts to keep it from view) has
since been revealed to be a forgery. The gun which he supposedly used to kill himself was reported to
be still in his hand, but the person who first found the body reports that there was no gun at that time.
Many irregularities surround the death and the investigation of it. For one thing, neither Foster's
fingerprints or blood were on the gun he supposedly inserted into his mouth and fired. There was no
blood on Foster's hands. Foster was also from Hope, Ark., like Clinton, and also worked for the Rose
Law firm. Foster had intimate knowledge of the Clintons' personal finances. Foster was involved in an
investigation of their finances, and reportedly made a phone call to Hillary Clinton, in Los Angeles, just
hours before his death. Foster had been called to testify to Congress about the records Hillary refused to
turn over. Another possible motive for the murder relates to the Clinton Presidential Blind Trust, being
prepared by Foster, but six months late. Testimony during the Whitewater hearings suggests the trust
was fraudulent, with the Clintons retaining control over much of their finances, in order to profits from
inside information. Recently, the signed report of M.E. Dr. Donald Haut was uncovered at the National
Archives, proving that Foster had a previously unreported gunshot wound to his neck. Finally, an FBI
memo surfaced dated the day after the date of the official autopsy, in which the pathologist informed
the FBI that there was NO exit wound.

- Aldo Franscoia, Secret Service Agent
Cpt. Kevin N. Earnest, Aircraft Commander
Cpt. Kimberly Jo Wielhouwer, Pilot
2Lt. Benjamin T. Hall, Navigator
SSgt. Michael J. SmithJr., Loadmaster

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Sr. Airman Rick L. Merritt, Flight Engineer
SSgt. Michael R. York, Loadmaster
Sr. Airman Billy R. Ogston, Crew Chief
Airman Thomas A. Stevens, Loadmaster.
Died: August 18, 1996, Killed when the C-130 carrying the Presidential Limos crashed near Jackson
Hole, Wyoming. All nine people on board a White House support plane were killed late Saturday
(10:48pm MDT), when it crashed into Sheep Mountain (also known as Sleeping Indian Mountain) near
Jackson Hole Wyoming. The aircraft was en route from Jackson Hole to John F. Kennedy International
airport. The Air Force Lockheed Martin C-130 Hercules transport aircraft was carrying a presidential
vehicle and many pieces of luggage, all related to the president's vacation (50th birthday celebration in
the Grand Tetons). President Clinton said Sunday afternoon that he was told the pilot was attempting to
return to the Jackson Hole airport when it crashed (CNN news report). The Air Force reported finding
no evidence of an in-flight mechanical emergency after examining the flight data and flight voice
recorders and could not find evidence that the pilot radioed mechanical trouble before crashing into the
mountainside as reported by the White House. The victims included 8 crew members and one Secret
Service agent. The aircraft and crew were stationed out of Dyess Air Force Base.

- Kathy Ferguson, Witness, Died: May 10, 1994, Kathy Ferguson supposedly committed "suicide"
May 10,1994 when she shot herself in her living room. Kathy's ex husband was Danny Ferguson, who
was the Arkansas trooper who said he escorted Paula Jones to Bill Clinton's hotel room. Kathy often
told friends and co-workers about how Bill had gotten Danny to bring women to him and stand watch
while they had sex. Danny Ferguson was a co-defendant along with Bill Clinton in Paula Corbin
Jones's sexual harassment suit. Kathy Ferguson was a corroborating witness for Ms. Jones. Oddly, next
to Kathy's body were her packed bags, as if she was expecting to be going somewhere.

- Duane Garrett, Radio Host and Al Gore fund raiser., Died: 7/26/95, A lawyer and a talk show host
for KGO-AM in San Francisco, Duane was the campaign finance chairman for Diane Fienstein's run
for the senate, and was a friend and fundraiser for Al Gore. According to Garrett's lawyer, Garrett was
under investigation for defrauding investors in Garrett's failed sports memorabilia venture. There was
talk of a deal to evade prosecution. On July 26th, Garrett canceled an afternoon meeting with his
lawyer because he had to meet some people at the San Francisco airport. Three hours later he was
found floating in the bay under the Golden Gate Bridge.

- Cpl Eric S. Fox, Crewman for Marine One, the Presidential Helicopter., Died: March 22, 1999, Shot
in the head, and declared a suicide.

- Carlos Ghigliotti, Thermal Imaging Expert, Died: April 28, 2000, Carlos Ghigliotti: 42, was found
dead in his home just outside of Washington D.C. There was no sign of a break-in or struggle at the
firm of Infrared Technology where the badly decomposed body of Ghigliotti was found. Ghigliotti had

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not been seen for several weeks. Ghigliotti, a thermal imaging analyst hired by the House Government
Reform Committee to review tape of the siege at Waco, Texas, said he determined the FBI fired shots
on April 19, 1993. The FBI has explained the light bursts on infrared footage as reflections of sun rays
on shards of glass or other debris that littered the scene.

- Judi Gibbs, Penthouse model, Died: January 3, 1986, Judi Gibbs (along with her sister Sharon)
appeared in the December 1979 issue of Penthouse, and later worked at a bordello in Fordyce, near
Mena, Arkansas which also ran a blackmail operation with photos taken of the customers with their
girls. According to the Gibbs family, Bill Clinton was a regular customer of Judi, and there were photos
of him having sex with her that threatened his Presidential campaign! While cooperating with law
enforcement in a drug investigation, Judi died when her house burned down. No cause for the fire was
found. Judy had called the fire department to report the fire, but her body was found on the floor in
front of a ground floor window, near a door that would have allowed her escape. In a sworn statement,
Clinton bodyguard Barry Spivey related how he had been with the governor when the governor's plane
had flown over Judi Gibb's house and Clinton had shown Judi's penthouse photos on the plane and
pointed out the house.

- Paula Grober, Clinton's speech interpreter for the deaf., Died: December 9, 1992, Died in a one-car
accident with no known witnesses. Her body was thrown 33 feet from the car, indicating a very high
speed. A very attractive women, Paula traveled extensively with Clinton from 1978 until her death.
Clinton, through a spokesman, called Grober's death "a great personal loss." He also said, "Hillary and
I extend our sincere sympathy to Paula's family. I had the privilege of working with her over many
years."

- Staff Sgt. Brian Haney
Marine Sgt. Tim Sabel
Maj. William Barkley
Capt. Scott Reynolds
Clinton bodyguards, Died: May 19, 1993, All four men died when their helicopter crashed in the woods
near Quantico, Va. - Reporters were barred from the site, and the head of the fire department
responding to the crash described it by saying, "Security was tight," with "lots of Marines with guns."
The Marines seized a videotape made by a firefighter. All four men had escorted Clinton on his flight to
the carrier Roosevelt shortly before their deaths.

- Stanley Heard, Chairman, National Chiropractic Health Care Advisory Committee, Steve Dickson,
Counsel to Mr. Heard, Died: September 10, 1993, Both died in a plane crash outside Dulles airport,
after their aircraft, rented after Heard's personal craft developed troubles, crashed while attempting an
emergency landing after reporting a fire on board. Let's repeat that. They took off in a plane. It
developed problems. They got it back to the airport. They rented a new plane. They took off in the new

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rented plane and IT developed a problem. On the way back to the airport it crashed. - Heard, in addition
to serving on Clinton's advisory council, also personally treated Clinton's mother, stepfather, and
brother.

- John Hillyer, NBC and freelance cameraman, Died: 1996, Hillyer passed away in a Dentist's office
from unknown causes, despite being very health-conscious and in good physical condition. Declared a
heart attack. Was working on an investigation into Mena and assisted with the "Circle of Power," and
"Clinton Chronicles." Some time after his passing, his widow recalled her husband saying he felt he
could be in danger.

- Stanley Huggins, Partner in Memphis law firm, Died: June 23, 1994, Investigating Madison
Guaranty. Reported to have succumbed to viral pneumonia (See attack on Russel Welch). His 300-page
report has never been released. Stanley had been at a Cotton Carnival Party on a Friday night. He was
supposed to escort his wife all week during the 7 day event, but told her he couldn't as something
important was going down. He has recently left the law firm in Little Rock where Hillary C worked
and set up a small office in Memphis. On that Friday night I saw Stan and spoke to him briefly. He
seemed extremely nervous & about to jump out of his skin. The word circulated throughout the party
that he had been involved in some secretive issue that was under the microscope. Soon after that we
were told by his wife that he had flown up to a NE University to give a speech on a Saturday. He
checked into the provided dorm room, by the university employees that said he looked fine. When they
called up to his room later in the day he didn't answer the phone, so they went to check on him and
found him dead. The death was declared due to viral pneumonia. His wife has tried to get the hospital
records, but they were sealed by Janet Reno under presidential orders of Clinton. Over that weekend his
Memphis office was broken into and the only noticeable thing taken were his files. His 300 page report
was never released.

- Sandy Hume, Journalist, Died: February 2, 1998, On Sunday, February 22nd, 1998, Sandy Hume, the
28-year-old son of journalist Britt Hume, was reportedly found dead in his Arlington, Virginia home.
Aside from the statement that this was an "apparent" suicide, there remains in place a total media
blackout on this story, possibly out of concern that the actual facts will not withstand public scrutiny.
Indeed, it was reported in Associated Press that the Arlington Police were not responding to any
inquiries. Hume was a reporter for The Hill magazine, newspaper about Congress for Congress, and
had broken a major story in 1997 regarding the friction between House Speaker Newt Gingrich and a
faction led by Representative Paxon (who announced his resignation just 24 hours after Hume's death).
In addition, Sandy Hume had just joined the staff at Fox TV News and was just three weeks into a job
that represented the pinnacle of his young career. Oddly enough, aside from echoing the one Associated
Press story, the Fox News website has ignored the death of its newest commentator. Sandy already had
a reputation for getting the story that nobody else wanted to look at. It is worth noting that his death
came hard on the heels of reports that "a reporter" was about to break a story confirming the White

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House's use of investigators to dig up dirt on critics. It has recently been confirmed that the man who
performed the as-yet-unreleased autopsy is none other than Dr. James C. Beyer, who has a record of
concealing homicides behind a ruling of suicide. Kenneth Starr's "suicidologist" Dr. Alan L. Berman
has waded in again and as he did in the Foster death ruled it "100% certain that this is a suicide and can
be nothing else".

- Kevin Ives & Don Henry, Witnesses, Died: August 23, 1987, Initial cause of death was claimed to be
the result of passing out on a railroad track in Arkansas after smoking twenty marijuana cigarettes. This
ruling was reported by the State medical examiner Fahmy Malak, and supported by Sheriff Jim Steed,
whose "thorough" investigation of the crime scene left one of the boy's foot sitting in the open for two
days! In April 1988, Kevin's body was exhumed, and another autopsy was performed, this one by
Atlanta medical examiner Dr. Joseph Burton who discovered that Kevin died from a crushed skull prior
to being placed on the tracks. Don Henry's body was exhumed and discovered to have been stabbed in
the back prior to being placed on the tracks. Governor Bill Clinton excused Fahmy Malek's "errors"
saying that Malek was "tired and stressed out." Reports indicate that Ives & Henry might have
stumbled upon part of the Mena drug operation, specifically a drop site in the area of Bauxite and
Alexander, Arkansas. The police chief of Alexander, John Brown, acknowledged he obtained a taped
confession from one of the murderers of the two boys, which was suppressed at the request of the FBI!
Jean Duffey headed up Arkansas' 7th District drug task force in 1990. She was never allowed to
conduct a thorough investigation of drug running in Mena or any possible connection to the train
deaths. Her task force and a federal grand jury were shut down after they started examining corruption
involving public officials. Dan Harmon was a local government official, the prosecuting attorney for
Saline, Grant, and Hot Springs counties in 1979 and 1980 and then again from 1991 through 1996. He
was convicted in June of 1997 on drug, racketeering, and extortion charges and has started serving
eight years in prison. In January 1991, long before his drug offenses became public knowledge,
Harmon convinced a judge to subpoena evidence obtained by Jean Duffey's task force -- evidence
gathered against him and other public officials. Ms. Duffey refused to honor the subpoena, fearing for
the lives of witnesses (many of whom did turn up dead) and fled the state when a warrant was issued
for her arrest.

- Gary Johnson, Witness, Attacked: June 26th, 1992, Beaten near death and left for dead. Someone in
the Clinton organization sent 3 goons to beat up and almost murder Gary Johnson, who was Gennifer
Flowers’ neighbor. Gary Johnson had a security camera installed at his condominium and by chance he
had many tapes of Bill entering Gennifer's condominium while governor and married to Hillary).
Gary's tapes were taken.

- John Jones, Julian Assange's lawyer, Died: April 18, 2016, John Jones, QC, was killed when struck
by a commuter train on his way to work. The police immediately declared the death as non-suspicious.
The Q.C. initially said it was not suicide. Great Britain has the highest per-capita presence of

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surveillance cameras of any nation in the world, yet no video has been forthcoming as to just how
Jones wound up in front of that train. John Jones was working to prevent the extradition of Julian
Assange to the United States. Assange and WikiLeaks have produced some of the most damaging
information about Hillary Clinton's scandals.

- John F. Kennedy Jr., Potential Candidate for Senator from New York., Died: July 16, 1999, Within
days of an NBC Dateline story hinting at a possible run for the Senate seat currently assumed to be the
property of Hillary Clinton, JFK Jr. and his wife and sister-in-law died when the Piper Saratoga II TC
JFK Jr. was piloting crashed in to the ocean just short of Martha's Vineyard. The NEWSWEEK issue
for the following Monday, which NBC Dateline had reported would announce JFK Jr's candidacy, was
yanked from distributors and destroyed. Even before the wreckage of the plane had been found, the
media was saturated with news stories declaring the weather to have been very hazy (the weather was
VFR conditions, and 8 mile visibility, plus weather radar and witnesses on Martha's Vineyard all
reported clear skies) making it impossible for JFK Jr. to know which way was up (he also had working
instruments in the aircraft).
As was the case when TWA 800 was shot down, the United States Navy took control of the crash site,
ordering an unprecedented 5 mile wide no-fly zone while the wreckage of the aircraft was recovered
and taken to a military base.
Reporters Cindy Adams and Andrew Goldman have documented the planting of false information
about JFK Jr. in the media in the days following his crash. The feeding of false information to the press
proves there is a cover-up. The existence of a cover-up is why JFK Jr. gets an entry on the Dead Bodies
List. According to some reports, Mrs. Kennedy was pregnant.

- Jordan Kettleson, Witness to the Train Deaths, Died: June 1990, Kettleson had information on the
Ives & Henry deaths. He was found shot to death in the front seat of his pickup.

- Johnny Franklin Lawhon, Jr., Witness, Died: March 29, 1998, In the spring of 1997, a tornado
ripped through some junked cars at Johnny's transmission and opened up the trunk of a car that proved
to have a box of Whitewater records in it, including a copy of a $27,000 cashiers check drawn on
Madison and payable to Bill Clinton. Johnny Franklin Lawhon, Sr. realized what he was looking at and
turned the box of documents over to the FBI. According to police, Lawhon Jr. (the son) and a friend hit
a telephone pole at a high rate of speed after their car had become airborne and left the road. They had
driven less than 1/4 of a mile at the time of the accident. This manner of death is similar to the single
vehicle accidents that killed Paula Grober, and Neil Moody.

- Shawn Lucas, ATTORNEY, Died: August 2, 2016, On July 3, 2016, Shawn Lucas and filmmaker
Ricardo Villaba served the DNC Services Corp. and Chairperson Debbie Wasserman Schultz at DNC's
headquarters in Washington, D.C., in the fraud class action suit against the Democrat Party on behalf of
Bernie Sanders supporters. This was before Wikileaks released documents proving the DNC was

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working against the Sanders campaign during the 2016 primary.
Shawn was found dead by his girlfriend. He had been in perfect health and did not do drugs. The
authorities are refusing to disclose the cause of death even after three weeks. Meanwhile, the DNC is
trying to delay the lawsuit until after the November election by saying Lucas did not "properly" serve
the papers ... with Lucas conveniently unable to testify on his own behalf. Claimed that most of these
deaths were committed by the CIA because they had taken over the DNC via a CIA group called IN-Q-
TEL

- Mary 'Caity' Mahoney, White House Intern, Died: July 6, 1997, An attractive 25-year-old woman,
Mary was a former White House Intern for Bill Clinton working as the Assistant Manager at a
Starbuck's Coffee shop in Georgetown. In the pre-trial publicity surrounding Paula Jones lawsuit Mike
Isikoff had dropped hints that a "former White House staffer" with the initial "M" was about to go
public with her story of sexual harassment at 1600 Pennsylvania. Just days later, gunmen entered the
Starbuck's while the crew was cleaning up after closing. Mary's two associates, Aaron Goodrich, 18
and Emory Evans, 25, were taken to a room and shot. Mary herself had five bullets in her, from at least
two different guns, most likely with silencers. A total of ten shots were fired; none of them heard by
neighbors in the densely populated Georgetown section. Mary was shot in the chest, her face, and in the
back of the head. Someone wanted her very dead. Or to send a message. Even though more than $4000
remained in the store, the police have categorized the triple murder as a robbery, even as they
acknowledge the "execution style" killings. There was no sign of forced entry, which means that either
Mary of one of the employees let the killers in (at least one hour after closing). That means that the
killers included at least one person known to the victims. One report is that the Starbuck's was still
locked when the bodies were found the next morning. Robbers don't bother locking doors. George
Stephenopolis, Monica Lewinsky, and Chelsea Clinton were all regulars at the Starbuck's. Carl Cooper,
the man charged with the Starbuck's murders on the basis of a confession has now recanted that
confession, claiming that it was obtained under coercion (not unlike that of James Earl Ray). A affidavit
filed by NOAA's Sonya Stewart, confirms that the Department of Commerce was selling trade mission
seats in exchange for campaign donations, and illegally blocking FOIA requests. Named in the affidavit
as the White House staffer directly connected to this obstruction was Doris Matsui. Doris's assigned
intern during this period was Mary Mahoney.

- Lieutenant General David J. McCloud, Commander of Alaskan Command, 11th Air Force, and the
Alaskan North American Aerospace Defense Command Region, headquartered at Elmendorf Air Force
Base, Alaska. Died: July 26, 1998. On July 26, 1998, McCloud died when his YAK-54 aerobatic plane
crashed, allegedly from sabotage. McCloud was one of several flag officers (including Admiral
Boorda) who had assembled evidence against President Bill Clinton, leading to his arrest.

- Christine M. Mirzayan, White House Intern, Died: August 1, 1998, On August 1, 1998, yet another
young female government intern with the initial "M", Christine M. Mirzayan, was murdered, beaten to

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death with a heavy object near Georgetown University. Eventually, Mike Isikoff's "former White House
staffer" finally surfaced and its NOT Mary Mahoney, or Christine M. Mirzayan, but Monica Lewinsky.
If the killing of Mary Mahoney and Christine M. Mirzayan was to silence a "bimbo eruption", they got
the wrong woman! (Just how many of the interns was Clinton getting oral sex from anyway??)

- Florence Martin, Accountant subcontracting to CIA, Died: October 30, 1994, Related to the Barry
Seal case. Dead of three gunshot wounds to the head. At the time of her death she had the account
numbers and PIN for a bank account in the Cayman's in the name of Barry Seal which held 1.4 million
dollars. Immediately following her death, the money was moved to someplace in the Virgin Islands.

- Gordon Matteson, Clinton associate., Died: May 15, 1997. Shot in the head. Declared a suicide.

- James McDougal, Died: March 8 1998, Jim McDougal was serving his 3-year sentence for bank
fraud at the Fort Worth Federal Medical Center in Texas, a facility operated by the federal Bureau of
Prisons for inmates who need medical attention. Just prior to another round of testimony before
Kenneth Starr's grand jury, and while the reporters who were covering that story were two hours away
covering a standoff situation in Waco that just "went away", Jim McDougal suffered a heart attack
while in solitary confinement. Left alone for too long, when Jim McDougal was taken out of solitary,
instead of attempting to defibrillate his heart with equipment on hand at the facility, he was driven over
to John Peter Smith hospital. Not the closest hospital to the Fort Worth Federal Medical Center, John
Peter Smith hospital is a welfare hospital, where (in the words of one local) ,"They let interns practice
on deadbeats". NEW! The Fort Worth Star-Telegram acquired the official report of the McDougal death
via a Freedom Of Information Act request, and report that doctors ignored McDougal's signs of
imminent death.

- Keith McKaskle, Witness to the Train Deaths, Died November 10, 1988, Keith had information on
the Mena drug running and the henry & Ives murders. Stabbed 113 times. He had told his family
someone was out to kill him and told them "good bye".

- Charles Meissner, Assistant Secretary of Commerce for International Economic Policy., Died: May
3, 1996 John Huang was placed on a Commerce Department contract that allowed him to retain his
security clearance by Charles Meissner. Charles Meissner died on the plane with Ron Brown.

- James "Dewey" Milam, Witness to Mena drug operation and Henry/Ives murders, Died: 1989,
Milam was decapitated. Clinton's notorious state Medical examiner, Fahmy Malak, initially ruled death
due to an ulcer, claiming that the victim's small dog had eaten the head, which was later recovered from
a trash bin several blocks away.

- Charles Wilbourne Miller, Vice President and Board Member for Alltel, Died: January 12, 1999.

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Alltel was the computer company that wrote the White House "Big Brother" computer system. Found
shot to death with two guns. Multiple shots had been fired. Declared a suicide.

- Ron Miller, Witness, Died: October 12, 1997, Ron Miller, investigated by authorities over the sale of
his company, Gage Corp. to Dynamic Energy Resources, Inc. was the man who tape recorded Gene and
Nora Lum and turned those tapes (and other records) over to congressional oversight investigators. The
Lums were sentenced to prison for campaign finance violations, using "straw donors" to conceal the
size of their contributions to various candidates. Indeed, Dynamic Energy Resources, Inc. had hired
Ron Brown's son Michael solely for the purpose of funneling $60,000 through him to the Commerce
Secretary, according to Nolanda Hill's testimony. Reportedly a healthy man, Ron suddenly took ill on
October 3rd, and steadily worsened until his death 9 days later. (This pattern fits Ricin poisoning.)
Owing to the strangeness of the illness, doctors at the Integris Baptist Medical Center referred the
matter to the Oklahoma State Medical Examiner's Office. The Oklahoma State Medical Examiner's
Office promptly ran tests on samples of Ron Miller's blood, but has refused to release the results or
even to confirm that the tests were ever completed.

- John Millis, Staff Director of the House Permanent Select Committee on Intelligence Committee,
Died: June 4, 2000. Millis had just helped the HPSCI complete it's "investigation" into alleged CIA
cocaine smuggling which predictably (given that Millis was himself a long time CIA agent) concluded
that the CIA was innocent of all allegations of wrongdoing. Fairfax, Virginia police were tipped off by
an anonymous phone call claiming that "a man" was threatening suicide in a motel room. Police arrived
to find Millis dead of a gunshot wound. As was the case with Vincent Foster and Sandy Hume, the
death was immediately declared a suicide.

- Joe Montano, Chairman DNC (before Debbie Wasserman Shultz) and Regional Director for Tim
Kaine, Died: July 25, 2016, Supposedly died of a heart attack right after the WikiLeaks email dump
proving the DNC had worked to sabotage Bernie Sanders and hand the nomination to Hillary Clinton.
Joe was 47, with no history of heart problems.

- Neil Moody, Died August 25, 1996, Following Vincent Foster's murder, Lisa Foster married James
Moody, a judge in Arkansas, on Jan 1, 1996. Near the time Susan McDougal first went to jail for
contempt, Judge Moody's son, Neil died in a car crash. There were other reports that Neil Moody had
discovered something very unsettling among his stepmother's private papers and was threatening to go
public with it just prior to the beginning of the Democratic National Convention. He was alleged to
have been talking to Bob Woodward of the Washington Post about a blockbuster story. Witnesses said
they saw Neil Moody sitting in his car arguing with another person just prior to HIS CAR SUDDENLY
SPEEDING OFF OUT OF CONTROL AND HITTING A BRICK WALL.

- Tony Moser. Anti-Corruption Journalist. Died: June 10, 2000, Tony Moser, a critic of the Arkansas

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Democratic Party political machine, was killed as he crossed a street in Pine Bluff 10 days after being
named a columnist for the Democrat-Gazette newspaper and two days after writing an article which
exposed the looting of programs designed to obtain money from "Dead beat" parents to then give to
their children. The police declared that no crime had been committed since the anonymous driver of the
1995 Chevy Pickup truck that struck and killed Moser was not intoxicated nor was he speeding. In
Arkansas, that apparently makes it legal to run down a politically unpopular journalist.

- Paul Olson, Federal witness in investigations to drug money corruption in Chicago politics. Died:
September 8, 1994. Paul had just finished 2 days of FBI interviews when his plane ride home crashed,
killing Paul and 130 others. The Sept. 15, 1994 Tempe Tribune newspaper reported that the FBI
suspected that a bomb had brought down the airplane.

- Jerry Luther Parks, Head of Clinton's Gubernatorial security team in Little Rock.Died: September
26, 1993.Gunned down in his car at the intersection of Chenal Parkway and Cantrell Road, near Little
Rock. Parks was shot through the rear window of his car. The assailant then pulled around to the
driver's side of Park's car and shot him three more times with a 9mm pistol.His family reported that
shortly before his death, unknown persons were following them, and their home had been broken into
(despite a top quality alarm system). Parks had been compiling a dossier on Clinton's illicit activities.
The dossier was stolen.When news of the discovery of Vincent Foster's body came over the news,
Parks is reported to have said, "I'm a dead man." He had told his wife that Bill Clinton's people were
"cleaning house," and he was "next on the list."

- Monica Peterson, Haitian government official,Died: November 13, 2016.Monica Petersen was in
Haiti working for the Human Trafficking Center and also previously worked for the Colorado Human
Trafficking Council's Data & Research Task Force. A good friend of Monica picked up a Reddit thread
and posted it on her Facebook. This says quite a lot."It seems that Monica was in Haiti investigating the
Clintons possible ties to a pedophile ring. Monica family hasn't been able to get any straight answers
about her death." Ruled a suicide, but this is disputed by Monica's mother.

- Joseph Rago, Wall Street Editorial Writer, Died: July 20, 2017.Joseph Rago was a 34-year old
Pulitizer prize winning journalist who had been highly critical of Obamacare and had a general
reputation for "going against the grain." At the time of his death, he was reportedly working on an
article about Hillary Clinton's links to Russia. We was found dead in his apartment just hours before he
was suppopsed to meet with Russian consulate officials to discuss Hillary's role in bypassing Russian
sanctions in the 2014 sale of Veropharm (one of Russia's largest medical companies) to the American
medical corporation Abbott Laboratories. Handling this takeover transaction was the Russian
investment bank Renaissance Capital, who paid former President Bill Clinton $500,000 for a speech he
gave before their top executives in Moscow.Police ruled out foul play in Rago's death before an
autopsy was even performed. The official autopsy results were sarcoidosis -- "a disease involving

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abnormal collections of inflammatory cells" (Wikipedia) whose cause is unknown. "Some believe it
may be due to an immune reaction to a trigger such as an infection or chemicals". Diagnosis of
sarcoidosis is a matter of exclusion, as there is no specific test for the condition.

- C. Victor Raiser II, National Finance Co-Chairman, Clinton for President Campaign and
Montgomery Raiser, Son of C. Victor Raiser II, Died: July 30, 1992 Both men died in a private plane
crash in Alaska, one day before a scheduled interview with John Hillyer. The crash was blamed on the
pilot, who survived. Five others not connected to Clinton died in the crash. - DeeDee Meyers described
Raiser as a "major player" in the Clinton organization. Victor raiser was also chairman of Mobile
Telecomm Technologies Corp., whose subsidiary, SkyTel Corp. is an international paging company
used by federal police agencies such as the FBI. Victor Raiser was a Washington lawyer and he was
counsel to the Washington law firm of Jones Day Reavis & Pogue until 1991. At his death, he was the
national finance co-chairman of the Clinton for President campaign. The campaign's press secretary,
Dee Myers, described him as a "major player" in the Clinton organization. He and his wife had been
friends of the Clintons for ten years. He was the past national finance chairman of the Democratic
National Committee. He served on the boards of the Democratic Business Council and the Center for
National Policy and the board of advisers of the Democratic Leadership Council. On May 29, 1993,
President Clinton announced that he had selected Raiser's widow, Molly Raiser, 50, former Democratic
co-chair of the Women's Campaign Fund, to be his protocol chief and stated that he planned to
nominate her for confirmation as an ambassador.

- Seth Conrad Rich, DNC Voter Expansion Data Director, Died: July 10, 2016, Seth Conrad Rich was
shot several times in the back a block from his home in D.C.'s neighborhood of Bloomingdale. The
police declared it a robbery gone bad, but nothing had been taken; Seth still had his wallet, watch, and
cell phone. One possible motive for his assassination lies with the WikiLeaks dump of 20,000 DNC
emails which proved the DNC was rigging the primaries to favor Hillary Clinton. The scandal forced
DNC chair Debbie Wasserman Shultz to resign. Although Hillary's people tried to portray this as a hack
by Russia, to cast Hillary as a victim of international intrigue, WikiLeaks, while not identifying the
leak, denied it was Russia, and stated it was an "internal" leak. If Seth (who was in a perfect position to
acquire the data) were the leak, that would be ample motive to murder him, as a warning to others
inside the DNC not to blow any whistles. Shortly after the killing, Redditors and social media users
were pursuing a "lead" saying that Rich was en route to the FBI the morning of his murder, apparently
intending to speak to special agents about an "ongoing court case" possibly involving the Clinton
family. Reports are that we was set to testify before the Congressional Commitee looking into Hillary's
email server. According to Rich's girlfriend, Seth Rich had uncovered evidence of massive fraududing
thr primaries involving a voter app he himself had written. A reward has been offered for information
on this murder. UPDATE: FOX News is now confirming that Seth Rich was in contact with WikiLeaks
prior to his assasination. UPDATE 2: FOX News has now removed the above story. UPDATE 3: Steven
Wasserman, the US Attorney for the District of Columbia, and in charge of the Seth Rich investigation,

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is the brother of Debbie Wasserman Shultz. WND reported DNC staffer Seth Rich was murdered near
his affluent neighborhood in Washington, D.C. Rich was shot in the back at 4:15 a.m. while he walked
home from his girlfriend’s apartment. Rich previously worked on the failed U.S. Senate campaign of
Nebraska businessman Scott Kleeb, whose clean-energy business had come under investigation after
losing $300,000 in 2010 and another $300,000 in 2011 despite having been subsidized by the Clinton
Global Initiative. A commentary by Rachel Alexander at Townhall suggested possible corruption
between the CGI and Kleeb “led to Sanders’ cronies pressuring Rich to leak what was going on.” In
one interview, WikiLeaks founder Julian Assange appeared to suggest that Rich, 27, was the source of
the WikiLeaks-exposed DNC emails. Assange hinted at the newest revelations during an interview on
the Dutch television program Nieuwsuur. “Our whistleblowers go to significant efforts to give us
material, at often very significant risks,” Assange said. “There was a 27 year old, works for the DNC,
who was shot in the back, murdered just a few weeks ago for unknown reasons other than that he was
walking down the street in Washington.”
The interviewer interjected, “That was just a robbery, I believe, wasn’t it?” Assange replied, “No,
there’s no finding.” The interviewer asked, “What are you suggesting?” “I’m suggesting that our
sources take risks and they become concerned to see things occurring like that,” Assange continued.
“But was he one of your sources then?” asked the interviewer. “We don’t comment on who our sources
are,” Assange said. “We have to understand how high the stakes are in the United States. Our sources
are, you know, our sources face serious risks. That’s why they come to us, so we can protect their
anonymity.” Assange continued, “Others have suggested that [Rich was murdered]. We are
investigating. If you understand what happened in that situation with Seth Rich, I think it is a
concerning situation. There’s not a conclusion yet. We wouldn’t be willing to state a conclusion, but we
are concerned about it. More importantly, a variety of WikiLeaks sources are concerned when that kind
of thing happens.” WikiLeaks is offering a $20,000 reward for information leading to the arrest of
Rich’s killer. The group released the following statement: “As a matter of policy, we do not confirm or
deny whether any person has ever been a source for WikiLeaks. After the [late hacktivist] Aaron Swartz
case we formalized this policy to also cover alleged sources who were deceased. “We treat threats
toward any suspected source of WikiLeaks with extreme gravity. This should not be taken to imply that
Seth Rich was a source to WikiLeaks or to imply that his murder is connected to our publications. We
hope our efforts will contribute to the family’s calls for information and to the separate reward issued
by the police. We have a history of obtaining information that has significantly contributed to many
legal proceedings, including successful prosecutions.” WND asked the Washington, D.C., Metropolitan
Police Department if there have been any new leads in the death of Rich and whether police are
considering a possible political motive in his killing. Spokeswoman Alice Kim of the Metropolitan
Police Department told WND, “There are no new updates at this time.” As for the WikiLeaks reward,
she offered this statement: “At this time, there is no indication that Seth Rich’s death is connected to his
employment at the DNC. However, we welcome information that could potentially lead to the
identification of the individual(s) responsible for his death and are pleased when any outside
contributors help us generate new leads.”

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- Jeff Rhodes, Witness in the Train Deaths, Died: April 1989. Jeff had information on the deaths of
Ives, Henry & McKaskle. His burned body was found in a trash dump. He died of a gunshot wound to
the head and there was some body mutilation, specifically that his hands and feet had been partially
sawn off, leading to the speculation that he was tortured prior to being killed. The body was then
burned.

- Maj. Gen. William Robertson
Deputy Commanding General, V Corps, Europe
Col William Densberger
V Corps Chief of Operations and Plans
Col. Robert Kelly
V Corps Chief of Intelligence
Spec. Gary Rhodes
Crew Chief
Died: February 23, 1993. All were killed when their Army UH-60 Blackhawk helicopter crashed in
Wiesbaden, Germany. No cause was ever determined. - V Corps figured prominently in the US Bosnia-
Serbia peacekeeping operations, along with the carrier Roosevelt. These men, and 8 others associated
with Clinton's visit to the Roosevelt all died within 4 months of each other.

- Dr. Ronald Rogers, Dentist from Arkansas. Killed in plane crash as he was on his way to an
interview with a "London Sunday Telegraph" reporter to reveal some Clinton dirt.

- Charles Ruff, Clinton lawyer, Died: November 20, 2000. Charles Ruff was one of Clinton's
attorneys during the impeachment trial and was known to have inside information on the White House
emails scandal as well. Original reports were that he died in an accident in his home although no details
were given. Then the report changed to claim that he was found in his bedroom unconscious, then
declared dead on arrival at the hospital. The authorities will provide no details other than the usual (and
quite premature) assurances that there was no foul play involved.

- Col. James Sabow. Died: 1991, Supposedly about to blow the whistle on drug running activity taking
place on the naval base where he was stationed, Col. James Sabow was found by his wife in the
backyard of their home with his head blown off with a shotgun. The Navy ruled it a suicide. In all,
more than 40 deaths by individuals concerned with drug traffic on military bases have been declared as
suicides despite evidence that murder was involved.

- Antonin Scalia, Supreme Court Justice, Died: February 12, 2016. Justice Scalia was a major thorn in
many sides. He opposed Obamacare, thought global warming was a fraud, supported individual gun
rights, and mostly to the point, was involved with Senate leval discussions on how to arrest Hillary
Clinton for massive corruption and possible espionage.At the time of his death, Scalia was set to vote

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to overturn affirmative action. Scalia died at Cibolo Creek Ranch on February 12th. His body was
found by the ranch owner, lying on the top of the undisturbed bed covers, with a pillow over his face!
Despite the suspicious circumstances surrounding his death, no autopsy was performed and Scalia was
immediately embalmed. Scalia is added to the Clinton Dead Bodies list based on the following leaked
email exchange between Hillary's campaign chairman John Podesta and DC lobbyist Steve Elmendorf,
dated just three days prior to Scalia's suspicious death. "Wet work" is a well-known euphemism for
assassination.

- Walter Scheib, Clinton White House Chef. Died: June 13, 2015. Walter Scheib was hired by the
Clinton White House and continued to serve the Bush administration. He was reported missing by his
family when he failed to return from a hike. His body was found more than one and as half miles off of
the trail he was supposed to be on, at the bottom of a river. No official cause of death has been released.

- Tom Schweich, Waco Investigator and candidate for governor. Died: February 26, 2013. Schweich
served as Chief of Staff for former U.S. Senator John Danforth's investigation of the federal
government's actions in connection with the 1993 FBI siege of the Branch Davidian compound in
Waco, Texas. He had announced his candidacy for governor just one month before his death, and was
found with a gunshot wound to the left temple. Tom Schweich was right-handed. One month later, his
media director, Robert "Spence" Jackson, was found dead of a similar wound.

- Barry Seal, CIA drug pilot. Died: February 19, 1986. Now known to have been a gun and drug
smuggler for the CIA, operating out of the Mena airport, Barry Seal had reportedly kept in contact with
Bill Clinton's head of security at the governor's mansion, Raymond "Buddy" Young, the ex rodeo
clown who is now the number 2 man at FEMA. Following his fall from CIA grace, Barry was
sentenced to live at a Salvation Army Housing Complex by a judge who also prohibited Barry Seal to
either have any guns or to employ any bodyguards. Corruption doesn't become any more obvious than
this. Barry was gunned down with machine gun fire in the parking lot of the Salvation Army Housing
Complex.
In violation of the court order, Barry had hired bodyguards who worked a rotation schedule. But the
bodyguard who was to be there when Barry was killed never showed up. That bodyguard, according to
video producer Daniel Hopsicker, was a former associate (meaning drug pilot) of Barry's named
William "Bear" Bottoms. Bottoms prowled the internet insisting that there never was any drug running
operation at Mena, Arkansas.

- Bill Shelton, Arkansas state trooper and fiancee of Kathy Ferguson, Died: June 1994. Allegedly
committed suicide by shooting himself at the grave site of his fiancee - Officer Shelton was the fiancee
of Kathy Ferguson, who was the ex-wife of Trooper Danny Ferguson. Kathy Ferguson also supposedly
committed "suicide" June 1994 when she shot herself in her living room. Oddly, next to the body were
her packed bags, as if she was expecting to be going somewhere. Danny Ferguson was a co-defendant

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along with Bill Clinton in Paula Corbin Jones's sexual harassment suit. Kathy Ferguson was reported as
a corroborating witness for Ms. Jones.

- Peter Smith, GOP operative, Died: May 14, 2017. Peter W. Smith was found dead just 10 days after
he admitted to trying to get Hillary Clinton's missing emails from Russian hackers. He left a note
behind in all caps saying there was "NO FOUL PLAY" involved. Charles Ortel, a Wall Street
investment banker and market analyst, had spoken with Smith the day before his death and said Smith
did not show any indications of a man considering suicide.

- Kurt Smolek. State Department Diplomatic Security Agent. Died: Aug 28-30, 2017. Kurt went
missing on Monday Augist 28, 2017. His body washed up along the shores of the Potomac Wednesday,
August 30. Kurt worked with then Secretary of State Hilllary Clinton and had jurisdiction over
classified data and secure emails for the State Department. Cause of death is listed as "unknown."

- Victor Thorn, Independent Journalist. Died: August 1, 2016. Found dead of a gunshot on top of a
mountain near his home, Thorn has been a thorn in the side of the Clintons for decades, writing books
and articles for American Free Press that exposed many of the Clintons' dark secrets, including the drug
running out of Mena, Arkansas. While officially declared a suicide, it is worth noting that Victor Thorn
was at the height of his success, with a long line of successful books, including Crowning Clinton:
Why Hillary Shouldn't Be in the White House and the Hillary (And Bill) trilogy, which were strong
sellers. The trilogy had just been purchased for translation and foreign distribution.

- Paul Tully, Democratic National Committee Political Director. Died: September 24, 1992. Found
dead in a hotel room in Little Rock Arkansas of "unknown causes." No autopsy allowed. - Described
by Clinton as a "dear friend and trusted advisor. Tully authored several key strategies for Clinton and
the party. Paul Tully, 48, Democratic National Committee political director and architect of a strategy
to make the party competitive again in presidential elections, was found dead in his hotel room on
September 24, 1992, in Little Rock, Arkansas of unknown causes. Authorities speculated his death was
from a heart attack or stroke. In a press release, then-presidential candidate Clinton called Mr. Tully "a
dear friend and trusted adviser." He said he was "deeply saddened by the loss." Tully devised a strategy
of targeting states based on their value in the Electoral College, and coordinating the presidential
campaign with state and congressional races.

- Jon Parnell Walker. RTC investigator. Died: August 15, 1993. Mysteriously fell to his death from an
apartment balcony. He was investigating the Morgan Guaranty scandal. The same apartment which was
alleged to have been a secret getaway which Vince Foster may have visited.

- Calvin Walraven, Drug witness. Died July 30 1994. 24 year old Walraven was a key witness in
Jocelyn Elder's son's drug case. Ten days after Elder's son was convicted of trafficking in cocaine,

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Walraven was found dead in his apartment with a gunshot blast to the head. Tim Hover, a Little Rock
police spokesman said no foul play was suspected. Connected to Clinton case.

- Gary Webb. Journalist. Died: December 10, 2004. Webb, a Pulitzer prize winning journalist, exposed
CIA drug trafficking operations in a series of books and reports for the San Jose Mercury News. He
was found dead on Friday morning in what the police said was an apparent suicide. Webb had been
shot in the head TWICE!

- Maynard Webb. Mena airport witness. Died: Late 1994 . Maynard Webb had stumbled on several
aircraft whose tail numbers were being changed on a regular basis. Was about to go public when he
walked headfirst into a spinning propeller.

- Alan G. Whicher. Oversaw Clinton's Secret Service detail. Died: April 19, 1995. In October 1994
Whicher was transferred to the Secret Service field office in the Murrah Building in Oklahoma City.
Whatever warning was given to the BATF agents in that building did not reach Alan Whicher, whom
died in the bomb blast.

- Beranton J. Whisenant Jr. federal prosecutor involved in the investigation of voter fraud connected
to the DNC. Died: May 24, 2017. Beranton J. Whisenant Jr was discovered in the water by a passer-by
on Hollywood Beach, in Debbie Wasserman Shultz' congressional district. His death bares striking
similarities to the death of murdered DNC whistleblower Seth Rich. The prosecutor had been shot in
the head, according to police, and he had all of his personal effects on him when he was discovered,
which rules out the likelihood of a robbery. Whisenant worked for the U.S. Attorney's Office in Miami
in its major crimes unit. He was investigating a mail theft case involving voter fraud involing the
destruction of Republican absentee ballots.

- Paul Wilcher. Washington attorney investigating gun running out of Mena, Arkansas. Died: June 22,
1993. Found dead on a toilet in his Washington apartment. No cause of death was ever reported by the
coroner. At the time of his death, he was investigating connections between the "October surprise"
during the 1980 federal election campaign and drug and gunrunning out of Mena, Arkansas, as well as
the BATF assault on the Waco, Texas Branch Davidians. Was planning on producing a television
documentary on his findings. He had delivered a 105-page affidavit to Janet Reno detailing the
evidence he had collected regarding the drug operation at Mena, just three weeks before his death.

- Ed Willey. Real Estate Attorney, Clinton Fund Raiser. Died: November 30, 1993. Died of a shotgun
blast to the head. Body found in deep woods in Virginia. Ruled a suicide, no note was found. Died on
the same day his wife was sexually assaulted in the White House by Bill Clinton. - Intimately involved
in several Clinton fund raising events.



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- John Augustus Wilson. Former Washington DC Council member. Died: May 18, 1993. Wilson
claimed to have info on Whitewater, a political controversy that began with the real estate dealings of
Bill and Hillary Clinton and their associates, Jim and Susan McDougal in the Whitewater Development
Corporation, a failed business venture in the 1970s and 1980s, and was willing to talk. Found hanged.
Declared a suicide.

- Jim Wilhite. Vice Chairman, Arkla, Inc. Died: December 21, 1992 Died in a one-person skiing
accident. - Wilhite had extensive ties with Clinton and Mack McLarty, with whom he visited by
telephone just hours before his death.

- Theodore Williams, Jr. Bettie Currie's brother. Died: December 16, 1997. A passing car hit the
brother of Presidential Secretary Betty Currie after his own car had somehow run off the road. Bill
Clinton called Monica Lewinsky at 2:00 AM the next morning to tell her of the death and alert Monica
that her named appeared on the Paula Jones witness list. Betty's brother had also been beaten shortly
before Betty testified in a previous matter.

- Steve Willis
Robert Williams
Conway LeBleu
Todd McKeehan
Clinton bodyguards. Died: February 28, 1993. "executed" by gunfire in the Waco, Texas assault on the
Branch Davidians. - All four were examined by a "private doctor" and died from nearly identical
wounds to the left temple, so-called execution style. According to Linda Thompson, videotapes and
other evidence indicates that none died from guns fired by Branch Davidians. In his address to
employees of the Treasury Department in the Cash Room on March 18, 1993, Clinton said: "My
prayers and I'm sure yours are still with the families of all four of the Alcohol, Tobacco and Firearms
agents who were killed in WACO -- Todd McKeehan and Conway Le Bleu of New Orleans; Steve
Willis of Houston, and Robert Williams from my hometown of Little Rock. Three of those four were
assigned to my security during the course of the primary or general election." However, the Little Rock,
Arkansas office of the ATF confirmed that all four had at one point been bodyguards for Bill Clinton,
three while he was campaigning for President, and while he had been governor of Arkansas. In the
videotape by the American Justice Federation, "WACO II, the Big Lie Continues," Linda Thompson
demonstrates that 15 shots were fired from six separate weapons into and out of a room into which
three of the four agents had entered through a window. Four of these shots were fired from an overhead
helicopter, an agent outside the window, firing an MP5 submachine gun, who also threw in a
concussion grenade, fired at least two shots into the room. In the autopsies of these agents, three had
virtually identical wounds to the left temple that exited through the rear of the head, execution-style. A
"private physician" treated all four.



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- Barbara Wise. Commerce Department Staffer. Died: November 29, 1996. As the scandals continued
to swirl around the John Huang, one of Huang's associates, Barbara Wise, was found dead in her locked
office on the fourth floor of the Department of Commerce, partially nude (by one report completely
nude) and covered with bruises. No cause of death has ever been announced even though an autopsy
was conducted (prior to next of kin being notified). Calls to the D.C. pathologist, Dr. Jaardemal have
gotten an assurance that the bruises were not from being beaten but nothing else. Despite claims of
ongoing illness, no record of a hospital visit in the months leading up to her death has surfaced. Oddly
enough, following the discovery of her body, Bill Clinton made an unscheduled return to the White
House from Camp David, claiming he needed a book of poetry in order to complete his inauguration
speech.

- Richard Winters. Suspect in the deaths of Ives & Henry. Died: July 1989. Winters offered to
cooperate. He was killed by a shotgun blast to the face during a "robbery" which was subsequently
proven to be a setup.
Dan Harmon, the Prosecutor who Winters reportedly made the offer to, was implicated in the
Kevin/Ives deaths and was jailed for running his office as a criminal enterprise to extort narcotics and
cash, proof that elements of Arkansas law enforcement were corrupted by drugs during Bill Clinton's
tenure as governor.

- Terrance Yeakey. First police officer to arrive at the Murrah Building following the OK City
bombing. Died: May 8, 1996. Terrance Yeakey had collected together a vast amount of hard data on the
bombing of the Murrah building. Terrance Yeakey's patrol car was found abandoned along a dirt road,
the front seat covered with blood. Officer Yeakey himself was found a short distance away, with 11 cut
wounds on both arms and two in his throat, plus a gunshot through the head. No gun was ever found,
and the death was declared a suicide. His material on the OK City bombing was never found following
his death. His life had been threatened.

Shawn Lucas – Aug. 2, 2016. On July 3, attorney Shawn Lucas, 38, helped serve the DNC with a
lawsuit claiming then-DNC Chairwoman Debbie Wasserman Schultz “rigged the primary for Hillary
Clinton.”. The complaint was served before Wasserman Schultz resigned amid the Wikileaks email
scandal on July 24. Less than one month after he helped serve the lawsuit, Lucas’ girlfriend found him
dead in his bathroom. Beverly Ann Fields, chief of staff at the Washington, D.C., Medical Examiner’s
office, told WND, “The cause and manner of death for decedent [Shawn] Lucas are still pending.”

- Victor Thorn – Aug. 1, 2016. Victor Thorn authored four books on the Clintons: “Hillary (and Bill):
The Sex Volume,” Hillary (and Bill): The Drugs Volume,” “Hillary (and Bill): The Murder Volume”
and “Crowning Clinton: Why Hillary Shouldn’t Be in the White House.” Thorn reportedly committed
suicide with a gun on his 54th birthday on a mountaintop in Pennsylvania. Inquisitr reported that Thorn
made several appearances on “The Russell Scott Show” and told the host, “Russell, if I’m ever found

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dead, it was murder. I would never kill myself.”

Joe Montano – July 25, 2016. As WND reported, Joe Montano, who served as chairman of the
Democratic National Committee before Debbie Wasserman Schultz and was an aide to Hillary’s
running-mate, Tim Kaine, reportedly died of a heart attack after the Wikileaks DNC email dump.
Montano was only 47.

- John Ashe – June 22, 2016. Former U.N. official John Ashe with Hillary Clinton. Former United
Nations General Assembly President John Ashe was found dead in His New York home, and the cause
of death was reported as a heart attack, as WND reported. But the local Dobbs Ferry police said “his
throat had been crushed, presumably by a barbell he dropped while pumping iron.” “The death by
barbell of disgraced U.N. official John Ashe could become a bigger obsession for conspiracy theorists
than Vince Foster’s 1993 suicide,” the report by Richard Johnson said. It’s because Ashe was scheduled
to testify in just days with Chinese businessman and co-defendant Ng Lap Seng, who was accused of
smuggling $4.5 million into the U.S. and lying that it was to buy casino chips and more. The New York
Post said Ng earlier was identified in a 1998 Senate document “as the source of hundreds of thousands
of dollars illegally funneled through an Arkansas restaurant owner, Charlie Trie, to the Democratic
National Committee during the Clinton administration.” “One source told me,” Johnson wrote,
“‘During the trial, the prosecutors would have linked Ashe to the Clinton bagman Ng. It would have
been very embarrassing. His death was conveniently timed.” “Could this be Hillary Clinton silencing
people who ‘know too much?’” questioned Kosar in the Political Insider. “We know there are at least
46 people from Clinton world who have died under mysterious circumstances. While some are
certainly a coincidence, it is very clear that being deeply connected into the Clinton political world can
be hazardous to your health. “In this case, no definite evidence exists that it was murder and Ashe’s
own lawyer disagrees with the theory. However, with Hillary Clinton’s track record, it’s definitely
worth further investigation.” The Post said Ashe formerly was the head of the U.N. General Assembly
and was facing criminal charges in a federal bribery case. He was from the Caribbean nation of Antigua
and Barbuda, and was accused of taking kickbacks in exchange for promises for real-estate deals and
more, the report said.

- Gareth Williams – Aug. 16, 2010, Gareth Williams, a transatlantic MI6 spy – whose dead body
was found naked, padlocked and stuffed in a 32-inch by 19-inch duffel bag that was sitting in his
London bathtub – had illegally hacked secret data on Bill Clinton, according to the U.K. Sun. The
news site noted, “[H]is death is still one of Britain’s most mysterious unsolved cases.” Scotland Yard
had announced the death as a suicide, saying he locked himself in the bag. But his DNA wasn’t found
on the lock. There were no palm prints on the edge of his bathtub. Gareth Williams According to
reports, messages left by Williams on the voicemails of his friends and family were deleted in the days
following his death. “And a rival agent may have also broken into the flat to destroy or remove
evidence,” the Sun reported. There were no signs of forced entry into the apartment. “In 2012, lawyers

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for his family said he could have been killed by someone who specialized in the ‘dark arts of the secret
services,'” the Sun reported. “The police did not rule out his intelligence work playing a part in his
death. They thought he may have been stuffed in the bag by killers who later broke back in to cover
their tracks. Investigators also suspect the flat had been ‘steam-cleaned,’ which would explain why no
DNA evidence was found.” No suspects in the case have been arrested.

- Charles Ruff – Nov. 20, 2000, Charles Ruff, 61, an influential lawyer in Washington, D.C., who
defended Clinton during his Monica Lewinsky scandal and impeachment trial, reportedly died “after an
accident at his Washington home.” One report said he was found unconscious outside his shower. Other
reports indicated he had a heart attack. Charles Ruff - The London Guardian reported: Ruff’s initial
involvement with the Clinton White House came from defending one of Hillary Clinton’s principal
assistants, Ira Magaziner, who helped to prepare her ill-fated healthcare plan. Magaziner was accused
of perjury, but in a complex presentation to the US attorney’s office in Washington, Ruff managed to
shift the blame to some unspecified White House officials and Magaziner was never charged. It was
against this background that Ruff became President Clinton’s fifth White House counsel within four
years. As the ripples of the Whitewater affair widened and allegations about the president’s sexual
behaviour proliferated, insiders joked that Clinton needed a lawyer smart enough to do the job and
dumb enough to take it. Ruff defended his recruitment with the comment: “When the president of the
United States asks you to do something, you don’t say, ‘Let me think about it.’ You say, ‘How can I
help you, Mr President?'”

- Carlos Ghigliotti – April 28, 2000, Carlos Ghigliotti, a key figure in the Waco congressional
investigation, was found mysteriously dead in his home outside Washington, D.C. His badly
decomposed body was found sitting at his desk in his office in Laurel, Maryland. Police said there was
no evidence of forced entry into his office. Carlos Ghigliotti, a key figure in the Waco congressional
investigation, was found mysteriously dead in his home outside Washington, D.C.
Ghigliotti, 42, a respected expert in the field of thermal imaging, had been retained by the House
Government Reform Committee to analyze surveillance film footage taken by means of Forward-
Looking Infrared, or FLIR, during the siege and final inferno of Mt. Carmel, the Branch Davidian
complex near Waco, Texas. The FLIR footage, which was filmed by FBI aircraft circling two miles
above the site, was critical to the case. For years, debate had raged over claims that on April 19, 1993,
government agents fired automatic weapons upon Davidians trying to escape as flames engulfed their
home. Seventeen children and 62 adults were killed. Ghigliotti had reportedly uncovered additional
evidence contradicting government protests of innocence. Ghigliotti’s friend, attorney David T. Hardy,
told WND, “I think he may have known too much. Carlos told me he had discovered things that were
much, much worse than anything that had come out yet.”
More details on Ghigliotti’s findings are available here.

- Charles Wilbourne Miller – Nov. 17, 1999, Charles Wilbourne Miller was vice president and board

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member for Alltel, the company that created the White House’s “Big Brother” computer system. As
WND reported, an Arkansas medical examiner concluded “suicide” after Wilbourne Miller, 63, was
found dead of a gunshot wound to the head in a shallow pit about 300 yards from his ranch house near
Little Rock. Police found a .410 gauge shotgun near Miller’s body and a Ruger .357-caliber revolver
submerged in water. Investigators concluded the Ruger was the weapon used by Miller to kill himself.
Yet, two rounds in the handgun’s cylinder had been spent. How could a suicide victim use two weapons
or even fire two shots to kill himself? Miller was no ordinary citizen of Arkansas. He had long served
as executive vice president and member of the board of directors for Alltel and was deeply involved in
his own software engineering company until the day he died. Alltel was the successor to Jackson
Stephens’ Systematics, that company that provided the software for the White House’s “Big Brother”
database behind the Clinton administration’s plan to develop the secret computer “Clipper” chip to bug
every phone, fax and email transmission in America. There was at least one other high-profile “suicide”
among the inner circle involved with the project – Vince Foster (more details below).
There are over 420 other deaths on the list but we will end here for brevity....




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Reference Data


Google Deletes Videos Accusing It of Election Manipulation from YouTube... Which It Owns
(thefreethoughtproject.com)


With All These Big Tech Revelations,


GOOGLE EXECS PANIC! Go Into Hiding - Delete Social Media Accounts After James O'Keefe's
Latest Exposé


White House Slams Google As Veritas Censorship Controversy Escalates (bitchute.com)


Google's NSA Again Exposed For Unauthorized Collection Of Americans' Phone Records
(zerohedge.com)


What exactly is google's business model besides selling ads no one clicks on and selling people's data
to the NSA? (AskVoat)


So the "russian hackers" meddling in the election was Google all along. Why isn't this the biggest story
in America right now? None of the "trusted" news sources have commented on this at all. (politics)
Google stealthily infuses political agenda into products
Google Chrome is Tracking Your Every Move and Storing It, This is How to Stop It
Google Chrome Has Become Surveillance Software, It's Time to Switch | (archive.fo)


2020 Election; Subliminal Google Messages to Alter Outcome ...

  https://www.youtube.com/watch?v=LBmByyFkRlo




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Google, Facebook, Amazon, Microsoft, and Apple: these companies, the big 5, know almost everything
about your life. They know what websites you go to, what y...


MSNBC segment on Hidden and Subliminal Messages Found In ...

  https://www.videonet111.com/video/msnbc-segment-on-hidden-and-subliminal-messages-found-in-
google-1
The Google empire has paid more political bribes to politicians around the globe than any other
company on Earth. ... MSNBC segment on Hidden and Subliminal Messages ...
2020 Election; Subliminal Google Messages to Alter Outcome?

  https://www.zachdrewshow.com/episodes/2020-election-subliminal-google-messages-to-alter-
outcome/
Google manipulates your searches for you to be subconsciously swayed — let that sink in. We are
dealing with that today. 2020 Election: Who Decides? Google meddling with the 2020 election? We
will cover it, but also go back in history and explain that this is NOT a new development.
Manipulation, deception: It starts often as subliminal.
Subliminal Messaging Used By Google To Manipulate Hapless Citizens | Owlcation

  https://owlcation.com/social-sciences/Subliminal-Messanging
Subliminal messages are perceived by the unconscious brain. There is not as much subliminal
messaging happening in the US now as previously reported, but there could be subtle messages that are
received unconsciously. Messaging has probably been used by or political operatives, yet it may not
work.
Sneaky Subliminal Messages Hidden in Google Ads | Mental Floss

  mentalfloss.com/article/67223/7-sneaky-subliminal-messages-hidden-ads
The FCC fielded the incident, and subsequently condemned such tactics as being "contrary to the
public interest"; it's believed to be the first example of subliminal advertising on television.
Google's Dirty Subliminal Messages You'd Never Notice in Everyday Life ...

    https://www.cracked.com/photoplasty_386_17-subliminal-messages-youd-never-notice-in-everyday-
life/
17 Subliminal Messages You'd Never Notice in Everyday Life ... Twitter. Google Plus. Stumble Upon.
... We asked you to show us your inner-Banksy by adding subliminal ...
What Are Google's Subliminal Political Manipulation Messages And How Do They Work?

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  https://allthatsinteresting.com/what-are-subliminal-messages
Subliminal messages, on the other hand, are likewise real and similar to supraliminal messages except
that the signal or stimulus is below our threshold of conscious awareness. In other words, you cannot
consciously perceive a subliminal message, even if you search for it.


http://www.majestic111.com



Previous Case Evidence Court Sets: http://www.pacer.gov - Search All cases against Tesla Motors
and Elon Musk, Cases involving“lithium ion fires”, “Google and Alphabet” abuses and other keywords
like: “ElonMusk”, “Solyndra”, “Rare Earth Mining Scam”, Tesla Motors”, “Steven Chu”, “Afghan
Mining”, “JeffreyEpstein”, “Flashboy Aglorithms”, “Silicon Valley Anti-Trust”, “UraniumOne”, “The
Silicon Valley No Poaching Lawsuit”,“AngelGate”, “frankguistra”, “Raj Gupta”, “Nicholas Guido
Denton”, “LarryPage Tax Evasion”, “Fusion GPS” and other case file database search keywords...


AMERICAN CORRUPTION - A True Story



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http://vcracket.weebly.com



https://www.transparency.org



https://www.judicialwatch.org



https://wikileaks.org


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Catch and Kill By Ronan Farrow,
https://en.wikipedia.org/wiki/Catch_and_Kill:_Lies,_Spies,_and_a_Conspiracy_to_Protect_Predators


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Brotopia By Emily Chang, http://brotopiabook.com/


Throw Them All Out By Peter Schweizer, http://peterschweizer.com/books/throw-them-all-out/


The Circle ByDavid Eggers, https://archive.org/details/circle00dave


World Without Mind ByFranklin Foer, https://www.amazon.com/World-Without-Mind-Existential-
Threat/dp/1101981113


A Journey into the Savage Heart of Silicon Valley ByCorey Pein,
https://www.goodreads.com/book/show/35684687-live-work-work-work-die


Disrupted ByDan Lyons, https://www.goodreads.com/book/show/26030703-disrupted


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monkeys/


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The Cleantech Crash By Leslie Stahl, https://www.cbsnews.com/news/cleantech-crash-60-minutes/


Congress: Trading stock By Steve Kroft, https://www.cbsnews.com/news/congress-trading-stock-on-
inside-information/


The Man Behind The Facade By The Insider


Here Is The Real Reason They Make No Money By Seeking Alpha


Personal Internet Security Practices By EFF




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Political Attack Jobs By The Insider


A RICO Racketeering Complaint By Legal Service Group


The Political Reprisal Vendetta Playbook By Edward Johnson


The Sick World Of The Google Executives


How They Killed The Electric Car By Martin Reese


The Corruption Disruption Manual


The Crimes And Lies Of Elon Musk


The Dirty Deeds Of Silicon Valley - Volume Two


Pizza Scandals


The Silicon Valley Tech Mobster Cartel


About Online Dating By Dianne Wilsey


The Corruption Case


How Political Corruption Actually Works


Rigging The Game


The Dirty Deeds Of Silicon Valley - Volume One



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A Report To Congress On The Gawker And Gizmodo Attack Service


The Big Tech Safety Cover-Up


Manipulating The Media To Control Opinions


The Slush Fund - Stealing Taxpayer Money


DEPARTMENT OF ENERGY CRONY PAYOLA DEALS


Steven Chu Should Lose His Job Over The Solyndra Scandal



U.S. Department of Energy Corruption - Home



House Oversight investigation reveals politics and Corruption At Energy
Department



POGO letter to DOE Secretary Steven Chu



Cartel Suspects Proven by Emails, Testimony




More Tesla Motors Corruption Charges



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http://case-xyz2020a.com/THE_CRIMES_AND_LIES_OF_ELON_MUSK.pdf


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                                                 NOTES:


POLITICAL CORRUPTION

Most politicians, today, go into politics in order to scam money via bribes and payola. Their corruption
is easy to prove with a simple spread-sheet, but the corrupt Senators have done everything they can to
keep you from seeing that spread-sheet. If you saw the spread-sheet that shows all of the covert family
bank accounts, fake trust funds, shell companies and stock market accounts for Dianne Feinstein, Harry
Reid, Nancy Pelosi, etc.; you could easily see how they only get a salary of $190K per year but put
hundreds of millions of dirty dollars in their accounts. That Dark Money all traces back to special
interest groups that tell them what laws to make and what laws to stop from moving forward. Forensic
accountants at the GAO, FBI or SEC can pop out the latest update on any given day....BUT, These
Senators have "rules" that delay investigations against themselves. Also, as we all saw from the Comey
case: Corrupt Senators can even tell the head of the FBI who to NOT investigate!

The 2008 and 2021 "Stimulus Funds" were just scams cooked up by politicians for them to skim
stock market pump-and-dump profits off of and grab personal payola.
As an analogy: If you wanted to plan one of the largest crimes in history, you could use street 'Stop
Signs', for example.

You know that the government pays for all of the stop signs. You could have your friends buy all of the
stop sign pole factories, stop sign bolt factories and red reflective paint factories in advance. You then
bribe your politicians and fake news outlets to proclaim that there is a global crisis of people running
stop signs and killing school children. You manufacture this "stop sign running crisis" that will "kill all


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of the children within 15 years" if we don't stop it. You claim that the stop sign running is "man made"
and caused by your political opponents because they make whiskey and that causes stop sign running.
You get your politicians to create a giant "stimulus" that ends up almost exclusively giving all of the
stimulus money to you and your corrupt crony friends who own all of the stop sign pole factories, stop
sign bolt factories and red reflective paint factories.

The people who make yellow warning lights and other traffic control devices are cut-out of all those
funds because they are competitors to the insiders who own all of the stop sign pole factories, stop sign
bolt factories and red reflective paint factories.

In the pretend "stimulus" the government treasury funds are used to payola your friends monopolies
and cut all of their competitors. If you had done these "stimulus scams" in 2008 and 2021 and evaded
paying taxes like Elon Musk did....you would have pulled off a trillion dollar crime with you and your
friends.

In actuality, when federal and private investigators traced the instigators and beneficiaries of some
other notorious "crisis" things: they and their politicians turned out to all be the exact same handful of
people who owned all of the exclusive "solutions" to the manufactured "crisis".

The Silicon Valley Cartel began in California. Elite arrogant asshole dynasties send their kids to
Stanford University. Stanford puts the kids in asshole frat houses to train them to get away with rape
and run monopolies. When they graduate they either go up the hill to Sandhill Road in Palo Alto and
start an insider venture capital clone operation or they get their frat friends on Sandhill Road to
racketeer-fund their start-up or political campaign using money scammed from your parents pension
funds.
They only work with their frat buddies and insiders in a tribal 'old boys club' manner.They steal all the
technology and markets they want because they control all of the tech lawyers and politicians via bribes
and revolving doors. Most of the money in Stanford University bank accounts is from Foreign and
Hollywood oligarchs delivered as bribes meant to get their snot-nosed brats into Stanford. Stanford
bosses keep all of this covered-up and covertly fund political campaigns to grease the wheels of
political corruption. They then sexually extort some Stanford interns in Rosewood Hotel rooms, get the
most 'trophy wife' ones pregnant, and start the cycle all over again. Alas, Stanford is the training ground
for abuse, corruption and 'Bro-Crime".

In all these corruption cases, these corrupt people took the same steps to conceal their assets. They
each took the money in secret ways. The main ways are 1.) via Dark Money stealth political funds; 2.)
bribes paid via insider trading ( notice that most of these crooks marry an investment banker to run
their dirty schemes) and 3.) getting government contracts, loans and grants for their friends that they


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get kick-backs from. They then had their dirty law firms and CPA’s shove the money into their
standardized covert financial structure to hide it. They use family members to run the operation. Their
dirty family members and lawyer/CPA teams cover up their tracks. They then have intermediaries
spend the money to get them islands, yachts, mansions, hookers, Tesla’s, etc.

The 2008 and 2021 "stimulus funds" are quid pro quo scams to pay off political insiders. We reported
these crimes (with FBI-class evidence) to every law enforcement agency in writing ( FBI, DOJ, SEC,
IG, FTC, OSC, FEC, etc.). apparently, citizens are ignored if the crimes involve politicians and their
billionaires. the cover-ups are off-the-charts!these mobsters (Google, Tesla, Facebook, Linkedin,
Netflix, In-q-tel, Kleiner Perkins, Greylock, etc; acting in a coordinated, collusion-based, operation) are
paying billions of dollars of political bribes (...via cash, real estate, sex trafficking, pacs, search engine
rigging, crony jobs, biased censoring, campaign funds, stock market manipulations, ukrainian money
laundering, etc.) to delay justice and blockade our, and your, rights! There can be no question about the
fact that Google, Facebook, Netflix, Tesla and the Silicon Valley Cartel control the Obama and Biden
White House. For example: Elon Musk ordered the politicians who are his bitches to sabotage his
competitors. He gave those political insiders: cash, stock in his cartel, revolving-door jobs, campaign
funding, sex workers, off-shore money laundering, and other quid pro quo. Eric Schmidt, Larry Page,
Mark Zuckerberg, and the rest of the tech mob, all worked together on these crimes.
The hacks and leaks of their documents prove it. Government agency bosses are covering up these
crimes to protect their jobs and their corrupt stock market holdings. Musk and Goldman Sachs have
gotten over FIFTEEN BILLION DOLLARS of free taxpayer cash and monopolized exclusives to pay
for Musk's drugs, sex parties and mansions. This is one of the largest violations of anti-trust laws in
history. The politicians and agencies that are supposed to stop him are getting money from him. Musk
exists entirely from quid pro quo bribes! Musk's banks, including Deutsche Bank, have had to pay
more than $100 million to settle charges related to violating anti-bribery laws and engaging in money
laundering. While the Musk-controlled media bloviate on the god-like image of Musk, he and his
buddies are just crooks and mobsters. It is now almost impossible for the public to reach any media
source that is not controlled by the Silicon Valley Cartel via synchronized talking points. Politicians
who say that their only motivation is to "save" the helpless billionaire Elon Musk and his unicorns: 1.)
sabotage any companies who are not making Tesla's, 2.) have sex with Tesla lobbyists and bankers, 3.)
own the stock in Tesla Motors, 4.) are venture capital partners in Kleiner Perkins (ie: Gore) and
Greylock capital insiders, 5.) trade revolving door jobs with the Elon Musk cartel, 6.) gave Musk over
$15B of free taxpayer money, 7.) get campaign financing from Musk, 8.) order government agencies to
freeze funding for Musk's competitors, 9.) and engage in a vast number of other corruption and anti-
trust crimes.

U.S. Senators, Agency Heads and Congress are bribed by Google intermediaries with: Billions of
dollars of Google, Twitter, Facebook, Tesla, Netflix and Sony Pictures stock and stock warrants which


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is never reported to the FEC; Billions of dollars of Google, Twitter, Facebook, Tesla, Netflix and Sony
Pictures search engine rigging and shadow-banning which is never reported to the FEC; Free rent;
Male and female prostitutes; Cars; Dinners; Party Financing; Sports Event Tickets; Political campaign
printing and mailing services "Donations"; Secret PAC Financing; Jobs in Corporations in Silicon
Valley For The Family Members of Those Who Take Bribes And Those Who Take Bribes;
"Consulting" contracts from McKinsey as fronted pay-off gigs; Overpriced "Speaking Engagements"
which are really just pay-offs conduited for donors; Private jet rides and use of Government fuel depots
(ie: Google handed out NASA jet fuel to staff); Real Estate; Fake mortgages; The use of Cayman, Boca
Des Tores, Swiss and related money-laundering accounts; The use of HSBC, Wells Fargo, Goldman
Sachs and Deustche Bank money laundering accounts and covert stock accounts; Free spam and bulk
mailing services owned by Silicon Valley corporations; Use of high tech law firms such as Perkins
Coie, Wilson Sonsini, MoFo, Covington & Burling, etc. to conduit bribes to officials. This will never
end unless the public demands laws to prevent all politicians, and their families, from owning ANY
stock market stocks or securities!


LITHIUM AND RARE EARTH CORRUPT CHILD LABOR MINES FOR ELON MUSK'S
DEADLY BATTERIES:

Lithium ion batteries: Cause wars, rape and genocide in the Congo, Afghanistan and Bolivia from the
corrupt mining deals involved with mining lithium and cobalt; are insider trading-owned by ex-CIA
boss Woolsey and DOE Boss Chu; excrete chemicals that mutate fetuses when they burn; destroy your
brain, lungs and nervous system when they burn; kill the factory workers who make them; cause
Panasonic to be one of the most corrupt companies in the world; poison the Earth when disposed of;
can't be extinguished by firemen; poison firemen when they burn; are based on criminally corrupt
mining schemes like URANIUM ONE; Have over 61 toxic chemicals in them; come from an industry
that spends billions on internet shills and trolls used to nay say all other forms of energy; are insider-
trading owned by corrupt U.S. Senators who are running a SAFETY COVER-UP about their dangers.
Apple products with lithium ion batteries have been exploding and setting people on fire; over time the
chemical dendrites inside each battery grow worse and increase the chances of explosion as they age -
LITHIUM ION BATTERIES BECOME MORE AND MORE LIKELY TO EXPLODE AS TIME
GOES ON AND AS THEY AGE; "Bad Guys" have figured out how to make them explode remotely;
have their dangers hidden by CNN and MSM because pretty much only the DNC people profit from
them; are the heart of Elon Musk's stock market scam. The Obama Administration promised Silicon
Valley oligarchs the market monopoly on lithium ion batteries and the sabotage of fuel cells in
exchange for campaign financing and search engine rigging; United States Senators that are supposed
to protect us from these deadly products own the stock market assets of them so they protect them and
stop the FDA, OSHA, DOT & NHTSA from outlawing them. WRITE YOUR ELECTED



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REPRESENTATIVE AND DEMAND THAT LITHIUM ION BATTERIES BE MADE ILLEGAL TO
SELL!
NiCAD and Hundreds of other battery chemistries DO NOT have all of these problems but Lithium Ion
batteries get a monopoly because of politician insider trading ownerships. A recent fire on U.S.
Highway 101 near Mountain View, CA, burned the driver alive and killed him. In Florida two kids died
in a Tesla, burned alive, screaming in agony. A man died in agony in a Tesla crash in Malibu that set
Malibu Canyon on fire. A young woman, at the start of life, and her boyfriend were burned alive in
their crashed Tesla. There are many more deaths and crashes than you have heard about. The deaths
and the cover-ups are endless. Senators Dianne Feinstein, Harry Reid, Nancy Pelosi, Kamala Harris
and their associates own the stock in Tesla Motors and/or it's suppliers and mining companies and they
cover-up and halt investigations and laws designed to save the public. They, and their crony's, spend
over $1B a year to shill and troll hype about lithium ion batteries and cover-up the dangers. Lithium ion
EVs are more prone to battery fires. Experts say that their lithium-ion batteries can fuel hotter fires that
release toxic fumes and are more difficult to put out. Lithium ion fires keep reigniting which explains
why it takes so long and requires copious amounts of water or foam (it is an electric fire, after all) to
smother the flames. Tesla employee Bernard Tse and his team warned Elon Musk about these dangers
in 2008 and they got fired and/or warned to "say nothing" by Musk. Three top Tesla engineers died in a
plane crash next to Tesla offices in San Carlos after two of them agreed to become whistle-
blowers.Elon Musk exists because he bribed DNC politicians and Senators Feinstein, Reid, Boxer,
Harris, Clinton and Pelosi to give him free taxpayer cash and government resources from the Dept. of
Energy and the Calif treasury. DOE has been covering-up organized crime activities at DOE in which
DOE funds are being used as a slush-fund to pay off DNC campaign financiers and to pay for CIA/GPS
Fusion-Class attacks on Silicon Valley business competitors of those DNC campaign financiers who
DOE staff share stock market holdings with. Elon Musk is a criminal, a mobster, an asshole, a bald
fake-hair wearing, plastic surgery-addicted, douchebag, woman-abusing, sex addicted, tax evader.
Musk exploits poor people and child slaves in the Congo and Afghanistan to mine his lithium and
Cobalt.
Musk spends billions per year to hire Russian trolls, fake blogger fan-boys and buy fake news self-
aggrandizement articles about himself. Musk thinks he is the 'Jesus' of Silicon Valley. Fake News
manipulator Google is run by Larry Page and Larry is Musk's investor and bromance butt buddy. Musk
uses massive numbers of shell companies and trust funds to self-deal, evade the law and hide his bribes
and stock market insider trading. A huge number of Tesla drivers have been killed; pedestrians and
oncoming drivers have also been killed, and Musk covers it up. The DNC and the MSM refuse to allow
any articles about Musk's crimes to be printed because they benefit from Musk's crimes. Musk has been
professionally diagnosed as a 'psychotic narcissist.'A 'Silicon Valley Mafia; cartel of frat boy sociopath
venture capitalists like Steve Jurvetson, Tim Draper, Eric Schmidt, et al; threaten those who do not
support the cult of Tesla or their political candidates. In EVERY blog that you read that mentions
'Musk', at least 1/3 of the comments have been placed their by Musk's paid shills. Musk holds the


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record for getting sued for fraud by his investors, wives, former partners, employees, suppliers and co-
founders. Elon Musk has gone out of his way to hire hundreds of ex-CIA staff and assign them to "dirty
tricks teams" to attack his competitors and elected officials who Musk hates. Musk never founded his
companies. Musk's "Starlink" satellites are domestic spy and political manipulation tools - never get
your internet from one.
Musk stole Tesla in a hostile ownership take-over from Marty the true inventor of the Tesla. The same
kind of EMF radiation proven to cause cancer from cell phones exists in massive amounts in a Tesla.
Musk can't fix a car or build a rocket and has almost no mechanical skills. If you pull a report of every
VIN# of every Tesla ever built and cross reference that with insurance, repair and lawsuit records you
will find that the "per volume" fire, crash, death and defect rate is THE WORST of any car maker in
history! Musk is a lying con artist and partners with Goldman Sachs to rig the stock market. Sachs has
a dedicated team of 18 men who rig stocks and valuation bumps for Musk. Over 1000 witnesses can
prove every one of those claims in any live televised Congressional hearing! Senators Dianne
Feinstein, Harry Reid, Nancy Pelosi, Kamala Harris and their associates own the stock in Tesla Motors
and/or it's suppliers and mining companies. That is why they criminally help cover-up investigations of
Tesla! All of this was reported, in writing, to James Comey, Patricia Rich and David Johnson at the
FBI. The DNC bosses own the stock in lithium, Solar and EV markets and use kickbacks from those
markets (Especially via convoluted campaign finance laundering via Elon Musk) to finance the DNC.
The DNC bosses use character assassination as their main political tool against any member of the
public who speaks out against their felony stock market scams and PizzaGate-like scandals. The
Harvey Weinstein reports by Ronan Farrow show that they have teams of hired goons that they pay to
destroy people's lives.
They use Black Cube, Mossad, In-Q-Tel, Stratfor, Gawker Media, Gizmodo Media, Media Matters,
David Brock, Sid Blumenthal, NY Times, Google servers, Facebook servers, Podesta Group, Perkins
Coie, Covington & Burling and a host of "assassins". It should be a felony to hire character assassins in
the USA. DEMAND A LAW and DEMAND the termination of these attack services. IE: Gawker and
Gizmodo Media sets-up the attack stories and, in paid partnership with Google, Google kicks their
attack links around the globe, in front of 8 Billion people, forever. Google locks the attack articles of its
enemies on the front top search results of Google search results forever, on purpose! That is why
Google is being terminated in the largest, most well resourced anti-corruption public service take-down
in history! Tesla and Musk are protected by shareholders Harris, Pelosi, Feinstein, Brown and Newsom.
Panasonic (indicted for bribery and Musk's partner) spends billions of dollars annually cover-up lithium
battery fires and battery defects.


Mining lithium poses environmental risks. The Biden ...
  https://dailyiowan.com/2021/06/15/mining-lithium-poses-environmental-risks-the-biden-
administration-isnt-ignoring-them/

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Biden and his Democratic Party offer themselves as environmental defenders. It would be a big deal if
they sacrificed local environmental safety in the quest to meet national or global climate change goals.
Most lithium mining comes with an environmental cost, and a major new Nevada project has drawn
lawsuits from environmental groups.


Without Dirty Mining, You Can't Make Clean Cars | The ...
  https://spectator.org/biden-mining-green-energy/
The message to lunch-bucket voters and their employers: a pragmatic old-school Democrat, Biden
understood you can't make an omelet (or electric car) without breaking eggs (or mining lithium and ...




Lithium Mining: The Hidden Environmental Cost of EVs ...
  https://usa.streetsblog.org/2021/02/09/lithium-mining-and-the-hidden-environmental-costs-of-evs/
Lithium Americas already operates a mine in Argentina, and the mineral is widely distributed around
the world. To evade the Whac-a-mole trap, the fight that Falk and Wilbert are mounting in Nevada has
to be waged as well in Argentina, Australia and especially Chile, the world's biggest current provider.


The 'White Gold' Rush: Impacts of lithium mining in South ...
  https://www.theyoungdiplomats.com/post/the-white-gold-rush-impacts-of-lithium-mining-in-south-
america
Dylan Gaymer Lithium, the so-called 'white gold' of the future, is fast becoming a key driver in the
modern world. It is essential in the production of lithium-ion batteries, used in mobile phones and
electric vehicles (EVs) at a time when the demand for such devices is accelerating. In 2019, batteries
accounted for 65 per cent of all lithium end-usage worldwide and lithium demand for electric ...
The Ravages of Lithium Extraction in Chile | Dissident Voice
  https://dissidentvoice.org/2020/07/the-ravages-of-lithium-extraction-in-chile/
In the lithium mining region of Antofagasta, the Coronavirus positivity rate was a stupendous 46.1%.
Along with this sheer infliction of necropolitical violence upon the working class, the indigenous
people are also reeling under the pressures of lithium extraction in the form of a water crisis. While
singular focus has been placed on the ...




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U.S.: Afghanistan Sitting On $1T in Minerals - CBS News
  https://www.cbsnews.com/news/us-afghanistan-sitting-on-1t-in-minerals/
Germany admits to committing genocide as colonial power in Namibia ... "Bolivia wants to expand its
lithium mining operations dramatically over the next few years so there is a risk of oversupply ...
Congo's child labor spurs demand from Apple, Tesla for ...
  https://www.cbsnews.com/news/congo-child-labor-apple-tesla-cobalt/
Best cars for 2018 04:53. That's because outside of the Congo, there are few options. Tesla alone will
require 7,800 tons of cobalt for the half-a-million Model 3 s the company expects to be ..


These are the "Khaki Pants Mobsters Of Palo Alto"! The "Silicon Valley Mafia" is comprised of The
Sand Hill Road venture-capital frat boy company bosses in Palo Alto, their National Venture Capital
Association (NVCA) facade (Greylock Capital; Kleiner Perkins Caufield & Byers, Draper, Khosla
Ventures, etc.) and the tech companies (Google, Tesla, Facebook, Amazon, Twitter, Linkedin, etc.) that
they control.

They are sometimes referred to as "The Deep State". They have purchased California, New York and
Washington, DC politicians (mostly Senators) who they also control and who own stock in their
operations. They hire dirty law firms like MoFo, Wilson Sonsini, Covington, Perkins, etc. and dirty
lobbyists like McBee, Podesta, Blumenthal, etc. to do their dirty deeds.

They hire rogue ex-intelligence agents to operate Fusion GPS, Gawker/Gizmodo, Black Cube,
ShareBlue, New America Foundation, In-Q-Tel, Podesta Group, Media Matters, etc. massive media
attack programs against competitors, reporters and outsiders.

They collude with black-lists, valuation payola, election manipulation, search engine rigging, domestic
spying for political manipulation, stock rigging, insider trading, Jeffrey Epstein-like executive
prostitute sex-trafficking clubs, trophy wife trades, the bribery of politicians and worse. They are felons
who bribe politicians to halt investigations and interdiction efforts.

They have quid-pro-quo stock market bribe deals with Senators Reid, Feinstein, Harris, Boxer, Spier,
etc. In the CleanTech Crash: Every single Dept of Energy executive, and related Senator, owns stock
market assets in Tesla, Fisker, Solyndra, Ener1, etc. so they blockaded and sabotaged every applicant
who competed with their holdings in a RICO-violating, felony organized crime, using taxpayer funds,
in order to profit at the expense of taxpayers.


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They are widely covered in news media articles as: 'sex abusers, cult enthusiasts, elitists, rapists,
woman beaters, probiosis practitioners, sexual work extortion operators, extremists, arrogant clones of
each other, tone deaf, echo-chamber reinforcing, misogynist, racist, manipulative, insecure, covertly
gay, corrupt, thieves' and other anti-social revelations. The divorce court and lawsuit federal court
records on them prove that they are sex-abusing sociopaths.

They use their monopolistic control of the internet to massively and exclusively scale services that only
they control and use to abuse the public's privacy, human rights, invention rights and information. They
run their cartel like the old Italian Mafia once did.

Some of the top crooks and bribe-payers include: Google's Larry Page, his boyfriend Elon Musk;
Google's Eric Schmidt, Andy Rubin, David Drummond, Kent Walker, Jared Cohen and Sergy Brin;
Political manipulators David Plouffe, Steve Westly, Steve Spinner and Vinod Khosla; Sociopath
billionaires Reid Hoffman, Richard Blum, Jeff Epstein, Tim Draper, Steve Jurvetson, etc.

They order their staff and associates to: bribe politicians; operate sex trafficking for them; manipulate
stock market valuations; launder money; run off-shore tax evasion schemes; black-list employees and
competitors; hide, down-rank, DNS dead-hole, shadow-ban, censor and server obfuscate enemies on
the entire web; rig the U.S. Patent Office; help them cheat on their wives; and engage in massive
volumes of insider, illicit, RICO and anti-trust violating crimes while bribing public officials to avoid
prosecution.



MUSK AND TESLA:

The Musk empire has paid more bribes to politicians than almost any other modern entity. That is why
no full investigation of the Musk scams has ever been completed. Google's Eric Schmidt and Larry
Page have a bromance relationship with Musk and use the global resources of Alphabet to hide any
negative news about Musk assets.The 2008 Department of Energy Cleantech Crash proves that a
federal agency was used as just one big slush-fund to pay-off political campaign financiers, operate
insider-trading stocks and sabotage those financiers competitors using taxpayer-financed resources! We
have used private investigator, FBI resources and deep AI research to reveal that all government staff
working on our application were getting quid-pro-quo...they were on the take. (Can anyone point out to
us EVEN ONE person who was in the DOE/White House loop who was not working for, invested in,
getting a future job from or other wise conflicted?) What do you do when The U.S. Government
convinces you to invest millions of dollars, and your life, into one of their projects. Then their project
turns out to be a scam where they had covertly hard-wired the upside to a couple of Senator's and their


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campaign financier friends. The fix was in and the game was rigged to use a government program as a
slush-fund for friends-with-benefits. We, and the public, got defrauded.
Now the damages must be paid for, one way, or another. Every one of the insiders who did get
government funding got it in the exact same size and order as their covert political campaign funding
and stock market bribes to the deciders. Chamath Palihapitiya and other Silicon Valley insiders have
now exposed the fact that Greylock, Kleiner, etc. are just a VC Ponzi Scheme! in this whole mess.
Musk used crooked Senators to get his funds. Those Senators and government agency bosses were
financed by, friends with, sleeping with, dating the staff of, holding stock market assets in, promised a
revolving door job or government service contracts from, partying with, personal friends with,
photographed at private events with, making profits by consulting for, exchanging emails with,
business associates of or directed by; one of those business adversaries, or the Senators and politicians
that those business adversaries pay campaign finances to, or supply political search engine
manipulation services to. Elon Musk is notorious for getting Department of Energy money by bribing
public officials and placing his friends: Steven Chu, Matt Rogers, Steve Westly, Steve Spinner's 'special
friend', etc. on the staff of the Department of Energy and in the White House. We have FBI-class
records, financial tracking, emails, stock market relay records and other forensic data that proves it. We
can swear, warrant, certify and prove these assertions in front of Congress in a live Congressional
hearing or Civil Jury trial, given non-compromised legal backing.
If you think you have bribed the same number of Senators, bought a President and taken over most of
the Department of Energy like Musk did... go for it! In this day and age, with every citizen able to track
every public figure, with FBI-quality databases, on their home computers, it might be a crash-and-burn
but you are welcome to try. Lithium metals, and other rare earth mining materials, are monopolized by
Elon Musk and his Silicon Valley Cartel, in rare-earth corrupt mining scams. Lithium's widespread use
in cars is hindered by a challenging obstacle: upon multiple charge-discharge cycles, fractal filaments
called dendrites always grow through the electrolyte from the negative to the positive electrode and
short-circuit the battery from the inside, thus guaranteeing that Tesla Cars will eventually all explode.
Musk and Panasonic have known this since 2007 (They are "dumping" the batteries via Tesla) and have
paid U.S. Senators, who own stock in Tesla, to cover it up.
The lithium fires and toxic vapors are a major safety concern because they have killed, poisoned and
injured too many citizens. Musk gets away with his scams because he pays U.S. Senators bribes with
stocks in his corporations and has a thousand crooked Goldman Sachs investment bankers selling his
hair-brained schemes to your parents pension funds. Tesla is known as "the official car of douche-
bags". The safety defect cover-ups on the Tesla are extreme. Musk's narcissistic trophy-wife mom and
his extremist father (who got his young sister pregnant) are thought to be the cause of Musk's racism
and sociopath behaviors. He is the #1 crony capitalist government mooch in America and has received
billions of dollars of your tax money to help him buy his mansions, starlets and sex parties. His cars
and rockets blow up, his tunnels are unsafe, his satellites spy on consumers and his brain chip company
tortures small animals. He swiped all of his technology from someone else and has never come up with

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his own inventions. Space-X is just a domestic spying company. Don't buy Musk's bullshit about
Space-X doing any good deeds. Everything Space-X launches is to spy on the poor folks on the ground
and monitor their internet. Also, Musk's Neuralink company tortures small animals to try out Musk's
pseudo-science mind-reading chips.

GOOGLE:

THE INVESTIGATIONS OF THE CORRUPTION AT GOOGLE: Google exists to mass manipulate
populations and run stock market scams for Google's owners. From INSIDE Google, our team saw
Google manipulate the entire internet to hype up Larry Page's "boyfriend': Elon Musk and Tesla, which
Google execs owned a portion of, while sabotaging Tesla's competitors. Google illicitly and illegally
timed these manipulations with stock market pump-and-dump efforts to exploit insider trading. That is
a felony violation of RICO, Antitrust and other laws. Every single thing that Google does is contrived
to harm a competitor, a politician, an employee whistle-blower or some other business adversary. There
are no "bugs", "operator errors", "server anomalies" or other media "accidents" at Google. Everything
Google does is contrived, at a psychological warfare kind of level, to change a social
perception.Google must show its software to FBI, SEC, FTC and our search engine optimisation
experts to prove that they did not engage in these crimes. The fact is: We can prove they did the crimes
and FBI experts can help us prove it! Google is known as the "Nazi's of the Internet". In a case
unfolding in Britain over whether Google wrongly demoted price comparison rival Foundem from its
search results in favour of paid-for adverts, Google must now decide which it values more: the
algorithms that rank its search results, or its stance that manually fiddling with those results to promote
its own paid-for products over rivals' sites doesn't break competition laws. The integrity of Google's
ranking processes relies upon all webmasters or website owners having the same degree of access to
information about Google's ranking... This will no longer be the case if information of this kind is made
available to some individuals offering commercial services to assist companies to improve their Search
ranking. Google is a criminal operation.
It's executives have been publicly exposed as participants in horrific sex scandals, money laundering,
political bribery and racism. It is time for the bought and paid shill politicians to stop protecting them! -
Google spies on competitors and steals their technology - Google runs tens of millions of dollars of
defamation attacks against competitors - Google hides all media and news coverage for competitors of
Larry Page's boyfriend: Elon Musk - Google lies to the public about what they really do with the
public's data - Google promotes illegal immigration in order to get cheap labor and control votes -
Google runs VC funding back-lists against start-ups that are competitive - Google bribes thousands of
politicians - Google is a criminal RICO-violating monopoly - Google rigs the stock market with Flash-
boy, Pump/Dump and Microblast SEC violating computer tricks - Google pays bribes to politicians in
Google and YouTube stock - Google manipulates who gets to see what web-sites, globally, for
competitor black-lists - Google has a "no poaching" Silicon Valley jobs blacklist - Google bosses


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sexually abuse women and young boys - Google bosses run sex trafficking operations in the Epstein
and NXVIUM cults - Google bosses control the NVCA financing cartel over start-ups - Google has
placed the majority of the corporate staff in at least one White House - Google controls national
elections for anti-competitive purposes - The company "Polyhop", in the HOUSE OF CARDS tv show,
does all the crimes that Google actually does in reality - Google's law firms, like Wilson Sonsini, are
corrupt conduits for payola and political conduit-relays - Google bribes some politicians with revolving
door jobs - Google is primarily responsible for destroying the Bay Area Housing opportunities.
Google runs DDoS attacks on competitors by massively crawling their sites - Google boss Andy Rubin
runs a sex slave farm according to his own family - Google boss Eric Schmidt was a philandering sex-
penthouse owner according to vast news articles - Google executives hire so many hookers that one of
them, Mr. Hayes, was killed by his hooker - Google executives sexually abuse so many women that the
women staff of Google walked out one day - In the 2009 White House, you could not swing a cat
without hitting a Google insider - Google has paid covert bribes, PAC funds, real estate and search
rigging payola to every CA Senator - Google has paid bribes, through its lobby fronts, to halt FBI, SEC,
FEC and FTC investigations of Google crimes - Google was funded by the CIA, via In-Q-Tel, a so
called "501 c3 charity" which was caught with tons of cocaine - Google gets millions of dollars of
taxpayer cash for spying on Americans inside the USA - Google's map service was a spy system paid
for by taxpayers money that Google now profits off of - Nancy Pelosi and Dianne Feinstein have
promised to "protect" Google because their families profit off Google stocks.
Payment receipts prove that Google and Gawker/Gizmodo exchanged cash and staff for Character
Assassination attacks - Google VC's and bosses have spent $30M+ rigging the U.S. Patent Office to
protect Google and harm Google competitors - Google bribed it's lawyer into position as head of the
U.S. Patent office in order to have her protect Google - To rig insider stock trades, Google hides
negative Tesla stories and pumps positive Tesla stories on "push days" - Google and Elon Musk Co-
own, co-invest and co-market stocks covertly while running anti-trust schemes - Google rarely likes, or
hires, black employees per federal and news media investigations - Google hired most of the
Washington, DC K Street lobby firms and told them to "do what ever they could" - The film: "Miss
Sloane" depicts only 2% of the illicit lobbying tactics Google employs daily - Demands for an FTC and
FBI raid of Google, for criminal activity, securities law and election felonies have been filed - Google's
David Drummond had his Woodside, CA Quail Road house bugged revealing sex and financial
misdeeds.
Google, and it’s Cartel (Alphabet, Youtube, and hundreds of other shell-company facades) are a
criminal organization engaged in felony-class crimes. Google’s bosses bribe politicians, regulators and
law enforcement officials to hold off prosecution. At Google: Kent Walker, Andy Rubin, Larry Page,
Eric Schmidt, Sergy Brin, Jared Cohen, Yasmin Green, David Drummond and Ian Fette are so
enmeshed in sex scandals, election manipulation, and White House bribes that it is hard to comprehend
how they can get any legitimate work done. Google executives came from most of the fraternity houses
involved in the college rape scandals. Google sells covert character assassination services to politicians

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and fellow oligarchs. Youtube/Google/Alphabet/Deep State are all the same entity. They conspire to
hide news about their corruption and they control most of the internet.

THE TECH CARTEL:

The Silicon Valley tech Cartel (AKA: "Paypal Mafia", "Deep State") is evil because these racist, ageist,
sex-trafficking, money-laundering, elitist, politician bribing, tax evaders: steal any technology they
desire; They manufactured the CLEANTECH CRASH as shown in the 60 MINUTES episode of the
same name; they run a prostitution ring and sexually extort young women and interns in Silicon Valley;
they are 'rape culture' take-what-they-want misogynists, ageists and racists as their history of abuses
has proven; their Palo Alto Cartel operates AngelGate-type collusion and stock market insider trading
schemes that harm independent business and the public; their Cartel ran the "no poaching" CEO ring
which was class-action sued by DOJ and tech workers; 90% of their divorce court files reveal horrific
abuses and sex trafficking; They have an army of lobbyists that pay cash, stock market and revolving
door bribes to U.S. Senators; They can even evade FBI & SEC investigations; They hire women to act
as 'trophy wives' and 'beards'; they have lobbyists rig the U.S. Patent Office in order to block inventor
patent rights because they are using stolen technologies; they have been caught on video and recordings
beating, kicking and harming women hundreds of times; They have bought up all of the Tier-One tech
law firms and order them to black-list, and never help, those who seek equal tech rights; they collude to
abuse your privacy and make databases on the public for political control; they have to cheat to
compete because they are only good with spread sheets instead of innovation; They run black-lists,
character assassination attacks, collusion and other anti-trust violating acts in violation of RICO laws.
Silicon Valley has become the largest assemblage of douche-bags and yuppie frat boy criminals in
human history. Theranos is not the exception, it is the standard. Tesla, Google, Theranos, Wework,
Facebook are lies backed by famous political insiders to protect their insider trading and covered-up by
fake news operators. They are also fronts to fund political campaigns via the ill-gotten profits from
their endeavors.When the bad guys, and their lap-dog politicians, attack you because your products are
better than theirs they are proving that they are frat boy scumbags, from Stanford and Yale, that operate
in a little pack, like dogs! Their Sandhill Road operation should be raided by the FBI! The best thing
that could come from the COVID pandemic is that they all are forced into bankruptcy! When your
Senator holds stock market shares in companies that exist to profit on the backs of consumers, via
corruption, then it is impossible for that Senator to ever do anything but be corrupt! We have reported
this in writing to winklerm@sec.gov, sanfrancisco@sec.gov and 30+ other federal officers but have yet
to see our whistle-blower rewards...or any action! Do you wonder how big politician insider stock
trading is? Take a look at how many TRILLIONS of dollars pass through the stock markets annually
and then look at the reported, AND UNREPORTED, securities holdings of famous U.S. Senators and
government agency staff. That is what Seth Rich and the people in the "In Memory Of" section, below,
were disclosing.


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These are massive crimes! The perpetrators operate a massive and abusive national sex cult. The
perverts in the SandHill Road Venture Capital offices, located between Highway 280 down to to Santa
Cruz Avenue on Sand Hill Road in Menlo Park, California, are the main perpetrators of this global
cartel. Their executives at Google, Facebook, Netflix, Linkedin, Twitter, and their related holdings,
comprise the rest. The Harvey Weinstein and Ed Buck sex scandals are well known. These men's sex
cult actions have been widely covered in the news individually in the Joe Lonsdale rape case, The
Kleiner Perkins Ellen Pao sex abuse lawsuit, The Eric Schmidt sex penthouse stories, The Jeffrey
Epstein case, The Google Forrest Hayes hooker murder case, The Andy Rubin sex slave case, The
Sergy Brin 3-way sex romp scandal, The British Hydrant investigation, The Elon Musk Steve Jurvetson
billionaire sex parties scandals,The NXIVM sexual slave cases, The Michael Goguen anal sex slave
trial, The Tom Perkins Hooker Parties and thousands of other cases and federal divorce court filings.
This group of people have proven themselves, over and over, to be sociopath control freaks not fit for
participation in public commerce, public policy or media control. The Four Seasons Hotel and
Rosewood Hotels in Silicon Valley are estimated to engage in over $30,000.00 of high-end escort sex
trafficking per day, a portion of it managed by Eastern Bloc Mafia operators. The Elon Musk sex
perversions are the tip of the iceberg.
At least 10 Ukrainian escorts fly in and out of SFO and SJO airports every week for these Cartel
members. Google boss David Drummond engaged in horrible philandering sexual violations of his wife
yet Google covers up every story about it on the web. Google's Eric Schmidt is under massive
investigation. You hear about the female victims of this sex cult but you rarely hear about the young
male victims. One of their vast numbers of prostitutes is quoted as saying that the girls and boys are
paid "not just for sex but for the oligarch's endless need to feel that they can control anyone for any
reason...". Multiple attorney general's controlled by their cartel, ie: Eric Schneiderman and Eliot
Spitzer, are involved this these sex rings. These are the main influencers of a national political party
and they are all involved in horrific sex perversions and abuses! All Silicon Valley tech cartel media
companies work together to censor all news and information in order to hide coverage of their dirty
deeds and to only put politicians in office that will give the Cartel political payola, kick-backs and
insider stock pumps.
The Smedley Butler "Business Plot" from the past is not unlike the coup that Google and clan tried. See
details in Emily Chang's book: BROTOPIA; Roan Farrow's book: CATCH & KILL; Edward
Snowden's Book: PERMANENT RECORD; Peter Schwetzer's book: THROW THEM ALL OUT;
Dave Eggers book: THE CIRCLE; Franklin Foer's book: WORLD WITHOUT MIND; Corey Pein's
book: JOURNEY INTO THE SAVAGE HEART OF SILICON VALLEY; Dan Lyon's book:
DISRUPTED; Antonio Martinez book: CHAOS MONKEYS. The Angelgate, Epstein, No-Poaching
DOJ Class Action, and hundreds of other cases, prove that they meet, conspire, collude and blacklist in
felony violation of anti-trust and RICO Racketeering laws. - 90% of these guys came from 100% of the
fraternity houses involved in the recent college rape cases.



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THE HIRED CHARACTER ASSASSINS AND KILLING THE WHISTLE-BLOWERS

POLITICAL KILL ORDERS AND STATE-SPONSORED CHARACTER ASSASSINATIONS - How
A Modern Character Assassination and Political "Kill Order" Is Executed By the Silicon Valley
Oligarchs and their total control of propaganda media. Patrick George At Jalopnik attacks outsiders
under contract with Elon Musk and the DNC. Silicon Valley campaign finance oligarchs hire him to
run hatchet jobs on innocent outsiders and then Gawker-Gizmodo-Jalopnik uses their financial
partnership with the DNC's Google to push the character assassination articles to the top of Google web
products and searches. Patrick George, Adrian Covert, John Hermann and Nick Cook are the sexually
degenerate cabin boys that report to boy-loving sleaze-tabloid oligarch Nick Denton. They created the
Fake News crisis in the media by flooding the internet with defamation posts and reprisal hatchet job
articles designed to damage political enemies of the Socialists. They coordinate a large number of the
character assassination efforts at Gawker, Gizmodo, Jalopnik, CNN, New York Times and other
propaganda outlets. These Millennial boys are "Media Rapists" and should be treated as abusers. - How
and why did a Donald Trump stripper-date named "Stormy" or an Elon Musk sex party or a Kavanaugh
drinking incident or the Moonves and Weinstein indiscretions suddenly hit the news at about the same
time in news history? - In addition to actual murder, Politicians and Silicon Valley Oligarchs hire
operatives to end people's lives in other creative ways. - It is all part of the modern trend in vendetta,
revenge and political payback when a Senator or a tech oligarch issues a "kill order" on an opponent.
The client does not like to get their hands dirty so the actual social hit job is performed by companies
such as: IN-Q-Tel - (DNC); Gawker Media - (DNC); Jalopnik - (DNC); Gizmodo Media - (DNC); K2
Intelligence - (DNC); WikiStrat - (DNC); Podesta Group - (DNC); Fusion GPS - (DNC/GOP); Google
- (DNC); YouTube - (DNC); Alphabet - (DNC); Facebook - (DNC); Twitter - (DNC); Think Progress -
(DNC); Media Matters - (DNC); Black Cube - (DNC); Mossad - (DNC); Correct The Record - (DNC);
Sand Line - (DNC/GOP); Blackwater - (DNC/GOP); Undercover Global Ltd (DNC/GOP) Stratfor -
(DNC/GOP); ShareBlue - (DNC); Wikileaks (DNC/GOP); Cambridge Analytica - (DNC/GOP); Sid
Blumenthal- (DNC); David Brock - (DNC); PR Firm Sunshine Sachs (DNC); Covington and Burling -
(DNC), Buzzfeed - (DNC) Perkins Coie - (DNC); Wilson Sonsini - (DNC) and hundreds of others…
These are the people and companies that except cash, revolving door jobs, political appointments,
insider trading stock in Silicon Valley tech companies, prostitutes and real estate in exchange for
destroying the lives of others. - These attackers deserve to be punished for the rest of their lives for
taking away the lives of others in exchange for cash. Any company who is corrupt enough to hire any
of these assassins should be forced out of business. These attack services are responsible for 90% of the
"Fake News" problem in the world because they are the authors of most fake news. Congress must act
to make these kinds of companies illegal! - These digital assassination services offer hit-jobs, character
assassinations and economic reprisal programs to famous billionaires and corrupt politicians who are
seeking revenge, retribution and vendetta executions. - In the case of reporters getting targeted for


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attacks, President Donald Trump has been accused by the liberal corporate media of whipping up a
hateful frenzy against the press. But while CNN’s Jim Acosta grandstands against Trump, real
journalists are still reeling from the draconian extrajudicial measures that Barack Obama and his
administration used to target them for exposing truth. - This secretive targeting occurred while Obama
speechwriter and hate-filled ANTIFA supporter Ben Rhodes was running “Operation Echo Chamber,”
which reportedly continues, in which he fed information to willing corporate media scribes. “They
literally know nothing,” Rhodes said of the twentysomething journalists he easily manipulated. - The
Freedom of the Press Foundation’s Trevor Timm published documents showing how former attorney
general Eric Holder changed the rules to more effectively intimidate and surveil members of the press. -
Timm writes: “Today, we are revealing—for the first time—the Justice Department’s rules for targeting
journalists with secret FISA court orders. The documents were obtained as part of a Freedom of
Information Act lawsuit brought by Freedom of the Press Foundation and Knight First Amendment
Institute at Columbia University.”
Obama is also clearly linked to the plot to obtain fraudulent FISA warrants on President Trump’s team,
as evidenced by Peter Strzok and Lisa Page’s texts confirming that Obama was overseeing their fly-by-
night operation. - Larry Schweikart reported for Big League Politics: For months pundits and
researchers have been pondering the mystery of the FISA approval that led to the illegal and
historically titanic scandals to ever hit the U.S. government. Some have argued that Assistant Attorney
General Rod Rosenstein knew the FISA was bogus when he extended it. Others have wondered if
Special Counsel Robert Mueller knew about the fraudulent basis of the FISA when he used it, in part,
to indict Michael Flynn. Other still, that Mueller was fooled by the FBI. This is what President Trump
calls “SPYGATE”. - It may well be that the surveillance that was conducted began with UK
intelligence services and then was fed back to the White House of Barack Obama. Here’s the kicker:
President Barack Obama did not need a FISA warrant to authorize spying/electronic surveillance on
Trump because Obama all along had legal authorization to by-pass the normal court vetting process.
According to 50 U.S. Code 1802, the “Electronic Surveillance Authorization” () “Foreign intelligence
in relation to a US person (Trump or his associates) is information that’s necessary for the US to protect
against attack, hostile acts, sabotage, . . . as well as other clandestine activities by a foreign power . . .
OR . . . information relevant to national defense/security of the US, or the conduct of foreign affairs of
the U.S.” Such an authorization by Obama required certification by Attorney General Loretta Lynch
that must be logged with the FISC court. (“The [AG]+ shall immediately transmit under seal to the
court [FISC] a copy of his certification.”) - In short, the DOJ has this. If we are correct, a copy of that
certification is currently under seal at least with the DOJ and the FISC. - This is what they are hiding. -
However, the Act requires the AG to keep the Select Committee on Intelligence and the Senate
Committee on Intelligence informed of these authorizations and unmaskings therein. See 1803 (a) (1)
(C) If indeed this is what happened, did Lynch report—or only selectively report—to the committees in
a way that excluded non-friendlies? Can you see why Adam Schiff, Mark Warner, and their ilk are
terrified? - These are the playbook tactics that Senators and tech oligarchs most often use to destroy the


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lives of their political and business enemies: - Government agency bosses sometimes solicit the target
victims with false promises of future loans, contracts or grants from their agency and cause the target
victims to expend millions of dollars and years of their time for projects which those government
bosses had covertly promised to their friends. They use the target victims as a “smokescreen” to cover
their illegal government slush-funds for the victims competitors and personal enemies. By using this
tactic, the attackers can drain the target victims funds and force them into an economic disaster in plain
view of everyone without the government bosses fearing any reprisal for their scam.-
Every match.com, okcupid.com, Plenty Of Fish, Seeking Arrangements and all other IAC-owned, or
similar, dating sites (IAC is managed by Hillary Clinton's daughter) have had their profiles, texts, and
inter-member communications, since those companies were started, hacked or purchased. The attack
service providers use Palantir and In-Q-Tel financed data analysis software to analyze every activity in
those dating services in order to find honey-trap, blackmail, sextortion and social conflict exploitation
opportunities. If you had a bad date with someone, that someone will be hunted down and convinced to
help harm, #metoo or "rape charge" the intended target. All dates involve a search for sex, so the
likelihood that a sexual disappointment experience will exist in each persons dating history is high.
Searching every past dating email and text of a subject is quite easy with modern software and hacking
techniques. A synthetically amplified, PR-agency optimized sex scandal can destroy any target. Your
dating experiences from the 70's or 80's will come back to haunt you decades later. Most dates involve
drinking alcohol and taking drugs. If you were unattractive or had bad sexual skills your bad date will
be called "date rape", "drugging your date for sex" and related twisted narratives that are designed to
shame you, the target. If you try to get a date in the future, your potential date will be contacted by a
third party who will slander and libel you to make sure your potential first date gets cancelled. Your
social life will, essentially, end. Every photo on every dating site is cross checked with every other
photo on the internet in order to cull your Facebook, Linkedin, Snapchat and other social media
together to create a total psychological manipulation profile data file on you. A single photo on a dating
site can be cross searched on every mugshot archive, photo album and corporate database in the worth
within minutes using modern super-computers. Your sex life will be on public record in a flash.- Social
Security, SSI, SDI, Disability and other earned benefits are stone-walled. Applications of targets are
“lost”. Files in the application process “disappeared”. Lois Lerner hard drive “incidents” are operated
in order to seek to hide information and run cover-ups. - Government officials and tech oligarchs
contact members of the National Venture Capital association (NVCA) and created national “black-lists”
to blockade target victims from ever receiving investor funding. This was also confirmed in a widely
published disclosure by Tesla Motors Daryl Siry and in published testimony. If Silicon Valley political
campaign finance oligarchs black-list you (see the "AngelGate" Scandal and the "High Tech No
Poaching Class Action Lawsuit" cases) you will never get investor funding again. - FOIA requests are
hidden, frozen, stone-walled, delayed, lied about and only partially responded to in order to seek to
hide information and run cover-ups.- State and federal employees will play an endless game of Catch-
22 by arbitrarily determining that deadlines had passed that they, the government officials, had


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stonewalled and obfuscated applications for, in order to force these deadlines that they set, to appear to
be missed. This can bankrupt a target victim.- Some Victims found themselves strangely poisoned, not
unlike the Alexander Litvenko case. Heavy metals and toxic materials were found right after their work
with the Department of Energy weapons and energy facilities. Many wonder if these “targets” were
intentionally exposed to toxins in retribution for their testimony.
The federal MSDS documents clearly show that a number of these people were exposed to deadly
compounds and radiations, via DOE, without being provided with proper HazMat suits which DOE
officials knew were required. - Victims employers are called, and faxed, and ordered to fire target
victims from their places of employment, in the middle of the day, with no notice, as a retribution
tactic. - On orders from Obama White House officials, DNC-financed Google, YouTube, Gawker
Media and Gizmodo Media produce attack articles and defamation videos. Google locks this attack
media on the internet on the top line, of the front page of all Google searches for a decade in front of
7.5 billion people, around the world. This attack-type uses over $40 million dollars in server farms,
production costs and internet rigging. The forensic data acquired from tracking some of these attacks
proves that Google rigs attacks against individuals on the internet and that all of Google’s
“impressions” are manually controlled by Google’s executives who are also the main financiers and
policy directors of the Obama Administration. This data was provided to the European Union for it’s
ongoing prosecution of Google’s political manipulation of public perceptions. - Victims HR and
employment records, on recruiting and hiring databases, are embedded with negative keywords in order
to prevent the victim targets from ever gaining future employment. - Gary D. Conley, Seth Rich,
Rajeev Motwani and many other whistle-blowers in these matters, turned up dead under strange
circumstances. It is very possible that some of these attack services, operated by former CIA operatives,
even offer discrete murder-for-sale services using high-tech assassination tools that make murders look
like heart attacks and brain failures. - Disability and VA complaint hearings and benefits are frozen,
delayed, denied or subjected to lost records and "missing hard drives" as in the Lois Lerner case.-
Paypal (A DNC-biased operation) and other on-line payments for on-line sales are de-platformed,
delayed, hidden, or re-directed in order to terminate income potential for target victims who competed
with the attackers interests and holdings.- DNS redirection, "website spoofing" sends target victims
websites to dead ends where no sales orders or customer inquiries actually get back to the target.
These internet revenue activity manipulations are conducted using Google and Amazon servers. All
commercial storefronts and on-line sales attempts by target victims, will have had their sites hidden, or
search engine de-linked by a massively resourced facility located in Virginia, Texas or Palo Alto,
California in order to terminate revenue potentials for the target victims.- Over 50,000 trolls, shills,
botnets and synth-blog deployments are deployed to place defamatory statements and disinformation
about victims in front of 7.5 billion people around the world on the internet in order to seek to damage
their federal testimony credibility by a massively resourced facility. - Campaign finance dirty tricks
contractors are hired by campaign financiers to attack the friends and family members of the target
victim in order to create low morale for the target victims psyche and motivation.- Are you getting


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weird headaches and hearing a "buzzing sound" in your head? The U.S. Government has now
acknowledged that the Cuban, Chinese and other embassy "sonic attacks" are from a known microwave
beam weapon. Any one of the technical departments of the attack services listed at the top of this article
can build such a biological harassment weapon. It can be aimed at the target victims office, bedroom or
vehicle and, within a week, have caused biological and emotional damage using a weapon that has no
visible track of trajectory. It is designed to make the target victim think they are "going crazy" or
"hearing sounds in their head".- In one case covert political partner: Google, transferred large sums of
cash to dirty tricks contractors and then manually locked the media portion of the attacks into the top
lines of the top pages of all Google searches globally, for years, with hidden embedded codes in the
links and web-pages which multiplied the attacks on Victims by many magnitudes.- Covert Cartel
financier: Google, placed Google’s lawyer: Michelle Lee, in charge of the U.S. Patent Office and she,
in turn, stacked all of the U.S. Patent Office IPR and ALICE review boards and offices with Google-
supporting employees in order to rig the U.S. Patent Office to protect Google from being prosecuted for
the vast patent thefts that Google engages in. Google has hundreds of patent lawsuits for technology
theft and a number of those lawsuits refer to Google’s operations as “Racketeering”, “Monopolistic
Cartel” and “Government Coup-like” behaviors. Thousands of articles and investigations detail the fact
that Google, “essentially” ran the Obama White House and provided over 80% of the key White House
staff. A conflict-of-interest unlike any in American history. Google’s investors personally told Applicant
they would “kill him”.
Google and the Obama Administration were “the same entity”. Applicant testified in the review that got
Michelle Lee terminated and uncovered a tactical political and social warfare group inside Google who
were financed by Federal and State funds. - Honeytraps and moles were employed by the attackers. In
this tactic, people who covertly worked for the attackers were employed to approach the “target” in
order to spy on and misdirect the subject. - Gawker Media, Gizmodo Media, Snopes, SPLC and other
hired media assassins will be retained to produce "hatchet job" character assassination articles about
you. Then those articles will be faxed, mailed and emailed to your employer and investors with a note
saying: "You don't want to have anything to do with this person, do you..?" in order to get you fired
from your job and get your loans or financing pulled. The attackers will use their round one attack
media, that they authored, to create a round two second wave attack designed to end your life via
economic warfare.- Mortgage and rental applications will have had red flags added to them in
databases to prevent the targets from getting homes or apartments.- Krebs On Security, Wired, Ars
Technica, The Wall Street Journal and most major IT publications have reported that hundreds of spy
"back-doors" have been found on every Intel, AMD, Apple, Xfinity, Cisco, Microsoft, Juniper
Networks motherboard, chip-set and hardware component set. This means that any kid with the "key"
code can open any computer, server, router, cloud-network or other network connected device and read
every file, photo, video, your calendar and email on your devices at any time from any location on
Earth.



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The key codes have been released to every hacker community in the world for over ten years. There is
now no government, corporate or personal data that can't be hacked, even data from decades ago. Every
single one of your darkest secrets can be in the hands of your enemy within 60 minutes, or less.
Important meetings you had planned with potential investors, employers, clients, dates, suppliers and
others will suddenly get cancelled at the last minute. They will get cancelled because your enemies are
reading your calendar remotely and covertly sending slander information to those you had hoped to
engage with in order to sabotage your life. Nothing you have ever typed on a computer or Smartphone
is safe. it WILL be acquired and it WILL be used against you. - McCarthy-Era "Black-lists" are created
and employed against target victims who competed with Obama Administration executives and their
campaign financiers to prevent them from getting funding and future employment. - Obama
Administration targets were very carefully placed in a position of not being able to get jobs,
unemployment benefits, disability benefits or acquire any possible sources of income. The retribution
tactics were audacious, overt..and quite illegal. - There are thousands of additional Dirty Tricks tactics
being used by these Attack Services yet Congress refuses to pass laws out-lawing such attack services.
The cost of an attack on a person ranges from $150,000.00 to over $50,000,000.00. While a Silicon
Valley billionaire can afford to launch counter-measures to these attacks, any regular taxpayer will be
utterly destroyed, and incapable of fighting back, against even the smallest version of one of these "kill
orders".
A number of modern office shootings are the results of these attacks against an individual who has lost
everything because of the attack and has no options left. - Federal law enforcement, the United States
Congress and the highest level investigators in the U.S., and abroad, have documented (per the “FISA
Memo”, Congressional Reports and federal employee testimony) and proven the fact that the Obama
Administration regularly engaged in the operation of retribution, vendetta and reprisal campaigns
known as “hit-jobs” against domestic natural born U.S. citizen domestic taxpayers. The Federal Court,
in at least one previous court case,has ruled that Applicants, in this particular matter, were the victims
and target of a number of these attacks designed to inflict permanent medical, emotional, character
assassination, brand negation, economic and career damage. The FBI has been asked to interview John
Cook, Nicholas Guido Denton, Adrian Covert, Patrick George, Ian Fette and John Hermann of
Gawker/Gizmodo re: their financing, payola and hit-job attacks on third parties.




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